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                                   UNITED STATES DISTRICT COURT
                                      DISTRICT OF COLORADO


    JOHN PAULSON,                            )
    Individually and on Behalf of all Others )
    Similarly Situated,                      )
                                             )
                                Plaintiff    )
                                             )
           v.                                )              Civil Action No. 19-cv-02639-PAB-NYW
                                             )
    TWO RIVERS WATER AND                     )
    FARMING COMPANY, JOHN R.                 )
    MCKOWEN, WAYNE HARDING and )
    TIMOTHY BEALL,                           )
                                             )
    Defendants                               )


             REVISED UNOPPOSED MOTION OF PLAINTIFF FOR PRELIMINARY
                 APPROVAL OF SETTLEMENT, CERTIFICATION OF CLASS,
           AND APPOINTMENT OF CLASS REPRESENTATIVE AND CLASS COUNSEL

               Plaintiff and proposed class representative, John Paulson (“Plaintiff”), respectfully

        submits this memorandum in support of his revised unopposed motion for (i) preliminary

        approval of the proposed settlement (the “Settlement”) of the above-captioned class action (the

        “Action”) on the terms and conditions set forth in the Settlement Agreement dated October 7,

        2020 (the “Settlement Agreement”) submitted herewith;1 (ii) certification of the Settlement Class

        for settlement purposes; (iii) approval of the form and manner of providing notice of the proposed

        Settlement to the Settlement Class; and (iv) scheduling of a hearing to consider final approval of

        the Settlement (the “Fairness Hearing”).




    1
      The Settlement Agreement is attached as Exhibit 1 to the Declaration of Paul J. Scarlato in
    support of this Motion filed herewith (“Decl. ¶__”). All capitalized terms not otherwise defined
    herein have the meaning set forth in the Settlement Agreement.
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                                         I.       INTRODUCTION

              Subject to Court approval, Plaintiff, on behalf of himself and the putative Class (defined

    below), have agreed to settle all claims asserted or that could have been asserted in the Action

    against defendants Two Rivers Water and Farming Company (“Two Rivers”), John R. McKowen

    (“McKowen”), Wayne Harding (“Harding”), and Timothy Beall (“Beall”) (collectively,

    “Defendants”)2 in exchange for $1.5 million in cash (the “Settlement Fund”).

              The Settlement, if approved, will resolve and release all claims against Defendants and

    certain related parties. Plaintiff’s principal reason for entering into the Settlement is the substantial

    cash benefit provided for the Class, balanced against the limited resources of the Defendants and

    the significant risk that a smaller recovery—or indeed, no recovery—might be achieved after

    additional steps in the litigation that could last for years.

              During the course of the litigation, Plaintiff, through proposed Class Counsel and

    Additional Plaintiff’s Counsel, among other things: (a) drafted two detailed complaints; (b)

    conducted an extensive investigation into the Class’ claims through formal and informal discovery

    of the Defendants and third parties; (c) successfully opposed a motion to stay the Action pending

    bankruptcy court proceedings regarding GrowCo, Inc. (“GrowCo”), a subsidiary of Two Rivers;

    (d) fully briefed a motion to dismiss by Mr. McKowen; (e) retained counsel to appear in the

    bankruptcy court to defend an adversary proceeding filed against Mr. Paulson by GrowCo, which

    sought to stay this Action, and to oppose GrowCo’s request for a temporary restraining order

    (“TRO”) and preliminary injunction; (f) obtained a Clerk’s default against Mr. Beall; (g) prepared

    a mediation statement and memoranda of law in connection with an all-day mediation session

    before Judge William Meyer (Ret.) of the Judicial Arbiter Group, Inc (“JAG”) on July 21, 2020;



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        Plaintiff and Defendants are referred to collectively as the “Parties.”


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    (h) continued settlement negotiations with Defendants with Judge Meyer’s assistance over the

    course of several weeks before reaching an agreement in principle to resolve the Action on August

    7, 2020; (i) drafted the Settlement Agreement and supporting documents, and (j) moved to dismiss

    Two Rivers as a party to the litigation without prejudice due to Two Rivers’ failure to obtain

    substitute counsel after its most recent counsel withdrew from the case.

            The Parties reached the Settlement following the mediation conducted by Judge Meyer, at

    which counsel for all Parties as well as representatives of Defendants’ insurance carrier, Starstone

    Specialty Casualty Insurance Company (“Starstone”), were in attendance. Counsel for the Parties

    and Starstone also engaged in extensive settlement-related communications before and after the

    mediation. Plaintiff closely monitored and participated in this Action and recommends the

    Settlement be approved. Proposed Class Counsel, who have extensive experience in complex

    litigation and class actions, believe the Settlement is in the best interests of the Class, (“Class” or

    “Settlement Class”) which is defined as follows:

            All persons or entities who currently hold claims based on securities of GrowCo,
            and who purchased or otherwise acquired the securities through offerings listed
            below (the “Offerings”), during the time period beginning October 2014 through
            December 2017 (the “Class Period”), and suffered Alleged Losses. For the
            avoidance of doubt, persons or entities who purchased or otherwise acquired the
            securities during the Class Period and who have assigned the securities to VitaNova
            Partners, LLC are not excluded as Class Members by virtue of such assignment:

     Name                          Type           Approximate           Date Range
                                                  Amount Raised
    GrowCo Partners 1, LLC         Equity                 $3,349,151            December 2014-January 2015
    $4 Million Note                Debt                   $4,000,000             March 2015-September 2015
    GCP Super Units LLC            Equity                 $5,297,157                  July 2015-October 2017
    $1.5 Million Note              Debt                     $100,000                              April 2016
    $6 Million Note                Debt                   $6,000,000                   March 2016-July 2016
    $7 Million Note                Debt                   $2,977,000              January 2016- January 2017
    $2 Million Note                Debt                   $1,080,000           February 2017-September 2017
    $2 Million Note                Debt                     $440,000                               June 2017

            Excluded from the Class are (1) the Defendants; (2) the officers and directors of Two

    Rivers and GrowCo during the Class Period as set forth in Exhibit E to the Settlement Agreement


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    for securities purchased at the time or after they were officers or directors; (3) any judge or judicial

    officer who may hear any aspect of this Action and his or her law clerks; and (4) except as provided

    in the Settlement Agreement, all persons or entities released in the Settlement. Also excluded from

    the Settlement Class are the persons and/or entities who validly request exclusion from the

    Settlement Class within the time period set by the Court in the Preliminary Approval Order. See,

    Decl. Ex. 1 (Settlement Agreement).

            Prior to the Fairness Hearing, the Parties will submit a motion for final approval (“Final

    Approval”), which will ask the Court to make a final determination as to whether the Settlement

    is fair, reasonable, and adequate. At this time, Plaintiff requests only that the Court grant

    preliminary approval (“Preliminary Approval”) of the Settlement so that notice (“Class Notice” or

    “Notice”) of the Settlement may be disseminated to the members of the Class (“Class Members”),

    the Class may have an opportunity to object or exclude themselves from the Class, and the Fairness

    Hearing may be scheduled.

            Plaintiff respectfully requests the Court enter the proposed order submitted herewith that

    will: (a) grant Preliminary Approval; (b) approve the form and manner of giving Notice to the

    Class; (c) preliminarily certify the Class for the purposes of Settlement; (d) appoint Class Counsel,

    and Additional Plaintiff’s Counsel; and (e) schedule the Fairness Hearing at which the Court will

    consider (i) Final Approval, (ii) approval of the Plan of Allocation for distribution of the

    Settlement Fund, and (iii) Class Counsel’s application for an award of attorneys’ fees and

    expenses (“Attorneys’ Fees and Expenses Award”), and for a Service Award to the Plaintiff.

    Plaintiff requests the Court schedule the Fairness Hearing at the earliest possible date, preferably

    sixty days after preliminary approval, or as soon thereafter as possible.




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                           II.     DESCRIPTION OF THE LITIGATION
           Plaintiff initiated the Action on August 13, 2019, by filing a class action complaint against

    Defendants Two Rivers, McKowen, Harding, and Beall arising out of Plaintiff’s purchase of

    securities in GrowCo.3 Plaintiff’s amended complaint (the “Complaint” or “AC”), alleges that

    Defendants McKowen, Harding and Beall were each officers and control persons of Two Rivers,

    and sold and promoted the Offerings to Plaintiff and the class while omitting material information

    about Mr. McKowen’s background.

           The circumstances that gave rise to the Offerings are as follows. On November 6, 2012,

    Colorado Amendment 64, a ballot initiative allowing for recreational use of marijuana throughout

    the State of Colorado, was passed. AC ¶ 16. In or about May of 2014, Two Rivers and McKowen

    formed GrowCo to capitalize on Colorado’s burgeoning marijuana business. AC ¶ 17. In order to

    support the operations of Two Rivers and GrowCo, Defendants raised money from investors

    through the Offerings. AC ¶ 28. As part of the Offerings, GrowCo and the Defendants prepared

    and distributed documents to prospective investors including sales presentations, memoranda of

    terms, exchange note purchase agreements, investor questionnaires, and other documents (the

    “Offering Documents”) which purported to make material disclosures to investors about GrowCo

    and the Offerings. AC ¶ 27. Plaintiff alleges that the Offering Documents omitted information

    about Defendant McKowen that Plaintiff claims should have been disclosed; namely an NASD

    disciplinary action, fine, and suspension in 1987 (AC ¶¶ 30-37), a 1995 bankruptcy filing, (AC ¶

    38), and a 1992 default judgment in connection with a 1991 administrative complaint filed by the

    Indiana Securities Division. AC ¶¶ 40-41. Plaintiff also alleges that the funds received from the


    3
     GrowCo was in bankruptcy and not named as a party to this Action. See, In re: GrowCo, Inc.,
    Case No. 19-10512 (D. Colo. Bankr. Ct.) (the “Bankruptcy Action”). On July 6, 2021, the
    Bankruptcy Court granted the United States Trustee’s motion to dismiss the GrowCo Bankruptcy
    Action. Bankruptcy Action Doc. 263.


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    Offerings were immediately commingled with and passed through as capitalization for the

    operation of Two Rivers, AC ¶¶ 56, 96; that all of the Defendants benefitted financially from the

    Offerings; and that the proceeds from the Offerings “went to Two Rivers.”4

           The Complaint asserts claims against Defendants under the Colorado Securities Act, 11-

    51-101 et. seq., and Colorado common law for failure to disclose the allegedly material

    information about Defendant McKowen’s background in the Offering Documents. Plaintiff alleges

    that the securities became worthless upon GrowCo’s bankruptcy filing. AC ¶ 60.

           The Defendants dispute many of the allegations and deny liability for the claims.

    Defendant McKowen moved to dismiss the complaint on the basis, among others, that the

    information about his past concerned the distant past, was not required to be disclosed, and was

    not material to investors’ decisions to purchase GrowCo securities.

                              III.    HISTORY OF THE LITIGATION
           This Action was aggressively litigated. Plaintiff filed his initial complaint in Colorado state

    court. Defendant McKowen removed the case to this Court, (Doc. 1), and filed an Answer. (Doc.

    2). The Court held a scheduling conference and set a schedule for the case. (Doc. 37). McKowen

    then moved to stay the Action pending the outcome of GrowCo’s bankruptcy. (Doc. 47).

    Separately, GrowCo initiated an adversary proceeding against Plaintiff in the bankruptcy court and

    moved for a TRO and preliminary injunction seeking to stop the Class Action.5 Plaintiff

    successfully opposed the motion to stay in this Court, and the adversary proceeding, and request



    4
      (Doc. 58 ¶ 11). GrowCo asserted in the Bankruptcy Action that an audit of the funds raised
    through the Offerings concluded that the funds “either could not be accounted for or were
    transferred to Two Rivers and/or TR Capital without explanation or consideration being received
    in return.” GrowCo, Inc. v. Two Rivers Water & Farming Company et al., Adv. Proc. No. 19-
    01337.
    5
      In re: GrowCo, Inc. v. John Paulson, Adv. Proc. No. 19-1275 (D. Colo. Bankr. Ct.) (the
    “Adversary Proceeding”).


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    for a TRO and injunction. (Adversary Proceeding, Doc. 14). Plaintiff then filed the Complaint

    alleging additional facts and legal claims. (Doc. 56). McKowen moved to dismiss the Complaint

    on several bases. (Doc. 73). Plaintiff opposed that motion. (Doc. 85). McKowen’s motion to

    dismiss was fully briefed and pending before the Court when the Parties reached the proposed

    Settlement.

           The Parties engaged in discovery, which included Plaintiff serving requests for production

    of documents, interrogatories, and requests for admissions on each of the Defendants, and

    document subpoenas on third parties. Plaintiff reviewed and analyzed documents produced by

    Defendants McKowen and Beall, and from other sources. Plaintiff obtained a clerk’s default

    against Defendant Beall. (Doc. 86). Mr. Beall moved to set aside the clerk’s default and to dismiss

    the Complaint. (Doc. 94-96).

                            IV.     THE SETTLEMENT NEGOTIATIONS

           As the litigation efforts were continuing, the Parties agreed to explore settlement and

    scheduled a mediation session with Judge Meyer. The Parties, along with Starstone, conducted a

    day-long mediation session and continued negotiations over the following weeks with Judge

    Meyer’s assistance. On August 7, 2020, the Parties reached an agreement.

                               V.      THE PROPOSED SETTLEMENT

           The proposed Settlement, if approved by the Court, will resolve and release claims of the

    Settlement Class against all Defendants. The Settlement provides that Defendants’ insurer shall

    pay $1.5 million for the benefit of the Settlement Class. Plaintiff arrived at his decision to settle

    this Action after his counsel conducted a thorough investigation of the claims and allegations

    asserted in the Complaint. In addition, the Settlement was the product of extensive arms-length

    negotiations conducted with Judge Meyer’s assistance. In evaluating the Settlement, Plaintiff and




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    his counsel considered: (a) the substantial benefits to the Members of the Class from the

    Settlement; (b) the facts developed during Plaintiff’s investigation and discovery; (c) the attendant

    risks of continued litigation and the uncertainty of the outcome of the Action; (d) the probability

    of success on the merits; (e) the availability of sufficient assets to fund a judgment; and (f) the

    conclusion of Plaintiff’s counsel that the terms and conditions of the Settlement are fair,

    reasonable, adequate and in the best interests of Plaintiff and the Class.

           Each Defendant has vigorously denied, and continues to deny, that he or it committed any

    violation of the securities laws or any other law or engaged in any of the wrongful acts alleged in

    the Action. Each Defendant expressly maintains that he or it is entering into the Settlement solely

    to eliminate the burden, expense, distraction and uncertainties inherent in further litigation and

    because of the availability of insurance coverage to fund the Settlement.

           The $1.5 million Settlement provides a substantial and immediate benefit to the Class.

    Although Class Counsel believes it will likely be able to prove Plaintiff’s claims, there is a

    substantial risk that Class members would not be able to recover anything at all if the Action were

    not settled. Based on Two Rivers’ current financial situation, it is unlikely Two Rivers would be

    able to satisfy a judgment. See, Dec. Ex. 2 and 3. Plaintiff would need to seek recovery from the

    personal assets of the individual Defendants which recovery is questionable. Defendants have an

    insurance policy that covers the claims up to $2 million, but the amount is reduced by the costs of

    defense. The $1.5 million Settlement represents substantially all of the remaining insurance

    coverage net of defense costs to date. In considering whether to settle, the Plaintiff considered that

    if he persisted with the litigation, the amount of insurance coverage available to satisfy a judgment

    would be substantially less than the Settlement because as defense costs increase, available funds

    for settlement would decrease. Finally, if litigation continued, the Class would still need to




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    overcome various legal defenses and procedural hurdles in order to survive any dispositive or

    certification motions or recover at trial.

            The Class Notice, substantially in the form attached as Ex. B to the Settlement Agreement,

    (Decl. Ex. 1), explains the terms of the Settlement, including that the Net Cash Settlement Amount

    will be distributed to eligible Settlement Class Members who timely submit a valid Claim Form

    pursuant to the proposed Plan of Allocation included in the Notice and subject to this Court’s

    approval; there will be no reversion to Defendants or any persons/entities paying the same.6 It

    informs Settlement Class Members of Class Counsel’s application for an Attorneys’ Fees and

    Expenses Award and Service Award in connection with the representation of the Class, and the

    proposed Plan of Allocation for distributing the Net Cash Settlement Amount. The Notice further

    details: (i) the procedures for objecting to the Settlement, the Plan of Allocation, Class Counsel’s

    application for an Attorneys’ Fees and Expenses Award, and Service Award; (ii) the procedure for

    requesting exclusion from the Class, and (iii) the date, time, and location of the Fairness Hearing.

            VI.     PLAINTIFF’S MOTION FOR PRELIMINARY APPROVAL
                    AND SUBSEQUENT EVENTS

            On October 9, 2020, Plaintiff filed an unopposed motion for preliminary approval of the

    Settlement. Doc. 131. On January 5, 2021, while Plaintiff’s motion remained pending, Defendant

    Two Rivers’ third lawyer in this action moved to withdraw as counsel. Docs. 132 and 133. That

    motion was unopposed.

            On January 25, 2021, the Court issued an Order granting the motion to withdraw, and

    requiring Two Rivers to, on or before February 15, 2021, show cause why the Court should not



    6
     Plaintiff has attached as Exhibit 6 to the Scarlato Declaration, a proposed revised Class Notice.
    The revised Class Notice, substantially in the form of Exhibit B to the Settlement Agreement, has
    been updated to explain the circumstances under which Two Rivers was dismissed as a party to
    the Action. Plaintiff requests that the Court approve form of Notice as updated.


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  recommend sanctions against Two Rivers for its failure to participate in this matter in the absence

  of legal representation. Doc. 137. Two Rivers failed to meet the Court’s deadline.

           On February 24, 2021, the Court Ordered that “[a]s a corporation, Two Rivers must appear

  in this case through counsel,” and that “the Court will not rule on the motion for preliminary

  approval until counsel enters an appearance on behalf of Two Rivers.” Doc. 139.

           On March 10, 2021, the Court entered a Minute Order indicating that it would “deny

  without prejudice the motion for preliminary approval unless counsel for Two Rivers enters an

  appearance on or before March 16, 2021.” Doc. 145. In response, on March 15, 2021, Plaintiff

  moved for status conference and requested that the Court hold its ruling denying preliminary

  approval of the Settlement in abeyance until after any such status conference is held. Doc. 146.

           On April 6, 2021, Plaintiff moved to dismiss Two Rivers as a party to this litigation without

  prejudice to allow the Settlement approval process, which was stalled due to Two Rivers’ refusal

  to obtain new counsel, to move forward. Doc. 149.

           On June 29, 2021, the Court entered an Order granting Plaintiff’s motion and dismissing

  Two Rivers as a party. Doc. 153. On July 7, 2021, the Court entered a Minute Order directing that

  Plaintiff may filed a revised motion for preliminary approval and a motion to withdraw Doc. 131

  on or before July 16, 2021. Doc. 154. Plaintiff filed the instant motion in response thereto.

    VII.     THE PROPOSED SETTLEMENT WARRANTS PRELIMINARY APPROVAL

           The settlement of complex class action litigation is favored by public policy and strongly

  encouraged by the courts. See, American Home Assurance Co. v. Cessna Aircraft Co., 551 F. 2d

  804, 808 (10th Cir. 1977) (“The inveterate policy of the law is to encourage, promote, and sustain

  the compromise and settlement of disputed claims.”); see also Big O Tires, Inc. v. Bigfoot 4x4,

  Inc., 167 F. Supp. 2d 1216, 1229 (D. Colo. 2001) (“As a matter of public policy, the law favors




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  and encourages settlements[;] [t]he settlement of actions should be fostered to avoid protracted,

  wasteful and expensive litigation.”). The “presumption in favor of voluntary settlement

  agreements” is especially strong in class actions. O’Dowd v. Anthem, Inc., 2019 U.S. Dist. LEXIS

  153610 at *35, 2019 WL 4279123 (D. Colo. Sept. 9, 2019), quoting Tuten v. United Airlines, Inc.,

  41 F. Supp. 3d 1003, 1007 (D. Colo. 2014).

          Judicial approval for the compromise of class claims under Fed. R. Civ. P. 23(e) consists

  of a two-step process: preliminary approval and a subsequent fairness hearing. In this first stage,

  the Court preliminarily approves the settlement agreement, certifies a settlement class, and

  authorizes that notice be given to the class so that interested members may object to the fairness

  of the settlement or opt out of the class. Fed. R. Civ. P. 23(e). In the second stage, after notice is

  provided to the Settlement Class, the Court holds a fairness hearing at which it will address any

  timely objections to either class treatment of the litigation or the fairness and adequacy of the

  settlement.

          “The purpose of the preliminary approval process is to determine whether there is any

  reason not to notify the class members of the proposed settlement and proceed with a fairness

  hearing.” McKeon v. Integrity Pizza LLC, 2020 U.S. Dist. LEXIS 140513 at *4 (D. Colo., Aug. 6,

  2020), quoting Lucas v. Kmart Corp., 234 F.R.D. 688, 693 (D. Colo. 2006). “Preliminary approval

  of a class action settlement. . . is at most a determination that there is . . . ‘probable cause’ to submit

  the proposal to class members and hold a full-scale hearing as to its fairness.” In re Crocs, Inc.

  Sec. Litig., 2013 WL 4547404, at *3 (D. Colo. Aug. 28, 2013) (Brimmer, J.) quoting Davis v. J.P.

  Morgan Chase & Co., 775 F. Supp. 2d 601, 607 (W.D.N.Y. 2011). A settlement should be

  preliminarily approved where it “appears to be the product of serious, informed, non-collusive

  negotiations, has no obvious deficiencies, does not improperly grant preferential treatment to class




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  representatives or segments of the class and falls within the range of possible approval.” Rhodes

  v. Olson Assocs., 308 F.R.D. 664, 666 (D. Colo. 2015). The proposed Settlement easily meets this

  standard.

           A.     The Settlement Is the Product of Serious and Informed Arm’s-
                  Length Negotiations Among the Parties

           The Settlement is the product of fair, honest, and vigorous negotiations among the

   Parties, under the supervision of an experienced mediator and with the guidance and input of

   experienced and informed counsel. Settlement negotiations were supervised by Judge Meyer, a

   former Denver District Court Judge. Courts in this Circuit and elsewhere recognize that the

   involvement of an experienced mediator strongly supports the fairness of a proposed settlement.

   See, In re Qwest Commc’ns Int’l, Inc. Sec. Litig., 2006 U.S. Dist. LEXIS 71039, at *16-17 (D.

   Colo. Sept. 28, 2006). The Parties each submitted comprehensive mediation statements to Judge

   Meyer who reviewed the statements, as well as other briefs, motions, and orders, submitted to,

   or issued by the Court, and the court in the Bankruptcy Action and Adversary Proceeding. The

   Parties participated in an all-day, formal mediation session. In the following weeks, the Parties,

   with Judge Meyer, continued to discuss settlement. As a result, the Parties reached the proposed

   Settlement.

         In addition, the Parties and their counsel were knowledgeable about the strengths and

  weaknesses of their cases before agreeing to the Settlement. Prior to filing the Complaint, Plaintiff,

  through his counsel, conducted an extensive investigation into the facts that included: a review

  of SEC, NASD and FINRA filings, filings of state securities regulators, and news articles, and

  filings in the GrowCo Bankruptcy Action. Defendants and third parties produced numerous

  documents to Plaintiff in response to Plaintiff’s discovery requests and subpoenas. Plaintiff

  obtained a significant number of documents from third parties through informal discovery. Class


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  Counsel, who have extensive experience in prosecuting class actions across the country,

  concluded that the Settlement is in the best interests of the Settlement Class. See In re NASDAQ

  Mkt.-Makers Antitrust Litig., 187 F.R.D. 465, 474 (S.D.N.Y. 1998) (“[G]reat weight is accorded

  to the recommendations of counsel, who are most closely acquainted with the facts of the

  underlying litigation.” (internal quotations omitted)).

         The fact that the Settlement is the product of an arm’s-length negotiation overseen by an

  experienced mediator, has been approved by the Plaintiff, with guidance and input from

  experienced and informed counsel, demonstrates that the process by which the Settlement was

  reached is procedurally fair. It is, therefore, presumptively fair, reasonable and adequate.

          B.      The Settlement Has No Obvious Deficiencies and Falls Within the Range
                  of Possible Approval

         The Settlement represents a beneficial outcome for the Settlement Class, and nothing in

  the Settlement’s terms or the manner in which they were negotiated raises any obvious deficiencies

  that would impede preliminary approval. The Settlement provides for Defendants to pay $1.5

  million in cash, which represents substantially all of Defendants’ available insurance. The

  Settlement “falls within the range of possible approval,” meaning the range of possible litigation

  outcomes, when its benefits are weighed against the risks that the Settlement Class could recover

  far less (or even nothing) if litigation were to continue. See. MANUAL FOR COMPLEX

  LITIGATION, § 21.632.

         Two Rivers’ financial condition weighs in favor of approval of the Settlement. See, e.g.,

  Wornicki v. Brokerpriceopinion.com, Inc., 2017 U.S. Dist. LEXIS 121535 at *8-9 (D. Colo. Aug.

  2, 2017) (Brimmer, J.); See also, Charter Commc’ns, Inc. Sec. Litig., No. MDL 1506, 3:02-CV-

  1186 CAS, 2005 WL 4045741 at *8 (E.D. Mo., June 30, 2005) (approving settlement and noting

  even if plaintiffs prevailed on their claims and overcame liability challenges, there were


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  considerable risks regarding its ability to collect any sizeable judgment from defendant); In re

  Northfield Labs, Inc. Sec. Litig., No. 06 C 1493, 2012 WL 2458445 at *3 (N.D. Ill. June 26, 2012)

  (granting final approval to settlement and noting the “plaintiff class is unlikely ever to get more”

  where defendant was in bankruptcy and the settlement proceeds came from an insurance policy,

  which if the case continued, may reach its limit due to defense costs); In re OCA, Inc. Sec. and

  Deriv. Litig., No. 05-2165, 2009 WL 512081 at *15 (E.D. La. Mar. 2, 2009) (bankruptcy and the

  fact that defendant’s insurance policies were being depleted by litigation expenses and attorneys’

  fees, weighed in favor of approval of settlement).

         As stated above, GrowCo was not named as a party to the Action because it was in

  bankruptcy. AC ¶ 11. Two Rivers’ ability to satisfy a judgment is highly questionable. According

  to its most recent report filed with the SEC on Form 10-Q for the quarter ending September 30,

  2019, Two Rivers had current assets of $401,000 compared to current liabilities of $22,453,000,

  and generated total revenues of $145,000 for the first nine months of 2019 and incurred $372,000

  of operating expenses. Decl. Ex. 2. Moreover, the Form 10-Q included a statement that due to its

  working capital deficit of over $21 million, there is “substantial doubt about the Company’s

  ability to continue as a going concern.” See, Decl. Ex. 2: In addition, a July 15, 2020 “Letter to

  Shareholders” by Two Rivers’ CEO, attached to a Form 8-K filed with the SEC on July 17, 2020,

  detailed a number of legal, accounting and operational issues not properly disclosed to the

  company prior to his acceptance of the interim CEO/CFO position that hampered the company

  financially, including an undisclosed judgment for $225,000 that “financially blindsided” the

  company, undisclosed transactions involving warrants and convertible loans, and a financing

  agreement that resulted in almost $300,000 in fees paid by the company. See, Decl. Ex. 3. Two

  Rivers has not filed any further reports with the SEC since the July 2020 filing. To the extent




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  Two Rivers has assets, Plaintiff understands that those assets are encumbered by security

  interests. Based on the above, Two Rivers’ ability to pay a judgment or fund a settlement is, at best,

  highly uncertain.

         Plaintiff also recognizes the substantial risks to proving Defendants’ liability. The

  Complaint alleges, among other things, that Defendants misled investors by failing to disclose

  facts relating to McKowen’s prior regulatory actions and his bankruptcy. McKowen moved to

  dismiss Plaintiff’s claims arguing that Plaintiff failed to plead the claims with particularity and

  that Plaintiff had not alleged facts supporting McKowen’s duty to disclose. (Doc. 73). That

  motion was fully briefed and sub judice when the Settlement was reached. Defendant Beall

  moved to dismiss the Amended Complaint arguing, among other things, that Plaintiff failed to

  plead facts showing Beall was involved in the alleged wrongful conduct, or that Beall had a duty

  to disclose. (Doc. 96). Further, while Plaintiff strongly believes that the Action is appropriate for

  class certification, there is no guarantee Plaintiff would prevail on such a motion, and Defendants

  certainly would challenge the appropriateness of certifying a class.

         In sum, the Parties strongly disagree on several key factual and legal issues central to the

  Action, and there is no guarantee Plaintiff would prevail on the motions to dismiss, a motion to

  certify the class, motions for summary judgment, or at trial. The Settlement enables the

  Settlement Class to recover a substantial sum without incurring the risk that Defendants would

  prevail on these issues. The Settlement is an excellent result for the Settlement Class, particularly

  in view of these significant litigation risks and ability-to-pay concerns. Plaintiff and Class

  Counsel respectfully submit that preliminary approval is appropriate.




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    VIII. THE LITIGATION SHOULD BE CERTIFIED AS A CLASS ACTION
          FOR SETTLEMENT PURPOSES

          In granting Preliminary Approval, the Court should also certify the Settlement Class for

  purposes of the Settlement under Rules 23(a) and (b)(3) of the Federal Rules of Civil Procedure.

  The proposed Settlement Class is identified above.

          A.      The Settlement Class Satisfies the Requirements of Rule 23(a)

          Certification is appropriate under Rule 23(a) if: “(1) the class is so numerous that joinder

  of all members is impracticable; (2) there are questions of law or fact common to the class; (3) the

  claims or defenses of the representative parties are typical of the claims or defenses of the class;

  and (4) the representative parties will fairly and adequately protect the interests of the class.” Fed.

  R. Civ. P. 23(a).

                   1.      The Settlement Class Members Are Too Numerous To Be Joined

          Class certification under Rule 23(a)(1) is appropriate where a class contains so many

  members that joinder of all would be “impracticable.” Fed. R. Civ. P. 23(a).

          Courts in the Tenth Circuit have certified classes ranging in size from tens to hundreds of

  thousands. Beltran v. InterExchange, Inc., 2018 U.S. Dist. LEXIS 23940, *12 (D. Colo. Feb. 2,

  2018); Rex v. Owens, 585 F.2d 432, 435 (10th Cir. 1978) (“Class actions have been deemed viable

  . . . where as few as 17 to 20 persons are identified as the class”); Bennett v. Sprint Nextel Corp.,

  298 F.R.D. 498, 504-05 (D. Kan. 2014) (“[C]lasses as small as twenty members can satisfy the

  numerosity requirement, and a good faith estimate of at least 50 members is a sufficient size to

  maintain a class action” (internal quotations omitted)). The difficulty in joining as few as 40 class

  members should raise a presumption that joinder is impracticable. Robidoux v. Celani, 987 F. 2d

  931, 935 (2nd Cir. 1993), citing 1 Herbert B. Newberg, Newberg of Class Actions: A Manual for

  Group Litigation at Federal and State Levels, §. 3.05 at 141-42 (2d ed. 1985).



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         Here, Class Counsel has obtained a list of known GrowCo investors in the Offerings that

  comprise the Class from GrowCo’s bankruptcy counsel. That list includes the names of over 80

  investors in the Offerings, which number easily satisfies numerosity.

                  2.      There Are Common Questions of Law and Fact

         Rule 23(a)(2) requires that “there are questions of law or fact common to the class.” Fed.

  R. Civ. P. 23(a)(2). This commonality requirement asks only that significant common issues of

  law or fact exist. Queen Uno Ltd. Pshp. V. Coeur D’Alene Mones Corp., 183 F.R.D. 687, 691 (D.

  Colo. 1998) (Brimmer, J.). This Action raises numerous common questions of law and fact.

  Plaintiff’s claims concern common alleged omissions from the GrowCo Offering Documents

  about Defendant McKowen’s background, and whether the omissions in the GrowCo Offering

  Documents were material to GrowCo investors. Courts in this District have found that similar

  questions of law and fact easily meet the commonality requirements. See, e.g., In re Oppenheimer

  Rochester Funds Grp. Sec. Litig., 318 F.R.D. 435, 444 (D. Colo. 2015).

                  3.      Plaintiff’s Claims Are Typical of The Settlement Class

         Rule 23(a)(3) requires that the “claims or defenses of the representative parties are typical

  of the claims or defenses of the class.” Fed. R. Civ. P. 23(a)(3). “Typicality is satisfied when each

  class member’s claim arises from the same course of events, and each class member makes similar

  legal arguments to prove the defendant’s liability.” Crocs, 306 F.R.D. at 686 (internal quotations

  omitted). “[P]rovided the claims of the lead plaintiff and class members are based on the same

  legal or remedial theory, differing fact situations of the class members do not defeat typicality.”

  DG ex rel. Stricklin v. Devaughn, 594 F.3d 1188, 1198–99 (10th Cir. 2010). Here, Plaintiff and

  the Class Members are all investors in GrowCo securities. The failure to disclose the allegedly

  material information described above was common to all of the Offerings. Thus, the claims of

  Plaintiff and Class Members are based on the same alleged material omissions. See, AC ¶¶ 30-


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  42. Plaintiff’s claims and the claims of Class Members are based on the same legal theories and

  would be proven by the same evidence, thus typicality is satisfied.

                  4.      Plaintiff Will Fairly and Adequately Protect the Interests of The
                          Settlement Class

         Rule 23(a)(4) is satisfied if “the representative parties will fairly and adequately protect the

  interests of the class.” Fed. R. Civ. P. 23(a)(4). Two inquiries are relevant to determining whether

  adequacy is satisfied: “(1) do the named plaintiffs and their counsel have any conflicts of interest

  with other class members and (2) will the named plaintiffs and their counsel prosecute the action

  vigorously on behalf of the class?” Crocs, 306 F.R.D. at 688, quoting Rutter & Wilbanks Corp.

  v. Shell Oil Co., 314 F.3d 1180, 1187–88 (10th Cir. 2002).

         There is no conflict of interest between Plaintiff and the proposed Settlement Class.

  Plaintiff and the Class Members suffered losses in connection with their investments in GrowCo

  securities during the Class Period. Thus, Plaintiff and Class Members share the same interest in

  maximizing their recovery from Defendants. See In re Polaroid ERISA Litig., 240 F.R.D. 65, 77

  (S.D.N.Y. 2006) (“Where plaintiffs and class members share the common goal of maximizing

  recovery, there is no conflict of interest between the class representatives and other class

  members.”).

         Moreover, Plaintiff and Class Counsel have, and will continue to, vigorously protect the

  interests of the Class. Plaintiff and Class Counsel devoted significant time and resources to

  initiating, prosecuting, and negotiating an exceptional resolution to this Action. Class Counsel

  has extensive experience and expertise in prosecuting complex securities litigation and class

  action proceedings throughout the United States. See, firm resumes of Goldman, Scarlato &

  Penny, P.C. and Schindler, Anderson, Goplerud & Weese, P.C., Dec. Ex. 4 and 5.




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         B.      The Settlement Class Satisfies the Requirement of Rule 23(b)

         Rule 23(b)(3) authorizes class certification if the Court finds that “questions of law or fact

  common to class members predominate over any questions affecting only individual members”

  and “a class action is superior to other available methods for fairly and efficiently adjudicating the

  controversy.” Fed. R. Civ. P. 23(b)(3).

                  1.      Common Legal and Factual Questions Predominate

         As the Supreme Court has noted, predominance is a test “readily met” in cases alleging

  violations of the securities laws. Amchem Prod., Inc. v. Windsor, 521 U.S. 591, 625 (1997); see

  also Crocs, 306 F.R.D. at 689; Crocs, 306 F.R.D. at 689; In re United Telecomms., Inc. Sec.

  Litig., 1992 WL 309884, at *3 (D. Kan. Sept. 15, 1992) (“Where plaintiffs allege a common

  nucleus of misrepresentations, material omissions, and market manipulation, the common

  questions predominate over any differences between individual class members with respect to

  damages, causation, and reliance.”). Indeed, as the above analysis of Plaintiff’s allegations under

  Rule 23(a)(2)’s commonality standard demonstrates, there are numerous questions of law and fact

  common to Plaintiff and the proposed Settlement Class, including whether Defendants omitted

  material information about McKowen’s background in connection with the Offerings that was

  required to be disclosed, and whether, and to what extent, Settlement Class Members suffered

  damages proximately caused by such alleged omissions.

                  2.      A Class Action is Superior to Other Methods of Adjudication

         Settlement of this Action “is a superior method for resolving this dispute” as it “avoids

  duplicative litigation, saving both plaintiffs and defendants significant time and legal costs to

  adjudicate common legal and factual issues” and “because individual recovery for these claims

  is likely too small to provide an incentive for individual class members to adjudicate individual

  claims.” Crocs, 306 F.R.D. at 689-90. In securities cases, the class action device is usually the


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  superior method by which to redress injuries to a large number of individual plaintiffs in light of

  the large and geographically dispersed nature of shareholder classes, the inefficiency of multiple

  lawsuits and the size of individual recoveries in comparison to the costs of litigation. See, e.g., In

  re Monster Worldwide, Inc. Sec. Litig., 251 F.R.D. 132, 139 (S.D.N.Y. 2008) (“as a general rule,”

  securities cases “easily satisfy the superiority requirement. . .” (internal quotations omitted)). That

  rationale applies equally here.

         IX.     NOTICE TO THE SETTLEMENT CLASS SHOULD BE APPROVED

          As outlined in the Preliminary Approval Order, Class Counsel will notify Settlement

  Class members of the pendency of the action and the proposed Settlement by causing the Notice

  and Claim Form to be direct mailed to all Settlement Class Members, all of whom can be

  identified through GrowCo’s records. The proposed Notice advises Settlement Class Members

  of: (i) the pendency of the Action as a class action; (ii) the essential terms of the Settlement; (iii)

  the proposed Plan of Allocation; and (iv) information regarding Class Counsel’s motion for

  Attorneys’ Fees and Expenses Award. The proposed Notice also provides specifics on the date,

  time and place of the Fairness Hearing and sets forth the procedures, as well as deadlines, for

  seeking exclusion from the Settlement Class, for objecting, and for submitting a Claim Form.

          The form and manner of providing Notice to the Settlement Class satisfy the requirements

  of due process and Rule 23. The Notice is “‘reasonably calculated, under all the circumstances, to

  apprise interested parties of the pendency of the action and afford them an opportunity to present

  their objections.’” Tennille v. Western Union Co., 785 F.3d 422, 436 (10th Cir. 2015) (quoting

  Eisen v. Carlisle & Jacquelin, 417 U.S. 156, 174 (1974)). Moreover, Class Counsel has a physical

  address for all Class Members. Direct mail in this situation constitutes the best notice practicable.




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         X.     PROPOSED SCHEDULE AND REQUEST FOR FAIRNESS HEARING

         In connection with preliminary approval of the Settlement, Plaintiff requests the Court

  schedule a Fairness Hearing sixty days after Preliminary Approval, or as soon as is convenient

  for the Court. A prompt Fairness Hearing will give certainty to Settlement Class Members. The

  Parties respectfully propose the following schedule for the Court’s consideration, as agreed to by

  the parties and set forth in the proposed Preliminary Approval Order:

                        Event                                        Time for Compliance

   Deadline for mailing the Notice and Claim             Not later than fourteen (14) days after the date of
   Form to the Settlement Class (“Notice Date”)          entry of the Court’s Preliminary Approval Order.
   Deadline for Class Members to exclude                 Not later than 30 calendar days after the Notice
   themselves from the Class                             Date.
   Filing of papers in support of final approval of      Not later than 21 calendar days prior to the
   the Settlement, the Plan of Allocation, and           Fairness Hearing.
   Lead Counsel’s fee and expense request
   Receipt deadline for objections and requests          Not later than fourteen (14) calendar days
   for exclusion from the Settlement Class               prior to the Fairness Hearing.
   Filing of reply papers in support of final            Not later than seven (7) calendar days prior to the
   approval of the Settlement, the Plan of               Fairness Hearing.
   Allocation, and Class Counsel’s fee and
   expense request
   Deadline for submitting Claim Forms                   Postmarked sixty (60) calendar days after the
                                                         Notice Date (Class Counsel may, at its discretion,
                                                         accept for processing late Claims).

                                         XI.    CONCLUSION

         For all the foregoing reasons, Plaintiff respectfully requests that the Court grant

  preliminary approval of the proposed Settlement; certify the Settlement Class and appoint

  Plaintiff as class representative and Class Counsel as class counsel, for purposes of the Settlement;

  approve the form and manner of providing Notice of the Settlement to the Settlement Class; and

  enter the accompanying proposed Preliminary Approval Order.




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  Respectfully submitted this 16th day of July 2021.

                                              /s/ Steve A. Miller
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                                              Counsel for Plaintiff and the Putative Class




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                                  CERTIFICATE OF SERVICE

         I hereby certify that on the 16th day of July, 2021, a true and correct copy of the foregoing

  has been filed and served electronically via CM/ECF, which will be sent electronically to all counsel

  of record.

                                                /s/ Steve A. Miller




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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO


  Civil Action No. 19-cv-02639-PAB-NYW

  JOHN PAULSON, an individual,

  Plaintiff,

  v.

  TWO RIVERS WATER AND FARMING COMPANY, a Colorado corporation; JOHN R.
  MCKOWEN, an individual; WAYNE HARDING, an individual; and TIMOTHY BEALL, an
  individual,

  Defendants.
  _____________________________________________________________________________
               DECLARATION OF PAUL J. SCARLATO IN SUPPORT OF
         PLAINTIFF’S REVISED UNOPPOSED MOTION FOR PRELIMINARY
              APPROVAL OF SETTLEMENT, CERTIFICATION OF CLASS,
      AND APPOINTMENT OF CLASS REPRESENTATIVE AND CLASS COUNSEL
  _____________________________________________________________________________

          Paul J. Scarlato, pursuant to 28 U.S.C. § 746, declares as follows under penalty of perjury:


          1.     I am a shareholder in the law firm Goldman Scarlato & Penny, P.C., one of the

  proposed Class Counsel in the above-captioned action (“Action”). I submit this Declaration and

  the Exhibits hereto in support of Plaintiff’s Revised Unopposed Motion for Preliminary Approval

  of Settlement, Certification of Class, and Appointment of Class.

          2.     Attached hereto as Exhibit 1 is a true and correct copy of the Settlement Agreement

  and accompanying Exhibits entered into between the Parties to the Action.

          3.     Attached hereto as Exhibit 2 is a true and correct copy of the Quarterly Report of

  Two Rivers Water & Farming Company (“Two Rivers”) on Form 10-Q for the quarter ending

  September 30, 2019, filed with the Securities and Exchange Commission (“SEC”) on November

  25, 2019.
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         4.     Attached hereto as Exhibit 3 is a true and correct copy of a “Letter to Shareholders”

  from Two Rivers’ CEO attached as Exhibit 20.1 to the Form 8-K Current Report filed with the

  SEC by Two Rivers on July 17, 2020.

         5.     Attached hereto as Exhibit 4 is the firm resume of Goldman Scarlato & Penny, P.C.

  one of the proposed Class Counsel in the Action.

         6.     Attached hereto as Exhibit 5 is the firm resume of Shindler, Anderson, Goplerud &

  Weese, P.C., one of the proposed Class Counsel in the Action.

         7.     Attached hereto as Exhibit 6 is a revised proposed Class Notice that reflects the fact

  that Two Rivers was dismissed as a party to the Action.

  Dated: July 16, 2021                                 /s/ Paul J. Scarlato
                                                       Paul J. Scarlato (pro hac vice)
                                                       GOLDMAN SCARLATO & PENNY, PC
                                                       161 Washington Street , Suite 1025
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                                                       Counsel for Plaintiff and the Putative Class




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                        EXHIBIT 1
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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLORADO


  JOHN PAULSON,                                )
  Individually and on Behalf of all Others     )
  Similarly Situated,                          )
                                               )
                                Plaintiff      )
                                               )
         v.                                    )       Civil Action No. 19-cv-02639-PAB-NYW
                                               )
  TWO RIVERS WATER AND                         )
  FARMING COMPANY, JOHN R.                     )
  MCKOWEN, WAYNE HARDING and                   )
  TIMOTHY BEALL,                               )
                                               )
  Defendants                                   )
                                               )

                                  SETTLEMENT AGREEMENT

         This Settlement Agreement is made pursuant to Rule 23 of the Federal Rules of Civil

  Procedure in the above-titled litigation (the “Class Action,” or “Action”). Subject to the approval

  of the United States District Court for the District of Colorado (the “Court”), this Settlement

  Agreement is entered into among Plaintiff John Paulson (“Paulson” or “Plaintiff”), on behalf of

  himself and each of the Class Members (as defined below), and Defendants Two Rivers Water and

  Farming Company (“Two Rivers”), John R. McKowen (“McKowen”), Wayne Harding

  (“Harding”) and Timothy Beall (“Beall”) (Two Rivers, McKowen, Harding and Beall are referred

  to collectively as “Defendants”). Plaintiff and Defendants are referred to here as the “Settling

  Parties” or “Parties” and each individually as a “Party.” The Parties intend this Settlement

  Agreement to resolve, discharge, and settle the Released Claims finally and forever according to

  the terms and conditions set forth below.
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         I.       RECITALS

         WHEREAS, the Parties state the following:

         A.       The Class Action Litigation

         The Class Action was initiated on August 13, 2019, with the filing of a class action

  complaint captioned John Paulson, individually and on behalf of all others similarly situated v.

  Two Rivers Water and Farming Company, John R. McKowen, Wayne Harding, and Timothy Beall,

  Case No. 2019CV33099, in the District Court for the City and County of Denver, Colorado. The

  complaint asserted claims for violations of the Colorado Securities Act, C.R.S. §§ 11-51-101 et

  seq., common law negligence, and negligent misrepresentations and omissions against Defendants

  arising out of the sales of securities of GrowCo, Inc. (“GrowCo”) to Plaintiff and members of the

  proposed Class and the use of the sales proceeds. GrowCo was not named in the Class Action and

  has filed for Chapter 11 bankruptcy, In Re GrowCo, Inc., Case No. 19-10512-JGR (D. Colo.

  Bankr.) (the “GrowCo Bankruptcy Action”).

         On September 16, 2019 Defendant McKowen removed the Class Action to this Court.

  (ECF 1).

         On February 5, 2020, Plaintiff filed an amended complaint (the “Amended Complaint”).

  (ECF 57). Defendants McKowen and Beall moved for dismissal of the Amended Complaint.

  (ECF 73, 96).

         Defendants dispute Plaintiff’s allegations and deny all liability in the Class Action.

         While the case was pending before this Court, the Parties filed and opposed various

  motions and engaged in discovery.




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         B.      Settlement Negotiations

         In June 2020, the Parties agreed to explore a possible settlement of the Action. The Parties

  scheduled a mediation session with the Honorable William Meyer (Ret.) of the Judicial Arbiter

  Group, Inc. for July 21, 2020. On June 16, 2020, the Parties filed a Joint Motion to Stay

  Proceedings and Extend Certain Deadlines pending the results of the mediation (ECF 98), which

  request was granted by the Court. (ECF 100–103).

         On July 21, 2020, the Parties and their insurer participated in a one-day mediation session

  before Judge Meyer. Although substantial progress was made, the Class Action did not settle on

  that date. The Parties sought, and the Court granted, additional extensions of case deadlines in

  order for the Parties to continue discussing settlement. (ECF 104-113). Settlement discussions

  continued with Judge Meyer’s assistance. On August 7, 2020, the Parties reached an agreement in

  principle to settle the Class Action and executed a Confidential Settlement Term Sheet.

         On August 7, 2020, the Parties filed a joint Status Report with the Court and a joint Motion

  to Stay Proceedings so the Parties could finalize the settlement. (ECF 114-115). On August 11,

  2020, the Court entered an Order staying all proceedings except those related to approval of the

  class action settlement until further order of the Court, and also ordered the Parties to file a motion

  for preliminary approval of the settlement or otherwise inform the Court of the status of settlement

  by September 11, 2020, (ECF 119), which date was continued until October 6, 2020.

         C.      Materiality of Recitals

         Each of the foregoing Recitals represents an integral and material component of this

  Settlement Agreement and is incorporated by reference into this Agreement.

         II.     TERMS OF THE SETTLEMENT

         IT IS HEREBY STIPULATED AND AGREED, by and among the Representative
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  Plaintiff, individually and on behalf of the Class Members, by and through his counsel and by and

  through each Defendant and their respective counsel, that this Class Action and all matters that

  have been, could have been, and/or could be raised between the Plaintiff on the one hand and the

  Defendants on the other hand in the Class Action are hereby settled and compromised. This Action

  will be dismissed on the merits and with prejudice as to Defendants, and the Released Claims will

  be released as to Defendants and all other Releasees based upon the terms and conditions set out

  in this Settlement Agreement (including the Release), subject to the Court’s approval, and such

  approval becoming Final.

                 A.     Definitions

          1.     As used in this Settlement Agreement, the following capitalized terms have the

  following meanings:

                 a.     “Alleged Losses” means the principal amount paid for the GrowCo

   securities.

                 b.     “Approval Date” means the date on which the Court enters the Final Order

   Approving Settlement.

                 c.     “Attorneys’ Fees, Expenses and Service Award Application” means the

   application for fees, expenses, and Service Award to be made by Class Counsel pursuant to

   paragraphs 12, et seq. below.

                 d.     “Attorneys’ Fees and Expenses Award” means the fees and expenses

   awarded by the Court to Class Counsel and Additional Plaintiff’s Counsel.

                 e.     “Authorized Claim” means a claim for recovery of Alleged Losses from an

   Authorized Claimant that has been found to be timely and valid under the terms of this Settlement

   Agreement.
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                 f.      “Authorized Claimant” means a Class Member (or the representative of

   such Class Member, including, without limitation, agents, administrators, executors, heirs,

   predecessors, successor, affiliates or assigns) whose claim for recovery of Alleged Losses has

   been found to be timely and valid under the terms of this Settlement Agreement.

                 g.      “Claim” or “Claims” means any and all tort-based claims, contract-based

   claims, or claims in equity that were or could have been asserted in the Class Action between the

   Plaintiffs and Class Members on the one hand and the Defendants on the other. The Parties agree,

   however, that the Class Members shall retain their GrowCo securities and are not releasing the

   limited claim for payment of their securities, including claims in the event of a GrowCo

   liquidation, including in the GrowCo Bankruptcy Action.

                 h.      “Claim Form” means the form that Class Members must submit to the

   Claims Administrator in order to receive relief for their Alleged Losses pursuant to Section D of

   this Settlement Agreement, which will, subject to Court approval, be substantially in the form set

   out in Exhibit C.

                 i.      “Class Members” or “Settlement Class” or “Settlement Class Members”

   means all persons or entities that currently hold claims based on securities in GrowCo, and

   purchased or otherwise acquired the securities through Offerings during the period of October

   2014 through December 2017 (the “Class Period”), and suffered Alleged Losses as defined above.

   For the avoidance of doubt, persons or entities who purchased or otherwise acquired the securities

   during the Class Period and who have assigned the securities to VitaNova Partners, LLC are not

   excluded as Class Members by virtue of such assignment. Excluded from the Class are (1) the

   Defendants; (2) the officers and directors of Two Rivers and GrowCo during the Class Period as

   set forth in the attached Exhibit E for securities purchased at the time or after they were officers
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   or directors; (3) any judge or judicial officer who may hear any aspect of this Class Action and

   his or her law clerks; and (4) except as provided in clause (2) of this paragraph above, all persons

   or entities released in the Settlement. Also excluded from the Settlement Class are the persons

   and/or entities who request exclusion from the Settlement Class within the time period set by the

   Court in the Preliminary Approval Order.

                 j.      “Class Counsel” means the following attorneys and law firms: Paul Scarlato

   and Alan Rosca of Goldman Scarlato & Penny, P.C., and J. Barton Goplerud and Brian Marty of

   Shindler, Anderson, Goplerud & Weese, P.C. “Additional Plaintiff’s Counsel” means Steve

   Miller of Steve A. Miller, P.C.

                 k.      “Class Notice” or “Notice” means the notice described in Section D of this

   Settlement Agreement that will be disseminated to Settlement Class Members to inform them of

   the proposed Settlement, which notice shall, subject to Court approval, be substantially in the

   form set out in Exhibit B to this Settlement Agreement.

                 l.      “Complete Bar Order” means the order described in Section I of this

   Settlement Agreement.

                 m.      “Effective Date” means the first date by which all of the events and

   conditions specified hereafter occur: (i) execution of this Settlement Agreement and such other

   documents as may be required to obtain final Court approval of this Settlement Agreement in a

   form satisfactory to the Settling Parties, (ii) the Settlement Administration Account has been

   established as provided below, (iii) Defendants have not exercised their option to terminate the

   Settlement Agreement pursuant to Section M hereof, (iv) the Court has approved the Class Notice,

   substantially in the form of Exhibit B hereto, (v) the Court has entered the Final Order Approving



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   Settlement that, inter alia, dismisses with prejudice the Class Action and (vi) the Final Order

   Approving Settlement has become Final, as defined in Section A, paragraph “o” hereof.

                 n.      “Fairness Hearing” means the hearing at or after which the Court will make

   a decision (i) whether to approve the Settlement as fair, reasonable and adequate; (ii) whether to

   certify the Settlement Class; and (iii) whether to grant the Attorneys’ Fees, Expenses and Service

   Award Application.

                 o.      “Final” means, when used in connection with any court order, that the order

   will be final: (1) if no appeal is taken, or the date on which the time to appeal from the order

   (including any potential extension of time) has expired; or (2) if any appeal is taken from the

   order, the date on which all such appeals—including any petitions for rehearing en banc, petitions

   for certiorari or any other form of review and any related appeals or petitions, including as to any

   appeal bond—have been finally disposed of, such that the time to appeal therefrom (including

   any potential extensions of time) has expired, in a manner resulting in an affirmance of the

   relevant order.

                 p.      “Net Cash Settlement Amount” means the balance remaining in the

   Settlement Administration Account (including any interest that has accrued) after the payments

   described in Section H, paragraph 15 below are made from the Settlement Administration

   Account.

                 q.      “Notice and Administrative Expenses” means all expenses associated with

   administration and implementation of this Settlement, including the Claims Administrator’s fees

   and expenses; provided, however, that Notice and Administrative Expenses shall not include the

   Attorneys’ Fees and Expenses.



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                 r.     “Objection Date” means the date by which objections to the Settlement

   proposed in this Settlement Agreement must be filed with the Court and served on counsel as set

   out in the Preliminary Approval Order.

                 s.     “Offerings” means the GrowCo securities offerings identified in the

   GrowCo Bankruptcy Action as follows:

          Name                   Type        Approximate           Date Range
                                             Amount Raised
   GrowCo Partners 1, LLC        Equity           $3,349,151         December 2014-January 2015
   $4 Million Note               Debt             $4,000,000          March 2015-September 2015
   GCP Super Units LLC           Equity           $5,297,157               July 2015-October 2017
   $1.5 Million Note             Debt               $100,000                           April 2016
   $6 Million Note               Debt             $6,000,000                March 2016-July 2016
   $7 Million Note               Debt             $2,977,000           January 2016- January 2017
   $2 Million Note               Debt             $1,080,000        February 2017-September 2017
   $2 Million Note               Debt               $440,000                            June 2017


                 t.      “Order Approving Settlement” means the order to be entered by the Court

   approving the Settlement and this Settlement Agreement as contemplated in Section K herein,

   which order shall be substantially in the form set out in Exhibit D to this Settlement Agreement.

                 u.     “Plan of Allocation” means the terms and procedures for allocating the Net

   Cash Settlement Amount among, and distributing the Net Cash Settlement Amount to, Authorized

   Claimants, which shall be subject to Court approval.

                 v.     “Preliminary Approval Date” means the date on which the Court enters the

   Preliminary Approval Order.

                 w.     “Preliminary Approval Hearing” means the hearing at or after which the

   Court preliminarily approves the proposed Settlement.




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                 x.      “Preliminary Approval Order” means the order to be entered by the Court

   concerning notice, administration, and the Fairness Hearing as contemplated in Section J of this

   Settlement Agreement.

                 y.      “Settlement Agreement” means this Settlement Agreement and its Exhibits

   attached hereto, including any subsequent written amendments agreed to by all Settling Parties.

                 z.       “Recognized Claim” shall have the meaning attributed to it in the Plan of

   Allocation.

                 aa.     “Recognized Alleged Loss” is the Alleged Loss amount of a claim under

   the Plan of Allocation and is the number used to calculate an Authorized Claimant’s Recognized

   Claim.

                 bb.     “Release” means the release set forth in Section I of this Settlement

   Agreement.

                 cc.     “Released Claims” means any and all Claims of or by the Releasors, as

   against the Releasees, and any and all Claims of or by the Defendants as against the Releasors,

   that were asserted, could have been asserted, or could in the future be asserted, arising from, based

   on, or relating to allegations in the Class Action. The term “Released Claims” does not include

   any claims for collection of any amounts due under the GrowCo securities pursuant to the terms

   of the securities, including claims in the event of a GrowCo liquidation, including in the GrowCo

   Bankruptcy Action.

                 dd.     “Releasee” means each and every one of, and “Releasees” means all of, (i)

   Defendants and their attorneys in the Class Action, (ii) the past and present officers, directors,

   managers, attorneys, insurers, and/or employees of Two Rivers and GrowCo, as set forth in the

   attached Exhibit E for securities purchased at the time or after they were officers or directors, and
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   (iii) non-Defendants GrowCo, GrowCo Partners 1, LLC, GrowCo Partners 2, LLC, GCP Super

   Units, LLC, McGrow LLC, and TR Capital Partners, LLC.

                 ee.     “Releasor” means each and every one of, and “Releasors” means all of (i)

   the Representative Plaintiff, (ii) all other Class Members, (iii) their respective past or present

   parents, predecessors, successors, current and former affiliates, divisions, business units, joint

   ventures, subsidiaries, assigns, any entities in which any Releasor has or had a controlling interest

   or that has or had a controlling interest in him, her, or it, and any other person or entity (including

   any governmental entity) claiming by or through, on behalf of, for the benefit of, derivatively for,

   or as representative of Representative Plaintiff or any other Class Member and (iv) their respective

   past and present officers, directors, employees, officials, members, partners, and attorneys.

                 ff.     “Service Award” means an application filed by Plaintiff for compensation

   for the Plaintiff’s efforts devoted to this Class Action and reimbursement of Plaintiff’s expenses.

                 gg.     “Settlement” means the settlement terms, conditions and other provisions

   that are memorialized in this Settlement Agreement.

                 hh.     “Claims Administrator” or the “Settlement Administration Agent” means

   Strategic Claims Services, 600 North Jackson Street, Suite 205, Media, PA 19063.

                 ii.     “Settlement Administration Account” means the escrow account to be

   established by Class Counsel at Huntington Bank, which shall be an interest-bearing account into

   which the Settlement Payment will be paid pursuant to Section C of this Settlement Agreement.

                 jj.     “Settlement Administration Account Agent” means Strategic Claims

   Services; the escrow agent for the Settlement Administration Account.

                 kk.     “Settling Parties” means all Parties to this Settlement Agreement.

                 ll.     “Settlement Payment” means $1,500,000.
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                 mm.     “Termination Date” means that date on which any of the Settling Parties

   provides notice that he, she or it is exercising a right to terminate this Settlement Agreement under

   Section M of this Settlement Agreement.

         B.      Class Certification

         2.      For purposes of this Settlement only, and subject to approval of the Court in

  accordance with Rule 23(e) of the Federal Rules of Civil Procedure, the Settling Parties stipulate

  to the certification of the Settlement Class, as defined herein; the appointment of John Paulson as

  Class Representative; and the appointment of Paul Scarlato and Alan Rosca of Goldman Scarlato

  & Penny, P.C., and J. Barton Goplerud and Brian Marty of Shindler, Anderson, Goplerud &

  Weese, P.C., as Class Counsel, and Steve Miller of Steve A. Miller, P.C. as Additional Plaintiff’s

  Counsel.

         C.      Settlement Consideration

         3.      Prior to or upon entry of the Preliminary Approval Order, Class Counsel shall cause

  to be established the Settlement Administration Account at a financial institution selected by Class

  Counsel. In consideration of the settlement of claims asserted in this Class Action, and subject to

  the terms and conditions of the Settlement Agreement, Defendants shall cause their Insurer,

  Starstone Specialty Insurance Company (the “Insurer”), to deposit the Settlement Payment into the

  Settlement Administration Account by wire transfer within thirty days (30) days following the date

  of entry of the Preliminary Approval Order and receipt by Defendants of the name, address and

  wire payment information for both the payee and recipient of the Settlement Payment and a

  properly completed Form W-9 for the payee of the Settlement Payment, which Class Counsel

  agrees to provide upon execution of the Settlement Agreement.

         D.      Notice to Class Members
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         4.      Subject to the requirements of the Preliminary Approval Order, Class Counsel shall

  cause the Class Notice and the Claim Form, substantially in the forms annexed hereto as Exhibits

  B and C, respectively, to be sent by first class mail, postage prepaid, and via email, within seven

  (7) days after the entry of the Preliminary Approval Order, to all Settlement Class Members at the

  address and email addresses set forth in the records of GrowCo. Plaintiff’s Counsel shall use

  reasonable efforts to obtain from counsel in the GrowCo Bankruptcy Action to provide to the

  Claims Administrator, no later than five (5) business days after entry of the Preliminary Approval

  Order, a list of potential Settlement Class Members (consisting of names, addresses, and email

  addresses), in electronic form. Class Counsel shall, at least fourteen (14) days before the Fairness

  Hearing, file with the Court proof of mailing of the Class Notice and Claim Form. The date upon

  which Notice is first sent out shall be the “Notice Date.”

         E.      Notice and Administrative Expenses

         5.      Notice and Administrative Expenses shall be paid out of the Settlement Fund.

         F.      Procedures for Objections to the Settlement and Exclusions from the Class

         6.      Any Class Member who wishes to object to the fairness, reasonableness or

  adequacy of this Settlement Agreement, to any term(s) of this Agreement or to the proposed

  Attorneys’ Fees and Expenses Award or Service Award may do so no later than fourteen (14) days

  before the Fairness Hearing, and subject to the requirements set out in the Preliminary Approval

  Order. Class Members who fail to file and serve timely written objections in the manner specified

  in the Preliminary Approval Order shall be deemed to have waived any objections and shall be

  foreclosed from making any objection (whether by appeal or otherwise) to the Settlement

  Agreement.



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         7.      Attorneys representing Class Members who object to this Settlement Agreement

  must file notice(s) of appearance.

         8.      Potential Class Members who wish to exclude themselves from the Class must

  submit a written statement requesting exclusion from the Class no later than twenty-one (21) days

  after the Notice Date (the “Opt-Out Deadline”). Such written request for exclusion must contain

  the name, address, and telephone number of the person requesting exclusion, must be returned by

  mail to the Claims Administrator at a specified address, must be postmarked on or before the

  Exclusion Deadline, and must otherwise be submitted in accordance with the Class Notice. The

  date of the postmark on the return mailing envelope shall be the exclusive means used to determine

  whether a request for exclusion has been timely submitted. Any individual who opts out of the

  Class will not be entitled to any recovery under the Settlement Agreement and will not be bound

  by the Settlement Agreement or have any right to object, appeal or comment thereon. Class

  Members who do not submit a valid and timely request for exclusion on or before the Exclusion

  Deadline shall be bound by all terms of the Settlement Agreement if the Settlement is approved by

  the Court. Within five (5) days after the Opt-Out Deadline, the Claims Administrator shall provide

  Defendants with a list of the Class Members who have requested exclusion from the Class.

         G.      Attorneys’ Fees, Expenses and Service Awards

         9.      Class Counsel shall file and serve the Attorneys’ Fees, Expenses and Service Award

  Application not later than twenty-one (21) days prior to the Fairness Hearing.

         10.     Any Attorneys’ Fees, Expenses and Service Award will be subject to approval by

  the Court.




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           11.   The Attorneys’ Fees, Expenses and Service Award shall be paid from the

  Settlement Administration Account established pursuant to Section A, paragraph “ii” above within

  seven (7) days from the date on which the Court enters a Final order approving such award.

           H.    Claims Administrator

           12.   The Claims Administrator shall be selected by Class Counsel and approved by the

  Court.

           13.   The Claims Administrator shall administer the process of receiving, reviewing and

  approving or denying claims under Class Counsel’s supervision and subject to the jurisdiction of

  the Court.

           14.   The Claims Administrator shall receive Claims and determine first, whether the

  Claim is an Authorized Claim, in whole or in part; and second, each Authorized Claimant’s pro

  rata share of the Net Cash Settlement Amount based upon each Authorized Claimant’s Recognized

  Alleged Loss amount.

           15.   The Settlement Fund shall be applied as follows:

                 (1) to pay Class Counsel’s Attorneys’ Fees and Expenses, and the Service Award

  and expenses of Plaintiff (the “Attorneys’ Fees, Expenses and Service Award”), if and to the extent

  allowed by the Court;

                 (2) to pay all the costs and expenses reasonably and actually incurred in connection

  with providing notice, locating Settlement Class Members, soliciting Settlement Class claims,

  assisting with the filing of claims, administering and distributing the Net Settlement Fund to

  Authorized Claimants, processing Claim Forms, and paying escrow fees and costs, if any;

                 (3) to pay any taxes and tax expenses; and



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                 (4) to distribute the balance of the Settlement Fund to Authorized Claimants as

  allowed by the Settlement Agreement, the Plan of Allocation, or order of the Court.

         16.     The Plan of Allocation is not a necessary term of this Settlement Agreement, and it

  is not a condition of this Settlement Agreement that any particular Plan of Allocation be approved.

         17.     Each Authorized Claimant shall be allocated a pro rata share of the Net Cash

  Settlement Amount based on his, her or its Recognized Alleged Loss compared to the total

  Recognized Alleged Losses of all Authorized Claimants. Defendants shall not be entitled to any

  of the Settlement consideration once the Effective Date has occurred.

         18.     Any Class Member who does not submit a valid Claim Form will not be entitled to

  receive any distribution from the Net Cash Settlement Amount, but will otherwise be bound by all

  of the terms of this Settlement Agreement and the Settlement, including the terms of the Final

  Order Approving Settlement to be entered in the Class Action and the Releases provided for herein,

  and will be barred and enjoined from bringing any action against the Releasees concerning the

  Released Claims.

         19.     Class Counsel shall be responsible for supervising the administration of the

  Settlement and disbursement of the Net Cash Settlement Amount by the Claims Administrator.

  Defendants shall have no liability, obligation, involvement, or responsibility for the administration

  of the Settlement or disbursement of the Net Cash Settlement Amount. Class Counsel shall have

  the right, but not the obligation, to waive what they deem to be non-substantive or technical defects

  in any Claim Forms submitted in the interests of achieving substantial justice.

         20.     For purposes of determining the extent, if any, to which a Settlement Class Member

  shall be entitled to be treated as an Authorized Claimant, the following conditions shall apply:



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                 a.       Each Class Member shall be required to submit a Claim Form setting forth

  the Class Member’s Alleged Losses, substantially in the form attached hereto as Exhibit C,

  supported by such documents as are designated therein, or as the Claims Administrator or Class

  Counsel, in their discretion, may deem acceptable.

                 b.       All Claim Forms must be submitted by the date set by the Court in the

  Preliminary Approval Order and specified in the Notice, which the Parties will request to be sixty

  (60) days after mailing, unless such deadline is extended by Order of the Court. Any Class Member

  who fails to submit a Claim Form by such date shall be forever barred from receiving any

  distribution from the Net Cash Settlement Amount or payment pursuant to this Settlement

  Agreement (unless, by Order of the Court, late-filed Claim Forms are accepted), but shall in all

  other respects be bound by all of the terms of this Settlement Agreement and the Settlement

  including the terms of the Final Order Approving Settlement and the Releases provided for herein,

  and will be barred and enjoined from bringing any action against the Releasees concerning the

  Released Claims. A Claim Form shall be deemed to be submitted when posted, if received with a

  postmark indicated on the envelope and if mailed by first-class mail and addressed in as per the

  instructions thereon.

                 c.       Each Claim Form shall be submitted to and reviewed by the Claims

  Administrator, under the supervision of Class Counsel, who shall determine in accordance with

  this Settlement Agreement, the extent, if any, to which each Claim shall be allowed, subject to

  review by the Court pursuant to subparagraph “f” below;

                 d.       Claim Forms that do not meet the submission requirements may be rejected.

  Prior to rejecting a Claim in whole or in part, the Claims Administrator shall communicate with

  the Claimant in writing, email or by telephone to give the Claimant the chance to remedy any
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  curable deficiencies in the Claim Form submitted. The Claims Administrator, under the

  supervision of Class Counsel, shall notify, in a timely fashion and in writing, all Claimants whose

  Claim they propose to reject in whole or in part, setting forth the reasons therefore, and shall

  indicate in such notice that the Claimant whose claim is to be rejected has the right to a review by

  the Court if the Claimant so desires and complies with the requirements of subparagraph (e) below.

                 e.       If any Claimant whose claim has been rejected in whole or in part desires

  to contest such rejection, the Claimant must, within twenty-one (21) days after the date of mailing

  of the notice required in subparagraph (d) above, serve upon the Claims Administrator a notice

  and statement of reasons indicating the Claimant’s grounds for contesting the rejection along with

  any supporting documentation, and requesting a review thereof by the Court. If a dispute

  concerning a Claim cannot be otherwise resolved, Class Counsel shall thereafter present the

  request to the Court.

                 f.       The administrative determinations of the Claims Administrator in accepting

  and rejecting Claims shall be presented for approval by the Court.

         21.     Each Claimant shall be deemed to have submitted to the jurisdiction of the Court

  with respect to the Claimant’s Claim, and the Claim will be subject to investigation and discovery

  under the Federal Rules of Civil Procedure, provided, however that such investigation and

  discovery shall be limited to that Claimant’s status as a Class Member and the validity and amount

  of the Claimant’s Claim. No discovery shall be allowed on the merits of the Class Action or

  Settlement in connection with the processing of Claim Forms.

         22.     Class Counsel will apply to the Court for a Class Distribution Order: (a) approving

  the Claims Administrator’s administrative determinations concerning the acceptance and rejection

  of the Claims submitted; (b) approving payment of any administration fees and expenses
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  associated with the administration of the Settlement from the Settlement Administration Account;

  and (c) if the Effective Date has occurred, directing payment of the Net Cash Settlement Amount

  to the Authorized Claimants.

         23.     The Net Cash Settlement Amount shall be distributed to Authorized Claimants

  substantially in accordance with the Plan of Allocation set forth in the Class Notice and approved

  by the Court. Any such Plan of Allocation is not a part of this Settlement Agreement. No funds

  from the Net Cash Settlement Amount shall be distributed to Authorized Claimants until the

  Effective Date. If there is any balance remaining in the Net Cash Settlement Amount after six (6)

  months from the date of distribution of the Net Cash Settlement Amount, Class Counsel shall, if

  feasible, reallocate such balance among Authorized Claimants in an equitable and economic

  fashion. Thereafter, any remaining balance shall be donated to one or more secular §501(c)(3)

  organization(s) selected by Class Counsel, not related or controlled by any Party or their counsel.

         24.     Payment pursuant to the Class Distribution Order shall be final and conclusive

  against all Class Members who are Authorized Claimants.

         25.     All proceedings with respect to the administration, processing and determination of

  Claims and the determination of all controversies relating thereto, including disputed questions of

  law and fact with respect to the validity of Claims, shall be subject to the jurisdiction of the Court.

         26.     The Claims Administrator is to be charged with, among other things, distribution

  of the Class Notice, setting up and running a toll-free center to respond to calls, receipt and

  handling of requests for information, receipt of requests for exclusion and distribution of

  settlement relief to Class Members in the Settlement.




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         I.      Releases and Waivers

         27.     Pursuant to the Order Approving Settlement, without further action by anyone, and

  whether or not a Claim Form has been executed and/or delivered by or on behalf of any such

  Settlement Class Member, on and after the Effective Date, Representative Plaintiff and all other

  Settlement Class Members, on behalf of themselves and their other Releasors, for good and

  sufficient consideration, and all Releasors shall be deemed to have, and by operation of law and of

  the Order Approving Settlement shall have, fully, finally, and forever released, relinquished,

  settled, and discharged:

                 a.     all Released Claims;

                 b.     all Claims, damages, and liabilities against each and every one of the

  Releasees to the extent that any such Claims, damages, or liability relate in any way to any or all

  acts, omissions, nondisclosures, facts, matters, transactions, occurrences, or oral or written

  statements or representations in connection with, or directly or indirectly relating to (i) the

  prosecution, defense, or settlement of the Class Action, (ii) the Settlement Agreement, (iii) the

  Settlement terms and their implementation, (iv) the provision of notice in connection with the

  proposed Settlement, and/or (v) the resolution of any Claim Forms filed in connection with the

  Settlement; and

                 c.     all Claims against any of the Releasees for attorneys’ fees, costs, or

  disbursements incurred by Plaintiff’s counsel, the settlement of the Class Action, or the

  administration of the Settlement, except as otherwise specified in the Settlement Agreement.

         28.     The Settling Parties agree and acknowledge that this Settlement Agreement is

  intended to resolve and satisfy any and all claims that the Releasors have made or could have made

  against any of the Releasees arising out of the issuance or sale of GrowCo securities. The Parties
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  agree and acknowledge that they shall seek as part of the Final Order Approving Settlement an

  order prohibiting further lawsuits and claims against the Defendants arising out of the issuance

  and sale of GrowCo securities which the Parties intend to operate as a complete bar to any lawsuits

  or claims against the Defendants arising out of the issuance or sale of GrowCo securities (the

  “Complete Bar Order”). The Complete Bar Order will not bar claims for collection of any amounts

  due under the GrowCo securities pursuant to the terms of the securities, including claims in the

  event of a GrowCo liquidation including in the GrowCo Bankruptcy Action.

         29.     Nothing in the Final Order Approving Settlement shall bar any action or Claim by

  the Settling Parties or their counsel to enforce the terms of the Settlement Agreement or the Order

  Approving Settlement.

         30.     The Releasors and each of them agree and covenant not to sue or prosecute, institute

  or cooperate in the institution, commencement, filing, or prosecution of any suit or proceeding in

  any forum based upon or related to any Released Claims against any Releasee.

         31.     Each of the releases, waivers, and covenants not to sue contained in this Section

  was separately bargained for and is an essential element of the Settlement Agreement.

         J.      Preliminary Approval Hearing and Preliminary Approval Order

         Within five (5) business days or sooner following the execution of this Settlement

  Agreement but no later than October 6, 2020, Representative Plaintiff shall file a motion for

  Preliminary Approval of the Settlement requesting, among other things, that the Court

  preliminarily approve the Settlement as fair, reasonable and adequate, approve the form and

  manner of providing Notice to the Class, set a deadline for Class Members to object to the

  Settlement, set a deadline for Class Members to opt-out of the Class (the “Opt-Out Deadline”), set

  a deadline for submission of papers in support of the Final Order Approving Settlement, and set a
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  deadline for filing the request for Attorneys’ Fees, Expenses and Service Award, which motion

  Defendants shall not oppose as long as the request is reasonable and consistent with the Settlement

  Agreement.

           K.     Fairness Hearing, Final Order Approving Settlement

           32.    The Settling Parties shall request that the Court schedule a Fairness Hearing within

  sixty (60) days after the entry of the Preliminary Approval Order, unless otherwise ordered by the

  Court, at which to consider whether (i) to approve this Agreement as fair, reasonable and adequate

  and in the best interest of the Settlement Class; (ii) to finally certify the Settlement Class; and (iii)

  to approve Class Counsels’ request for an Attorneys’ Fees and Expenses Award and Service

  Award.

           L.     No Admissions

           33.    This Settlement Agreement, whether or not consummated, and any proceedings

  taken pursuant to it:

                  a.       shall not be offered or received against the Parties as evidence of, or

  construed as or deemed to be evidence of, any presumption, concession or admission by Party with

  respect to the truth of any fact alleged in the Amended Complaint or the validity of any claim that

  had been or could have been asserted against the Defendants in the Class Action, or in any

  litigation, or of any liability, negligence, fault or wrongdoing of the Defendants;

                  b.       shall not be construed by any Party as an admission or concession that the

  consideration to be given hereunder represents the amount which could be or would have been

  recovered after trial;

                  c.       shall not be construed as or received in evidence as an admission,

  concession or presumption that class certification is appropriate in this Class Action.
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         M.      Modification or Termination of This Settlement Agreement

         34.     This Settlement Agreement may not be altered, amended or modified, nor may any

  of its provisions be waived, except in writing signed by all Settling Parties.

         35.     Any Settling Party shall have the right to terminate the Settlement if the Court does

  not approve the Settlement Agreement. If the Court modifies the Settlement Agreement in any

  way that a Settling Party in good faith determines is material, any Settling Party shall have the

  right to terminate the Settlement only after first conferring with the other Settling Parties in good

  faith in an effort to resolve the concern.

         36.     Representative Plaintiff may not terminate the Settlement based on any Attorneys’

  Fees, Expenses and Services Awards.

         37.     Each Defendant in the Class Action shall have the option (but not the obligation)

  to terminate the Settlement if valid exclusion requests with Alleged Losses totaling more than

  $750,000 are received from eligible Class Members. However, that if any Defendant is declaring

  the Settlement null and void, (a) he or it shall inform the other Defendants and Starstone in writing

  within ten (10) f days after the expiration of the Opt-Out Deadline; (b) the Defendants and

  Starstone shall meet and confer in person or telephonically in an attempt to come to an agreement;

  (c) if there is no agreement, the Defendants and Starstone will mediate before Judge Meyer; and

  (d) if there is no agreement after mediation, any Defendant may declare the Settlement null and

  void within ten (10) days after mediation by sending notification of such termination to all Parties

  via their counsel.

         38.     Unless otherwise ordered by the Court, in the event the Settlement Agreement shall

  terminate, or be canceled, or shall not become effective for any reason, within five (5) business

  days after written notification of such event is sent by Defendants’ counsel, the Settlement
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  Payment (including accrued interest), less reasonable notice and administration expenses which

  have either been incurred or disbursed pursuant to Section H hereof, shall be refunded to Starstone

  pursuant to written instructions from Defendants’ counsel. Representative Plaintiff has the right to

  terminate the Settlement if Defendants fail to timely and completely fund the Settlement in

  accordance with this Settlement Agreement.

         N.      Additional Provisions

         37.     As part of this Settlement, Plaintiff agrees to file a notice (a) withdrawing his Notice

  of Intent to Oppose Defendant Beall’s motion to set aside clerk’s default (ECF 95), (b)

  withdrawing his Response to Defendant Beall’s Motion to Set Aside Clerk’s Default (ECF 97),

  and (c) unconditionally and without qualification consenting to Defendant Beall’s Motion to Set

  Aside Clerk’s Default (ECF 94), and (d) stating that for the reasons set forth in Defendant Beall’s

  Motion to Set Aside Clerk’s Default, good cause exists under Fed. R. Civ. P. 55(c) to vacate the

  Clerk’s default. Plaintiff agrees to use his best efforts to seek to vacate the Clerk’s default against

  Defendant Beall. Plaintiff will file the notice contemporaneously with the motion for Final

  Approval of the Settlement. While the Parties understand only the Court can vacate a default, it is

  the Parties’ intention and desire that the Court will vacate the default as part of the Settlement.

         Miscellaneous Provisions

         39.     The Parties and their counsel agree to use their best efforts to obtain Court approval

  of this Settlement Agreement.

         40.     All of the exhibits attached hereto are hereby incorporated by reference as though

  fully set forth herein. In the event of any difference between the terms of the Settlement Agreement

  and any of the exhibits, the terms of the Settlement Agreement shall control.



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         41.     The Parties to this Settlement Agreement intend the Settlement to be a final and

  complete resolution of all disputes asserted or which could be asserted by the Representative

  Plaintiff, any other Class Members and their attorneys against the Releasees with respect to the

  Released Claims. The Parties hereto shall assert no claims of any violation of Rule 11 of the

  Federal Rules of Civil Procedure relating to the prosecution, defense or settlement of the Class

  Action. The Parties agree that the amount paid by the Insurance Carrier and the other terms of the

  Settlement were negotiated at arm’s-length and in good faith, including during a mediation

  conducted by a professional mediator, and reflect a settlement that was reached voluntarily after

  consultation with experienced legal counsel.

         42.     The administration and consummation of the Settlement as embodied in this

  Settlement Agreement shall be under the authority of the Court, and the Court shall retain

  jurisdiction for the purpose of entering orders providing for awards of attorneys’ fees and litigation

  expenses to Class Counsel and enforcing the terms of this Settlement Agreement.

         43.     The waiver by one Party of any provision or breach of this Settlement Agreement

  by any other Party shall not be deemed a waiver of any other provision or any other prior or

  subsequent breach of this Settlement Agreement.

         44.     This Settlement Agreement and its exhibits constitute the entire agreement among

  the Parties hereto concerning the Settlement of the Class Action, and no representations, warranties

  or inducements have been made by any Party hereto concerning this Settlement Agreement and its

  exhibits other than those contained and memorialized in such documents.

         45.     This Settlement Agreement shall be binding upon and inure to the benefit of the

  successors and assigns of the Parties.



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                     46.     The construction, interpretation, operation, effect and validity of this Settlement

            Agreement, and all documents necessary to effectuate it, shall be governed by the laws of the State

            of Colorado, except to the extent that federal law requires that federal law govern.

                     47.     This Settlement Agreement shall not be construed more strictly against one Party

            than another merely by virtue of the fact that it, or any part of it, may have been prepared by

            counsel for one of the Parties, it being recognized that all Parties have contributed substantially

            and materially to the preparation of this Settlement Agreement.

                     48.     All counsel and any other persons executing this Settlement Agreement and any of

            the exhibits hereto, or any related Settlement documents, warrant and represent that they have full

            authority to do so and that they have the authority to take appropriate action required or permitted

            to be taken pursuant to this Settlement Agreement to effectuate its terms.

                     Dated this 7th day of October, 2020.




                      ___________________________                 _______________________________
                      John Paulson                                Wayne Harding



                      ___________________________
                      John McKowen

                                                                  Two Rivers Water and Farming Company


                      _________________________                   By_________________________________
                      Timothy Beall
                                                                  Its_________________________________




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                     46.     The construction, interpretation, operation, effect and validity of this Settlement

            Agreement, and all documents necessary to effectuate it, shall be governed by the laws of the State

            of Colorado, except to the extent that federal law requires that federal law govern.

                     47.     This Settlement Agreement shall not be construed more strictly against one Party

            than another merely by virtue of the fact that it, or any part of it, may have been prepared by

            counsel for one of the Parties, it being recognized that all Parties have contributed substantially

            and materially to the preparation of this Settlement Agreement.

                     48.     All counsel and any other persons executing this Settlement Agreement and any of

            the exhibits hereto, or any related Settlement documents, warrant and represent that they have full

            authority to do so and that they have the authority to take appropriate action required or permitted

            to be taken pursuant to this Settlement Agreement to effectuate its terms.

                     Dated this _day of October, 2020.




                      John Paulson                                Wayne Harding

                      �DocuSigned by:
                                                  10/6/2020
                      L�:03�,��

                      John McKowen

                                                                  Two Rivers Water and Farming Company



                      Timothy Beall
                                                                  By �

                                                                  Its �
                                                                                 ✓
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         46.     The construction, interpretation, operation, effect and validity of this Settlement

  Agreement, and all documents necessary to effectuate it, shall be governed by the laws of the State

  of Colorado, except to the extent that federal law requires that federal law govern.

         47.     This Settlement Agreement shall not be construed more strictly against one Party

  than another merely by virtue of the fact that it, or any part of it, may have been prepared by

  counsel for one of the Parties, it being recognized that all Parties have contributed substantially

  and materially to the preparation of this Settlement Agreement.

         48.     All counsel and any other persons executing this Settlement Agreement and any of

  the exhibits hereto, or any related Settlement documents, warrant and represent that they have full

  authority to do so and that they have the authority to take appropriate action required or permitted

  to be taken pursuant to this Settlement Agreement to effectuate its terms.

         Dated this ___day of October, 2020.




          ___________________________                  _______________________________
          John Paulson                                 Wayne Harding



          ___________________________
          John McKowen

                                                       Two Rivers Water and Farming Company


          _________________________                    By_________________________________
          Timothy Beall
                                                       Its_________________________________




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                               EXHIBIT A
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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLORADO


  JOHN PAULSON,                            )
  Individually and on Behalf of all Others )
  Similarly Situated,                      )
                                           )
                              Plaintiff    )
                                           )
         v.                                )           Civil Action No. 19-cv-02639-PAB-NYW
                                           )
  TWO RIVERS WATER AND                     )
  FARMING COMPANY, JOHN R.                 )
  MCKOWEN, WAYNE HARDING and )
  TIMOTHY BEALL,                           )
                                           )
  Defendants                               )
                                           )

                               [PROPOSED] ORDER
    (1) PRELIMINARILY CERTIFYING THE CLASS FOR SETTLEMENT PURPOSES;
          (2) GRANTING PRELIMINARY APPROVAL OF SETTLEMENT; AND
                         (3) APPROVING CLASS NOTICE

         WHEREAS, the above-captioned putative class action (the “Class Action” or the “Action”)

  is pending before the Court;

         WHEREAS, Plaintiff and proposed class representative John Paulson (“Plaintiff”), and

  Defendants, Two Rivers Water and Farming Company (“Two Rivers”), John R. McKowen

  (“McKowen”), Wayne Harding (“Harding”) and Timothy Beall (“Beall”), through their counsel,

  have entered into a Settlement Agreement dated October 7, 2020 (the “Settlement Agreement”),

  which is subject to review and approval under Rule 23 of the Federal Rules of Civil Procedure,

  and which, together with the exhibits thereto, sets forth the terms and conditions for the proposed

  settlement of the Action (the “Settlement”) and the dismissal of the Action with prejudice;




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             WHEREAS, the Court has read and considered the Settlement Agreement 1 and exhibits

  thereto, and the accompanying documents;

             WHEREAS, the Counsel for Plaintiff has submitted, and the Court has reviewed, a Motion

  and accompanying Memorandum of Law supporting preliminary approval of the proposed

  Settlement; and

             WHEREAS, the Parties to the Settlement Agreement have consented to the entry of this

  Order:

             NOW, THEREFORE, THE COURT HEREBY ORDERS, ADJUDGES AND DECREES

  THAT:

             1.     Pursuant to Rule 23(a) and Rule 23(b)(3) of the Federal Rules of Civil Procedure,

  and for the purposes of the Settlement only, the Court preliminarily certifies the following Class

  (the “Class”):

             All persons or entities that currently hold claims based on GrowCo securities and
             purchased or otherwise acquired the securities through Offerings listed below
             during the time period beginning October 2014 through December 2017 (the “Class
             Period”) and suffered Alleged Losses. For avoidance of any doubt, persons or
             entities who purchased or otherwise acquired the securities during the Class Period
             and who have assigned the securities to VitaNova Partners, LLC are not excluded
             as Class Members by virtue of such assignment.

      Name                         Type          Approximate          Date Range
                                                 Amount Raised
      GrowCo Partners 1, LLC       Equity             $3,349,151        December 2014-January 2015
      $4 Million Note              Debt               $4,000,000         March 2015-September 2015
      GCP Super Units LLC          Equity             $5,297,157              July 2015-October 2017
      $1.5 Million Note            Debt                 $100,000                          April 2016
      $6 Million Note              Debt               $6,000,000               March 2016-July 2016
      $7 Million Note              Debt               $2,977,000          January 2016- January 2017
      $2 Million Note              Debt               $1,080,000       February 2017-September 2017
      $2 Million Note              Debt                 $440,000                           June 2017



  1
   Unless otherwise stated, all capitalized terms used herein have the meanings defined in the
  Settlement Agreement.


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           2.    Excluded from the Class are (1) the Defendants; (2) the officers and directors of

  Two Rivers and GrowCo during the Class Period as set forth in the attached Exhibit E to the

  Settlement Agreement for securities purchased at the time or after they were officers or directors;

  (3) any judge or judicial officer who may hear any aspect of this Class Action and his or her law

  clerks; and (4) except as provided in clause (2) of this paragraph above, all persons or entities

  released in the Settlement. Also excluded from the Settlement Class are the persons and/or entities

  who request exclusion from the Settlement Class within the time period set by the Court in this

  Order.

           3.    The Court preliminarily finds that the prerequisites for maintaining a class action

  under Rule 23(a) of the Federal Rules of Civil Procedure have been satisfied, in that: (a) the number

  of Class Members is so numerous that joinder of all members is impracticable; (b) there are

  questions of law and fact common to each member of the Class; (c) the claims of Plaintiff are

  typical of the claims of the members of the Class he seeks to represent; and (d) Plaintiff will fairly

  and adequately represent the interests of the Class.

           4.    The Court further finds that the prerequisites for maintaining a class action under

  Rule 23(b)(3) of the Federal Rules of Civil Procedure have been preliminarily satisfied for the

  Class, in that Plaintiff has demonstrated that: (a) the questions of law or fact common to the Class

  members predominate over any questions affecting only individual members; and (b) a class action

  is superior to other available methods for fairly and efficiently adjudicating the controversy.

           5.    Pursuant to Fed. R. Civ. P. 23, and for purposes of this Settlement only, the Court

  hereby preliminarily appoints Plaintiff John Paulson as class representative of the Class (the

  “Representative Plaintiff”).




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         6.      Having considered the factors set forth in Fed. R. Civ. P. 23(g)(1), the Court hereby

  preliminarily appoints attorneys Paul Scarlato and Alan Rosca of the law firm of Goldman Scarlato

  & Penny, P.C., and attorneys J. Barton Goplerud and Brian Marty of the law firm of Shindler,

  Anderson, Goplerud & Weese, P.C. as Class Counsel, and the law firm of Steve A. Miller, P.C. as

  Additional Plaintiff’s Counsel.

         7.      The Court preliminarily concludes that the Settlement was negotiated in good faith

  and is fair, reasonable and adequate, subject to proof to this Court’s satisfaction in connection with

  final approval of the Settlement as set forth in ¶9 below (“Final Approval”). See Fed. R. Civ. P.

  23(e). Accordingly, the Court hereby preliminarily approves the Settlement.

         8.      The Court reserves the authority to approve the Settlement with or without

  modification and with or without further notice of any kind. The Court further reserves the

  authority to enter its Final Order approving the Settlement Agreement and dismissing the Claims

  against Defendants on the merits and with prejudice regardless of whether it has awarded any

  attorneys’ fees and expenses to counsel.

         9.      A Fairness Hearing (which, from time to time, and without further notice to the

  Class other than by filing a notice on the docket in the Class Action in advance of the Fairness

  Hearing, may be continued or adjourned by order of this Court) will be held by this Court on [60

  days from Preliminary Approval], 2020 at ___ _.m. for the following purposes:

                 (a)     to finally determine whether the Class satisfies the applicable prerequisites

  for certification under Fed. R. Civ. P. 23(a) and 23(b)(3);

                 (b)     to finally determine whether the Settlement should be approved by the Court

  as fair, reasonable and adequate and in the best interests of the Class;

                 (c)     to determine whether a Final Order should be entered pursuant to the




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  Settlement Agreement, dismissing the Class Action with prejudice against the Defendants and

  effectuating the releases set forth in the Settlement Agreement and Notice;

                 (d)     to determine whether the proposed Plan of Allocation of the Settlement

  Fund set forth in the Notice is fair and reasonable, and should be approved by the Court;

                 (e)     to consider any request by Class Counsel and Additional Plaintiff’s Counsel

  for an award of attorneys’ fees and reimbursement of litigation expenses (“Attorney’s Fees and

  Expense Award”), and an application by Class Counsel on behalf of the Plaintiff for compensation

  for the Plaintiff’s efforts devoted to the Action and reimbursement of Plaintiff’s expenses (“Service

  Award”);

                 (f)     to hear and determine any objections to the Settlement or to any request by

  Class Counsel and Additional Plaintiff’s Counsel for an Attorney’s Fees and Expense Award or

  Service Award; and

                 (f)     to rule on such other matters as the Court may deem appropriate.

         10.     The Court approves the substance and requirements of the Class Notice, in the form

  annexed as Exhibit B to the Settlement Agreement.

         11.     No later than seven (7) days after Preliminary Approval, Class Counsel shall mail,

  or cause to be mailed, and electronically transmit via email, or cause to be e-mailed, the Class

  Notice to those Class Members who can be identified through reasonable effort. Notice costs shall

  be paid or reimbursed from the Settlement Fund, as set forth in ¶5 of the Settlement Agreement.

         12.     The Court finds that mailing of the Notice, as described herein, constitutes the best

  notice practicable under the circumstances and is due and sufficient notice of the matters set forth

  in the Class Notice to all Class Members, and fully satisfies the requirements of due process and

  of Rule 23 of the Federal Rules of Civil Procedure.




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         13.     The Court will consider any objections, and comments in support of or in

  opposition to the Settlement, the Plan of Allocation, or any request by Class Counsel for an

  Attorney’s Fees and Expense Award and Service Award, only if such comments and any

  supporting papers are in writing and filed with the Clerk of the Court, United States District Court,

  Alfred A. Arraj United States Courthouse, Room A105, 901 19th Street, Denver, CO 80294-3589,

  and copies of all such papers are served, on or before _________________, 2020 [fourteen (14)

  days before the Fairness Hearing], upon each of the following by U.S. Mail and email:

                                 Paul Scarlato
                                 GOLDMAN SCARLATO & PENNY, P.C.
                                 161 WASHINGTON STREET, SUITE 1025
                                 CONSHOHOCKEN, PA 19428
                                 EMAIL: SCARLATO@LAWGSP.COM

                                 Alan Rosca
                                 GOLDMAN SCARLATO & PENNY, P.C.
                                 23250 CHAGRIN BLVD. SUITE 100
                                 BEACHWOOD, OH 44122
                                 ROSCA@LAWGSP.COM

                                 J. Barton Goplerud
                                 Brian Marty
                                 SHINDLER, ANDERSON, GOPLERUD & WEESE, PC
                                 5015 Grand Ridge Drive, Suite 100
                                 West Des Moines, Iowa 50265
                                 Telephone: (515) 223-4567
                                 Facsimile: (515) 2223-8887
                                 jbgoplerud@sagwlaw.com
                                 marty@sagwlaw.com

  Any replies to any objections or comments shall be filed and served upon any objector or

  commenter no later than ____________________, 2020 [ seven (7) days before Final Fairness

  Hearing].

         14.     Attendance at the Fairness Hearing is not necessary. However, persons wishing to

  be heard orally with respect to the approval of the Settlement, the Plan of Allocation, and/or any




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  request by Class Counsel and Additional Plaintiff’s Counsel for an Attorney’s Fees and Expense

  Award or Service Award, are required to indicate in their written comments or objections their

  intention to appear at the Fairness Hearing. Persons who intend to object to the Settlement, the

  Plan of Allocation, and/or any request by Class Counsel for an award of attorneys’ fees and

  reimbursement of litigation expenses, and desire to present evidence at the Fairness Hearing, must

  include in their written objections the identity of any witnesses they may call to testify and exhibits

  they intend to introduce into evidence at the Fairness Hearing. Class Members do not need to

  appear at the hearing or take any action to indicate their approval.

           15.   Any person or entity who fails to object in the time and manner provided above

  shall be deemed to have waived such objection (including the right to appeal), and absent good

  cause found by the Court, shall forever be barred from making any such objection in the Class

  Action or any other action or proceeding or otherwise contesting any aspect of the Settlement, but

  shall otherwise be bound by the Final Order and Judgment to be entered and the releases to be

  given.

                 16.     Each Settlement Class Member will be bound by all determinations and

  judgments in this Action, whether favorable or unfavorable, unless such person or entity mails or

  delivers a written request for exclusion from the Settlement Class, addressed to Paulson v. Two

  Rivers Settlement, EXCLUSIONS, c/o Strategic Claims Services, 600 N. Jackson St., Ste. 205,

  P.O. Box 230, Media, PA 19063, Fax (610) 565-7985 pursuant to the procedure set forth in the

  Class Notice. The request for exclusion must be received no later than _____________, 2020 (the

  “Exclusion Deadline”). Class Members will not be able to exclude themselves from the Settlement

  Class after the Exclusion Deadline.




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         17.     All parties are hereby notified that Final Approval would result in the dismissal,

  with prejudice, of all claims in the Class Action as defined in the Settlement Agreement.

         18.     This Order, the Settlement Agreement, and any negotiations, discussions, or

  proceedings in connection with this Settlement shall not be offered or received against Defendants

  as evidence of, or deemed to be any admission or confession by Defendants, of the truth of any of

  the claims, allegations, facts, subjects, or issues that were or could have been set forth or raised in

  the Class Action.

                  SO ORDERED this ____ day of ___________, 2020.



                                         __________________________
                                         Philip A. Brimmer
                                         Chief United States District Judge




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                               EXHIBIT B
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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF COLORADO


  JOHN PAULSON,                            )       Civil Action No. 19-cv-02639-PAB-NYW
  Individually and on Behalf of all Others )
  Similarly Situated,                      )
                                           )
                              Plaintiff    )
                                           )
         v.                                )
                                           )
  TWO RIVERS WATER AND                     )
  FARMING COMPANY, JOHN R.                 )
  MCKOWEN, WAYNE HARDING and )
  TIMOTHY BEALL,                           )
                                           )
  Defendants                               )
                                           )

        NOTICE OF PENDENCY OF CLASS ACTION, PROPOSED CLASS ACTION
          DETERMINATION, PROPOSED SETTLEMENT OF CLASS ACTION,
                   FAIRNESS HEARING AND RIGHT TO APPEAR

  TO:     ALL PERSONS OR ENTITIES THAT CURRENTLY HOLD CLAIMS BASED ON
          SECURITIES OF GROWCO, INC. (“GROWCO”), AND PURCHASED OR
          OTHERWISE ACQUIRED THE SECURITIES THROUGH THE OFFERINGS
          LISTED BELOW DURING THE TIME PERIOD BEGINNING OCTOBER 2014
          THROUGH DECEMBER 2017 AND SUFFERED ALLEGED LOSSES:


   Name                      Type        Approximate            Date Range
                                         Amount Raised
   GrowCo Partners 1, LLC    Equity                $3,349,151          December 2014-January 2015

   $4 Million Note           Debt                  $4,000,000          March 2015-September 2015

   GCP Super Units LLC       Equity                $5,297,157                July 2015-October 2017

   $1.5 Million Note         Debt                   $100,000                             April 2016

   $6 Million Note           Debt                  $6,000,000                 March 2016-July 2016

   $7 Million Note           Debt                  $2,977,000           January 2016- January 2017

   $2 Million Note           Debt                  $1,080,000        February 2017-September 2017

   $2 Million Note           Debt                   $440,000                             June 2017




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       PLEASE READ THIS NOTICE CAREFULLY AND IN ITS ENTIRETY. YOUR
       RIGHTS MAY BE AFFECTED BY THE LEGAL PROCEEDINGS IN THIS
       ACTION. IF THE COURT APPROVES THE PROPOSED SETTLEMENT, YOU
       WILL BE FOREVER BARRED FROM CONTESTING THE FAIRNESS,
       REASONABLENESS OR ADEQUACY OF THE PROPOSED SETTLEMENT OR
       PURSUING THE RELEASED CLAIMS AND UNKNOWN CLAIMS (AS DEFINED
       HEREIN).

  I.     THE PURPOSE OF THIS NOTICE

          The purpose of this Notice is to inform you of the existence of the above-captioned class
  action (the “Class Action” or “Action”) brought by Plaintiff John Paulson (“Plaintiff”) against
  Two Rivers Water and Farming Company (“Two Rivers”), John R. McKowen (“McKowen”),
  Wayne Harding (“Harding”) and Timothy Beall (“Beall”) (collectively, “Defendants”), and its
  proposed settlement (the “Settlement”).

          This Notice also informs you of the Court’s preliminary certification of a Class (as defined
  below in this Section) for purposes of the Settlement, and of your right to participate in a hearing
  (the “Fairness Hearing”) to be held on ____________ 2020 at ____ m. before the Honorable Philip
  Brimmer, Chief Judge of the U.S. District Court for the District of North Colorado, Courtroom
  A701, Alfred A. Arraj United States Courthouse, 901 19th Street, Denver, CO 80294-3589 to: (a)
  determine whether the Settlement should be finally approved by the Court as fair, reasonable and
  adequate and in the best interests of Plaintiff and the Class; (b) determine whether a Final Order
  should be entered dismissing the Class Action with prejudice against the Defendants and
  effectuating the releases described below; (c) consider any request by Plaintiff’s counsel for an
  award of attorneys’ fees and out-of-pocket expenses, and a Service Award to the Representative
  Plaintiff; (d) hear and determine any objections to the Settlement or to any request by Plaintiff’s
  counsel for an award of attorneys’ fees and reimbursement of out-of-pocket expenses (“Attorneys’
  Fees and Expenses Award” and service award to the Representative Plaintiff (“Service Award”);
  and (e) rule on such other matters as the Court may deem appropriate.
          The Court has determined that the Class Action shall be preliminarily certified as a class
  action under Rule 23 of the Federal Rules of Civil Procedure, for settlement purposes only, on
  behalf of all persons or entities who currently hold claims based on the GrowCo Securities and
  who purchased or otherwise acquired the securities through the Offerings identified above during
  the time period beginning on October 2014 through December 2017 and suffered Alleged Losses.
  This Notice describes the rights you may have under the Settlement and what steps you may, but
  are not required to, take in relation to the Settlement. If the Court approves the Settlement, Plaintiff
  and the Defendants in the Class Action (the “Parties”) will ask the Court to enter a Final Order
  dismissing the Class Action with prejudice on the merits.
  THE FOLLOWING RECITATION DOES NOT CONSTITUTE FINDINGS OF THE
  COURT. IT IS BASED ON STATEMENTS OF THE PARTIES AND SHOULD NOT BE
  UNDERSTOOD AS AN EXPRESSION OF ANY OPINION OF THE COURT AS TO THE


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  MERITS OF ANY OF THE CLAIMS OR DEFENSES RAISED BY ANY OF THE
  PARTIES.
  II.    BACKGROUND OF THE ACTION

           The Class Action was initiated by named Plaintiff John Paulson on August 13, 2019, with
  the filing of a class action complaint against Defendants Two Rivers, McKowen, Harding, and
  Beall, arising out of Paulson’s purchase of securities in GrowCo, a Colorado corporation formed
  in 2014. GrowCo is currently in bankruptcy and is not a party to this Action. Plaintiff’s Amended
  Complaint alleges that Defendants acted as control persons; sold and promoted GrowCo securities
  to Plaintiff and the class while omitting information that was material to investors about Defendant
  McKowen’s background; and permitted Two Rivers’ use of the proceeds of the sales. It asserts
  claims against Defendants under the Colorado Securities Act, 11-51-101 et. seq., and Colorado
  common law arising out of the Defendants’ conduct in connection with those sales and use of the
  proceeds. Defendants deny Plaintiff’s allegations of wrongdoing and liability.

  III.   SUMMARY OF SETTLEMENT TERMS

          Defendants’ insurer will pay $1.5 million in cash (the “Settlement Fund”) to resolve the
  claims of Plaintiff and the Class. The Settlement Class and each member of the Class is limited
  solely to the Settlement Fund for the satisfaction of all Released Claims against all Released Parties
  (as provided more fully in the Settlement Agreement).

          The Settlement Fund shall be applied as follows: (1) to pay counsel’s Attorneys’ Fees and
  Expenses Award, and the Service Award to the Representative Plaintiff to the extent allowed by
  the Court; (2) to pay the costs and expenses reasonably incurred in connection with providing
  Notice, locating Settlement Class Members, assisting with the filing of claims, administering and
  distributing the Net Cash Settlement Amount to Authorized Claimants, processing claim forms,
  and paying escrow fees and costs, if any; (3) to pay any taxes and tax expense; and (4) to distribute
  the balance of the Settlement Fund (the “Net Cash Settlement Amount”) to Authorized Claimants
  as allowed by the Plan of Allocation, or order of the Court.

         Authorized Claimant means a Class Member whose claim for recovery of losses has been
  found to be timely and valid under the terms of the Settlement Agreement.

  IV.    PLAN OF ALLOCATION

         Under a proposed Plan of Allocation, the Claims Administrator will first calculate each
  Authorized Claimant’s Alleged Loss.

       The Alleged Loss shall mean the principal amount each Authorized Claimant paid for the
  GrowCo securities.

          The Claims Administrator will then calculate each Authorized Claimant’s recovery under
  the Settlement by multiplying the Net Cash Settlement Amount by a fraction, (a) the numerator of
  which is the Class Member’s Alleged Loss and (b) the denominator of which is the sum of each
  and every claiming Class Member’s Alleged Loss.


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          The Plan is not a part of or a condition of approval of the Settlement. Under the Agreement,
  the Net Settlement Fund may be distributed in accordance with the proposed Plan or such other
  plan as the Court may approve.

  V.      REASONS FOR THE SETTLEMENT

          This Action was aggressively litigated from the onset. Plaintiff filed his initial complaint
  in Colorado state court setting out detailed facts as to Defendants’ alleged wrongdoing. The Action
  was later removed to this Court by Mr. McKowen. Thereafter, the Court held an initial scheduling
  conference during which it set a schedule for the Action. Mr. McKowen then moved the Court to
  stay the Class Action pending the outcome of GrowCo’s bankruptcy proceedings, which the Court
  denied. Separately, GrowCo initiated an adversary proceeding against Mr. Paulson in the
  bankruptcy court and filed a motion for a temporary restraining order (“TRO”) and preliminary
  injunction asking the bankruptcy court to stop the Class Action. Plaintiff successfully opposed the
  motion to stay in this Court and was required to appear in the bankruptcy court to oppose the
  adversary proceeding, and to appear at an evidentiary hearing on GrowCo’s request for a TRO and
  injunction, upon which Paulson prevailed.

         Plaintiff subsequently filed an amended complaint (the “Amended Complaint”) alleging
  additional facts and legal claims. Mr. McKowen moved to dismiss the Complaint and Plaintiff
  opposed that motion. Mr. McKowen’s motion to dismiss was fully briefed and pending before the
  Court when the Parties reached the proposed Settlement.

          The Parties engaged in discovery, which included Plaintiff serving requests for production
  of documents, interrogatories, and requests for admissions on each of the Defendants, and
  document subpoenas on numerous third parties. Plaintiff reviewed and analyzed numerous
  documents produced by Defendants McKowen and Beall, and from other sources. Plaintiff also
  obtained a clerk’s default against Defendant Beall. Mr. Beall then moved to set aside the clerk’s
  default against him and moved to dismiss the Amended Complaint.

          Plaintiff’s counsel have conducted a thorough investigation of the claims and allegations
  asserted in the Class Action before reaching an agreement in principle on a Settlement. In addition,
  the Settlement was the product of extensive arms-length negotiations conducted with the assistance
  of the Judge William Meyer of the Judicial Arbiter Group, Inc. serving as mediator. In evaluating
  the Settlement, Plaintiff and his counsel have considered: (a) the substantial benefits to the
  members of the Class from the Settlement; (b) the facts developed during Plaintiff’s investigation
  and discovery; (c) the attendant risks of continued litigation and the uncertainty of the outcome of
  the Class Action; (d) the probability of success on the merits; (e) the availability of sufficient assets
  to fund a Settlement; and (f) the conclusion of Plaintiff’s counsel that the terms and conditions of
  the Settlement are fair, reasonable, adequate and in the best interests of Plaintiff and the Class.
          Each of the Defendants has denied, and continues to deny, that he or it committed any
  violation of the securities laws or any other law, or engaged in any of the wrongful acts alleged in
  the Class Action, and expressly maintains that he or it is entering into the Settlement solely to
  eliminate the burden, expense, distraction and uncertainties inherent in further litigation.


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          Plaintiff has stated, and continues to state, that he brought his claims in good faith, that he
  believes that his claims had substantial merit at all relevant times, and that he is agreeing to the
  terms of the Settlement only because he believes that the Settlement provides a substantial benefit
  to the Class and has concluded that the terms of the Settlement are fair, reasonable and adequate
  and in the best interests of the Class.

          The $1.5 million Settlement Fund provides a substantial and immediate benefit to the Class.
  Although Class Counsel believes it will likely be able to prove merit to the claims asserted in the
  case, there is a substantial risk that Class Members would not be able to recover anything at all if
  the case were not settled. GrowCo is currently in bankruptcy and Two Rivers lacks substantial
  assets. Plaintiff would need to look to the personal assets of the individual Defendants for a
  recovery if the Settlement was not reached, making a substantial recovery directly from Two
  Rivers and/or its principals beyond any available insurance coverage questionable at best. To that
  end, Defendants have a single insurance policy that covers the claims asserted up to $2,000,000,
  which amount is reduced by the costs of defense. The $1,500,000 Settlement Fund represents
  substantially all of the remaining insurance coverage net of defense costs to date. In considering
  whether to settle, the Plaintiff considered the fact that if he persisted with the Action, the amount
  of insurance coverage available to satisfy a judgment would be substantially less than the
  Settlement Fund. In other words, as defense costs would continue to mount, each additional dollar
  spent on defending the Action would represent one less dollar available for a settlement. Finally,
  if the case were to continue to be litigated, the Class would still need to overcome various legal
  defenses in order to survive any dispositive motions or recover at trial.

  VI.    RELEASES

         Under the terms of the Settlement, Plaintiff and the Class Members (“Releasors”) agree to
  the complete discharge, dismissal with prejudice, settlement and release of the Releasees.

          “Releasor” means each and every one of, and “Releasors” means all of (i) the
  Representative Plaintiff, (ii) all other Class Members, (iii) their respective past or present parents,
  predecessors, successors, current and former affiliates, divisions, business units, joint ventures,
  subsidiaries, assigns, any entities in which any Releasor has or had a controlling interest or that
  has or had a controlling interest in him, her, or it, and any other person or entity (including any
  governmental entity) claiming by or through, on behalf of, for the benefit of, derivatively for, or
  as representative of Representative Plaintiff or any other Class Member and (iv) their respective
  past and present officers, directors, employees, officials, members, partners, and attorneys.

          The “Releasees” include each and every one of (i) the Defendants and their attorneys in the
  Class Action; (ii) the following past and present officers, directors, managers, attorneys, and/or
  employees of Two Rivers and GrowCo for securities purchased at the time or after they were
  officers or directors: Gus Blass III, Christopher Bragg, Gregg Campbell, Dennis Channer, James
  Cochran, Wayne Harding, Michael Harnish, John McKowen, Samuel Morris, John Stroh II,
  Rockey Joe Wells, Bradley Walker and T. Keith Wiggins. GrowCo’s officer and directors during
  the Class Period were: Timothy Beall (however, Mr. Beall contends he was not an officer or
  director of GrowCo), Kirsty Cameron, Wayne Harding, Chad Kirby, Jan McCaffrey, John R.



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  McKowen, Joseph McKowen, Laura McKowen, I. Wistar Morris, Jeff Ploen and Aaron
  VanWingerden; and (iii) non-Defendants GrowCo, GrowCo Partners 1, LLC, GrowCo Partners 2,
  LLC, GCP Super Units, LLC, McGrow LLC, and TR Capital Partners, LLC.

          “Released Claims” as defined in the Settlement Agreement means any and all Claims of or
  by the Releasors, as against the Releasees, and any and all Claims of or by the Defendants as
  against the Releasors, that were asserted, could have been asserted, or could in the future be
  asserted, arising from, based on, or relating to allegations in the Class Action. The term “Released
  Claims” does not include any claims for collection of any amounts due under the GrowCo
  securities pursuant to the terms of the securities, including claims in the event of a GrowCo
  liquidation, including in the GrowCo Bankruptcy Action.

           If the Settlement is finally approved, Plaintiff and each Class Member on behalf of
  themselves and their other Releasors, for good and sufficient consideration, and all Releasors shall
  be deemed to have, and by operation of law and of the Order Approving Settlement shall have,
  fully, finally, and forever released, relinquished, settled, and discharged:

                 a.      all Released Claims;

                 b.     all Claims, damages, and liabilities against each and every one of the
  Releasees to the extent that any such Claims, damages, or liability relate in any way to any or all
  acts, omissions, nondisclosures, facts, matters, transactions, occurrences, or oral or written
  statements or representations in connection with, or directly or indirectly relating to (i) the
  prosecution, defense, or Settlement of the Class Action, (ii) the Settlement Agreement, (iii) the
  Settlement terms and their implementation, (iv) the provision of Notice in connection with the
  proposed Settlement, and/or (v) the resolution of any Claim Forms filed in connection with the
  Settlement; and

                 c.      all Claims against any of the Releasees for attorneys’ fees, costs, or
  disbursements incurred by Plaintiff’s counsel, the settlement of the Class Action, or the
  administration of the Settlement, except as otherwise specified in the Settlement Agreement.

         The Settlement Agreement further provides that:

             •   The Settling Parties agree and acknowledge that this Settlement Agreement is
                 intended to resolve and satisfy any and all claims that the Releasors have made or
                 could have made against any of the Releasees arising out of the issuance or sale of
                 GrowCo securities. The Parties agree and acknowledge that they shall seek as part
                 of the Final Order Approving Settlement an order prohibiting further lawsuits and
                 claims against the Defendants arising out of the issuance and sale of GrowCo
                 securities which the Parties intend to operate as a complete bar to any lawsuits or
                 claims against the Defendants arising out of the issuance or sale of GrowCo
                 securities (the “Complete Bar Order”). The Complete Bar Order will not bar claims
                 for collection of any amounts due under the GrowCo securities pursuant to the
                 terms of the securities, including claims in the event of a GrowCo liquidation




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                     including in the GrowCo Bankruptcy Action.

              •      The Releasors and each of them agree and covenant not to sue or prosecute, institute
                     or cooperate in the institution, commencement, filing, or prosecution of any suit or
                     proceeding in any forum based upon or related to any Released Claims against any
                     Releasee.

  VII.    CLASS ACTION DETERMINATION
         The Court has ordered that the Class Action shall be preliminarily certified as a class action
  for purposes of the Settlement only, pursuant to Rule 23 of the Federal Rules of Civil Procedure,
  on behalf of the following Class:

          All persons or entities who currently hold claims based on Securities of GrowCo,
          and who purchased or otherwise acquired the securities through Offerings listed
          below, during the time period beginning October 2014 through December 2017 (the
          “Class Period”), and suffered Alleged Losses. For the avoidance of doubt, persons
          or entities who purchased or otherwise acquired the securities during the Class
          Period and who have assigned the securities to VitaNova Partners, LLC are not
          excluded as Class Members by virtue of such assignment:
   Name                             Type         Approximate           Date Range
                                                 Amount Raised

   GrowCo Partners 1, LLC           Equity                $3,349,151           December 2014-January 2015

   $4 Million Note                  Debt                  $4,000,000           March 2015-September 2015

   GCP Super Units LLC              Equity                $5,297,157                July 2015-October 2017

   $1.5 Million Note                Debt                    $100,000                            April 2016

   $6 Million Note                  Debt                  $6,000,000                 March 2016-July 2016

   $7 Million Note                  Debt                  $2,977,000            January 2016- January 2017

   $2 Million Note                  Debt                  $1,080,000         February 2017-September 2017
   $2 Million Note                  Debt                    $440,000                            June 2017


          Excluded from the Class are (1) the Defendants; (2) the officers and directors of Two
  Rivers and GrowCo during the Class Period as set forth in Exhibit E to the Settlement Agreement
  for securities purchased at the time or after they were officers or directors; (3) any judge or judicial
  officer who may hear any aspect of this Class Action and his or her law clerks; and (4) except as
  provided in clause (2) of this paragraph above, all persons or entities released in the Settlement.
  Also excluded from the Settlement Class are the persons and/or entities who validly request
  exclusion from the Settlement Class within the time period set forth herein.

         At the Fairness Hearing, the Court will consider, among other things, whether the Class
  should be certified permanently.



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  VIII. THE FAIRNESS HEARING
          The Court has scheduled the Fairness Hearing to be held __________________ at the time
  identified in Section I above to determine: (a) whether the Court should finally approve the
  Settlement as fair, reasonable and adequate to the Class; (b) whether to enter an order dismissing
  the Class Action with prejudice and extinguishing and releasing the Released Claims; (c) whether
  the Class should be permanently certified pursuant to Rule 23 or the Federal Rules of Civil
  Procedure; (d) whether the Court should permanently certify Plaintiff as the Class Representative
  in the Class Action, and attorneys and law firms Paul Scarlato and Alan Rosca of Goldman Scarlato
  & Penny, P.C., and J. Barton Goplerud and Brian Marty of Shindler, Anderson, Goplerud &
  Weese, P.C. as Class Counsel, and Steve Miller of Steve A. Miller, P.C. as Additional Plaintiff’s
  Counsel in the Class Action; (e) if the Court approves the Settlement, whether the Court should
  grant Plaintiff’s application for an Attorneys’ Fees and Expenses Award; (f) whether to grant Class
  Counsel’s application for a Service Award for the Plaintiff and reimbursement of the Plaintiff’s
  expenses, and (g) to consider such other matters as may properly come before the Court.

          The Court may postpone, reschedule or adjourn the Fairness Hearing without further notice
  to the Class other than by filing a notice on the docket in the Class Action in advance of the Fairness
  Hearing, or by making an announcement at the Fairness Hearing or any adjournment thereof. The
  Court also has reserved the right to approve the Settlement at or after the Fairness Hearing with
  such modification(s) as may be consented to by the Parties and without further notice to the Class.

  IX.    YOUR RIGHT TO APPEAR AND OBJECT
          Any Member of the Class who objects to any aspect of the Settlement, certification of the
  Class, entry of the Final Order, and/or Plaintiff’s counsel’s application for payment of attorneys’
  fees and expenses, and for a Service Award, or who otherwise wishes to be heard, may appear in
  person by his, her or its attorney at the Fairness Hearing and present evidence or argument that
  may be proper and relevant; provided, however, that, except for good cause shown, no person shall
  be heard or entitled to contest the approval of the terms and conditions of the Settlement, or, if
  approved, the order to be entered thereon, and no papers or briefs submitted by any member of the
  Class or any other person shall be received and considered by the Court, unless, not later than [14
  days before Fairness Hearing]. Any such objections, and comments must be in writing and filed
  with the Clerk of the Court and served on the counsel at the addresses listed below no later than
  fourteen (14) days before the Final Fairness Hearing. Such objections must include the following:
  (a) proof that such person or entity currently holds claims based on the GrowCo Securities and
  purchased or otherwise acquired the securities through any of the Offerings during the Class Period
  of October 2014 through December 2017 and suffered Alleged Losses; (b) written notice of the
  person’s intention to appear; (c) a detailed statement of the objections and the reasons for desiring
  to appear and to be heard; and (d) a detailed statement of all of the grounds for such objections, as
  well as all documents or writings which the person desires the Court to consider.

         The foregoing information concerning any objections should be filed not later than [14
  days before Fairness Hearing] with:

                                 Clerk of the Court
                                 United States District Court


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                                Alfred A. Arraj United States Courthouse, Room A105,
                                901 19th Street, Denver, CO 80294-3589

         Copies of such objections must be served not later than [14 days before Fairness Hearing]
  on:

                                Paul Scarlato
                                Alan Rosca
                                GOLDMAN SCARLATO & PENNY, P.C.
                                161 WASHINGTON STREET, SUITE 1025
                                CONSHOHOCKEN, PA 19428
                                EMAIL: ROSCA@LAWGSP.COM
                                       SCARLATO@LAWGSP.COM

                                J. Barton Goplerud
                                Brian Marty
                                SHINDLER, ANDERSON, GOPLERUD & WEESE, PC
                                5015 Grand Ridge Drive, Suite 100
                                West Des Moines, Iowa 50265
                                Telephone: (515) 223-4567
                                Facsimile: (515) 2223-8887
                                E-Mail: jbgoplerud@sagwlaw.com
                                        marty@sagwlaw.com

          Any person or entity who fails to object in the manner provided above shall be deemed to
  have waived such objection (including the right to appeal), and absent good cause found by the
  Court shall forever be barred from making any such objection in the Class Action or any other
  action or proceeding or otherwise contesting any aspect of the Settlement, but shall otherwise be
  bound by the Final Order to be entered and the releases to be given.

  X.     YOUR RIGHT TO EXCLUDE YOURSELF FROM THE CLASS

          Each Settlement Class Member will be bound by all determinations and judgments in this
  Action, whether favorable or unfavorable, unless such person or entity mails or delivers a written
  request for exclusion from the Settlement Class, addressed to Paulson v. Two Rivers Settlement,
  EXCLUSIONS, c/o Strategic Claims Services, 600 N. Jackson St., Ste. 205, P.O. Box 230, Media,
  PA 19063, Fax: (610) 565-7985. The request for exclusion must be received no later than
  _____________, 2020 (the “Exclusion Deadline”). You will not be able to exclude yourself from
  the Settlement Class after the Exclusion Deadline. Each Request for Exclusion must (a) state the
  name, address and telephone number of the person or entity requesting exclusion, and in the case
  of entities the name and telephone number of the appropriate contact person; (b) state that such
  person or entity “requests exclusion from the Settlement Class in Paulson v. Two Rivers
  Settlement, Civil Action No. 19-cv-02639”; (c) identify and state each and every purchase of
  GrowCo securities in the Offerings during the period from October 2014 through December 2017,
  as well as the type of security and the investment amount. A Request for Exclusion shall not be




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  valid and effective unless it provides all the information called for in this paragraph and is received
  within the time stated above, or is otherwise accepted by the Court.

         If you do not want to be part of the Settlement Class, you must follow these instructions
  for exclusion even if you have pending, or later file, another lawsuit, arbitration, or other
  proceeding relating to any of the Released Claims against any of the Releasees.

        If you ask to be excluded from the Settlement Class, you will not be eligible to receive any
  payment out of the Net Cash Settlement Amount with respect to the Settlement Class.

          Defendants have the right to terminate the Settlement if valid requests for exclusion are
  received from persons and entities entitled to be members of the Settlement Class in an amount
  that exceeds an amount agreed to by Plaintiff and Defendants.


  XI.    FINAL ORDER OF THE COURT

          If the Settlement is approved by the Court following the Fairness Hearing as fair,
  reasonable and adequate, the Parties will jointly request that the Court enter a Final Order which
  will, among other things: (a) certify the Class Action as a class action pursuant to Rule 23(b)(3) of
  the Federal Rules of Civil Procedure on behalf of the Class; (b) determine that the requirements of
  the Federal Rules of Civil Procedure and due process have been satisfied in connection with the
  Notice provided to the Class; (c) certify Plaintiff as Class Representative and Class Counsel and
  Additional Plaintiff’s Counsel in the Class Action; (d) approve the Settlement as fair, reasonable
  and adequate to the Class; (e) vacate the Clerk’s default against Defendant Beall; and (f) dismiss
  the Class Action with prejudice on the merits, as against any and all Defendants, without costs
  except as herein provided, (g) release Defendants and other Releasees from the Released Claims,
  and (h) enter a “Complete Bar Order” prohibiting further lawsuits and claims against the
  Defendants arising out of the issuance and sale of GrowCo securities.

  XII.   THE APPLICATION FOR ATTORNEYS’ FEES AND EXPENSES

          Plaintiff intends to petition the Court at the Final Fairness Hearing for an award of
  attorneys’ fees in an amount not to exceed 331/3% of the Settlement Fund, and for reimbursement
  of costs and expenses advanced by Plaintiff’s counsel not to exceed $10,000, and for a Service
  Award to the Representative Plaintiff in the amount of $5,000, and for reimbursement of his
  expenses not to exceed $100. Final resolution by the Court of the fee application shall not be a
  precondition to the dismissal of the Class Action in connection with any final approval of the
  Settlement, and the fee application may be considered separately from the terms of the proposed
  Settlement of the Class Action.

  XIII. SCOPE OF THIS NOTICE

         This Notice is not all-inclusive. The references in this Notice to the pleadings in the Class
  Action, the Settlement Agreement and all other papers or proceedings herein are only summaries
  and do not purport to be comprehensive. For the full details of the Class Action, the claims that



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  have been asserted in the Class Action and the terms and conditions of the Settlement, including a
  complete copy of the Settlement Agreement and related Orders and proposed forms of Orders, you
  are referred to the Court file for the Class Action.

  XIV. GENERAL INQUIRIES

          General inquiries about the Settlement should be directed to the attention of Class Counsel
  as follows:

                                Paul Scarlato
                                Alan Rosca
                                GOLDMAN SCARLATO & PENNY, P.C.
                                161 WASHINGTON STREET, SUITE 1025
                                CONSHOHOCKEN, PA 19428
                                EMAIL: ROSCA@LAWGSP.COM
                                       SCARLATO@LAWGSP.COM

                                J. Barton Goplerud
                                Brian Marty
                                SHINDLER, ANDERSON, GOPLERUD & WEESE, PC
                                5015 Grand Ridge Drive, Suite 100
                                West Des Moines, Iowa 50265
                                Telephone: (515) 223-4567
                                Facsimile: (515) 2223-8887
                                E-Mail: jbgoplerud@sagwlaw.com
                                        marty@sagwlaw.com

  PLEASE DO NOT CALL OR WRITE THE COURT WITH GENERAL INQUIRIES.




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                               EXHIBIT C
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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF COLORADO


JOHN PAULSON,                            )    Civil Action No. 19-cv-02639-PAB-NYW
Individually and on Behalf of all Others )
Similarly Situated,                      )
                                         )
                            Plaintiff    )
                                         )
       v.                                )
                                         )
TWO RIVERS WATER AND                     )
FARMING COMPANY, JOHN R.                 )
MCKOWEN, WAYNE HARDING and )
TIMOTHY BEALL,                           )
                                         )
Defendants                               )
                                         )

                             PROOF OF CLAIM AND RELEASE


Deadline for Submission: _______________________


IF 1) YOU CURRENTLY HOLD CLAIMS BASED ON SECURITIES OF GROWCO, INC.
(“GROWCO”), AND 2) PURCHASED OR OTHERWISE ACQUIRED THE SECURITIES THROUGH
THE OFFERINGS LISTED BELOW DURING THE CLASS PERIOD BEGINNING OCTOBER 2014
THROUGH DECEMBER 2017, AND 3) SUFFERED LOSSES, YOU MAY BE A CLASS MEMBER
AND YOU MAY BE ENTITLED TO SHARE IN THE SETTLEMENT PROCEEDS. FOR THE
AVOIDANCE OF DOUBT, PERSONS OR ENTITIES WHO PURCHASED OR OTHERWISE
ACQUIRED THE SECURITIES DURING THE CLASS PERIOD AND WHO HAVE ASSIGNED THE
SECURITIES TO VITANOVA PARTNERS, LLC ARE NOT EXCLUDED AS CLASS MEMBERS BY
VIRTUE OF SUCH ASSIGNMENT:

THE GROWCO OFFERINGS SUBJECT TO THIS SETTLEMENT ARE:

 Name                      Type        Approximate       Date Range
                                       Amount Raised
GrowCo Partners 1, LLC     Equity           $3,349,151    December 2014-January 2015
$4 Million Note            Debt             $4,000,000     March 2015-September 2015
GCP Super Units LLC        Equity           $5,297,157          July 2015-October 2017
$1.5 Million Note          Debt               $100,000                      April 2016
$6 Million Note            Debt             $6,000,000           March 2016-July 2016
$7 Million Note            Debt             $2,977,000      January 2016- January 2017
$2 Million Note            Debt             $1,080,000   February 2017-September 2017
$2 Million Note            Debt               $440,000                       June 2017
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YOU MUST COMPLETE AND SUBMIT THIS PROOF OF CLAIM AND RELEASE FORM (“CLAIM
FORM”) IN ORDER TO BE ELIGIBLE FOR ANY SETTLEMENT BENEFITS.

YOU MUST COMPLETE AND SIGN THIS CLAIM FORM AND MAIL IT BY FIRST CLASS MAIL,
POSTMARKED NO LATER THAN ________________________ TO THE CLAIMS
ADMINISTRATOR, AT THE FOLLOWING ADDRESS:

                                        Paulson v. Two Rivers Settlement
                                         c/o Strategic Claims Services
                                                 P.O. Box 230
                                        600 N. Jackson Street, Suite 205
                                               Media, PA 19063
                                              Fax: (610) 565-7985
                                        Email: info@strategicclaims.net

FAILURE TO SUBMIT YOUR POSTMARKED CLAIM FORM BY _______________ WILL
SUBJECT YOUR CLAIM TO REJECTION AND MAY PRECLUDE RECEIPT OF ANY MONEY IN
CONNECTION WITH THE SETTLEMENT OF THIS ACTION. DO NOT MAIL OR DELIVER YOUR
CLAIM FORM TO THE COURT OR TO ANY OF THE PARTIES OR THEIR COUNSEL AS ANY
SUCH CLAIM WILL BE DEEMED NOT TO HAVE BEEN SUBMITTED. SUBMIT YOUR CLAIM
FORM ONLY TO THE CLAIMS ADMINISTRATOR.

                                    CLAIMANT’S STATEMENT

1. I (we) purchased or otherwise acquired securities of GrowCo in one or more of the Offerings listed
   above during the Class Period and suffered losses. (Do not submit this Claim Form if you did not
   purchase GrowCo securities in the Offerings and during the designated Class Period described above).

2. By submitting this Claim Form, I (we) state that I (we) believe in good faith that I am (we are) a Class
   Member as defined above and in the Notice Of Pendency Of Class Action, Proposed Class Action
   Determination, Proposed Settlement Of Class Action, Fairness Hearing And Right To Appear (the
   “Notice”), or am (are) acting for such person(s); that I am (we are) not a Defendant in the Class Action
   or anyone excluded from the Class, as defined in the Notice; that I (we) have read and understand the
   Notice; that I (we) believe that I am (we are) entitled to receive a share of the Net Cash Settlement
   Amount, as defined in the Notice; that I (we) elect to participate in the proposed Settlement described
   in the Notice; and that I (we) have not filed a request for exclusion. (If you are acting in a
   representative capacity on behalf of a Class Member [e.g., as an executor, administrator, trustee, or
   other representative], you must submit evidence of your current authority to act on behalf of that Class
   Member. Such evidence would include, for example, letters testamentary, letters of administration, or
   a copy of the trust documents.)

3. I (we) consent to the jurisdiction of the Court with respect to all questions concerning the validity of
   this Claim Form. I (we) understand and agree that my (our) claim may be subject to investigation and
   discovery under the Federal Rules of Civil Procedure, provided that such investigation and discovery
   shall be limited to my (our) status as a Class Member(s) and the validity and amount of my (our) claim.
   No discovery shall be allowed on the merits of the Litigation or Settlement in connection with
   processing of the Claim Form.
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4. I (we) have set forth where requested below all relevant information with respect to each purchase or
   acquisition of GrowCo securities in the Offering(s) during the Class Period. I (we) agree to furnish
   additional information to the Claims Administrator to support this Claim Form if requested to do so.

5. I (we) have enclosed photocopies of the documents evidencing each purchase or acquisition, or
   retention of GrowCo securities listed below in support of my (our) claim. (IF ANY SUCH
   DOCUMENTS ARE NOT IN YOUR POSSESSION, PLEASE OBTAIN A COPY OR
   EQUIVALENT DOCUMENTS BECAUSE THESE DOCUMENTS ARE NECESSARY TO
   VERIFY AND PROCESS YOUR CLAIM.)

6. I (we) understand that the information contained in this Claim Form is subject to such verification as
   the Claims Administrator may request or as the Court may direct, and I (we) agree to cooperate in any
   such verification. (The information requested herein is designed to provide the minimum amount of
   information necessary to process most simple claims. The Claims Administrator may request
   additional information as required to efficiently and reliably calculate your recognized claim. In some
   cases, the Claims Administrator may condition acceptance of the claim based upon the production of
   additional information, including.)

7. Upon the occurrence of the Court’s approval of the Settlement, as detailed in the Notice, I (we) agree
   and acknowledge that my (our) signature(s) hereto shall effect and constitute a full and complete
   release by me (us) and my (our) respective past or present parents, predecessors, successors, current
   and former affiliates, divisions, business units, joint ventures, subsidiaries, assigns, any entities in
   which I (we) have or had a controlling interest or that have or had a controlling interest in him, her, or
   it, and any other person or entity (including any governmental entity) claiming by or through, on behalf
   of, for the benefit of, derivatively for, or their respective past and present officers, directors,
   employees, officials, members, partners, and attorneys, (“Releasors”), of all Released Claims as
   defined as defined in the Settlement Agreement and Notice.
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PART I:         CLAIMANT INFORMATION
 Beneficial Owner’s Name (First, Middle, Last):




 Record Owner’s Name (if different from beneficial owner listed above):


 Address:




 City:                                                    State:                   ZIP:


 Foreign Province:                                        Foreign Country:


 Day Phone:                                               Evening Phone:


 Email:


    Social Security Number (for individuals):        OR      Taxpayer Identification Number (for estates, trusts,
                                                             corporations, etc.):



Specify one of the following:

____ IRA ____ Joint Tenancy ____ Employee ____ Individual ____ Other ________________________
(please explain)

PART IIa. SCHEDULE OF TRANSACTIONS IN GROWCO SECURITIES

Purchases:

B. Separately list each and every purchase of GrowCo securities during the period from October 2014
   through December 2017, and provide the following information (must be documented):


                                                                                                      If You Do Not Still
    Name of Offering            Type of Security          Investment       Do You Still Hold The
                                                                                                      Hold The Security,
                                  Purchased                Amount           Security? (Y or N)
                                                                                                      Describe What You
                                                                                                          Did With It
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Sales:
C. Separately list each and every sale or disposition of GrowCo securities, and provide the following
   information (must be documented):
                                                                   Amount
         Name of Offering             Type of Security Sold        Received




If additional space is needed, attach separate, numbered sheets, giving all required information,
substantially in the same format, and print your name and Social Security or Taxpayer
Identification number at the top of each sheet.

YOU MUST READ AND SIGN THE CERTIFICATION BELOW. FAILURE TO SIGN THE
CERTIFICATION MAY RESULT IN A DELAY IN PROCESSING OR REJECTION OF YOUR
CLAIM
PART III: CERTIFICATION
I (We) certify that I am (we are) NOT subject to backup withholding under the provisions of Section 3406
(a)(1)(c) of the Internal Revenue Code because: (a) I am (We are) exempt from backup withholding, or
(b) I (We) have not been notified by the I.R.S. that I am (we are) subject to backup withholding as a result
of a failure to report all interest or dividends, or (c) the I.R.S. has notified me (us) that I am (we are) no
longer subject to backup withholding.

NOTE: If you have been notified by the I.R.S. that you are subject to backup withholding, please strike
out the language that you are not subject to backup withholding in the certification above.

UNDER THE PENALTIES OF PERJURY UNDER THE LAWS OF THE UNITED STATES, I (WE)
CERTIFY THAT ALL OF THE INFORMATION I (WE) PROVIDED ON THIS PROOF OF CLAIM
AND RELEASE FORM IS TRUE, CORRECT AND COMPLETE.

                                       Signature of Claimant (If this claim is being made
                                       on behalf of Joint Claimants, then each must sign):

                                       ________________________________________
                                       (Signature)

                                       ________________________________________
                                       (Signature)

                                       ________________________________________
                                       (Capacity of person(s) signing, e.g., beneficial
                                       purchaser(s), executor, administrator, trustee, etc.)
                                          Check here if proof of authority to file is enclosed.
                                       (See Item 2 under Claimant’s Statement)
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Date: ____________________


                        ACCURATE CLAIMS PROCESSING TAKES A
                            SIGNIFICANT AMOUNT OF TIME.
                           THANK YOU FOR YOUR PATIENCE.
Reminder Checklist:
      1. Please sign and date the certification above. If this Claim Form is submitted on behalf of joint
         claimants, then both claimants must sign.
      2. Remember to attach supporting documentation, if available.
      3. DO NOT send original stock certificates.
      4. Keep a copy of everything you submit for your records, including your Claim Form.
      5. If you desire an acknowledgment of receipt of your mailed Claim Form, please send it Certified
         Mail, Return Receipt Requested.
      6. If you move after submitting this Claim Form, please notify the Claims Administrator of the
         change in your address
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                               EXHIBIT D
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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLORADO


  JOHN PAULSON,                            )           Civil Action No. 19-cv-02639-PAB-NYW
  Individually and on Behalf of all Others )
  Similarly Situated,                      )
                                           )
                              Plaintiff    )
                                           )
         v.                                )
                                           )
  TWO RIVERS WATER AND                     )
  FARMING COMPANY, JOHN R.                 )
  MCKOWEN, WAYNE HARDING and )
  TIMOTHY BEALL,                           )
                                           )
  Defendants                               )
                                           )


                                  (PROPOSED) FINAL ORDER

         WHEREAS, as of October 7, 2020, Plaintiff John Paulson (“Paulson” or “Plaintiff”), on

  one hand, and Defendants Two Rivers Water and Farming Company (“Two Rivers”), John R.

  McKowen (“McKowen”), Wayne Harding (“Harding”) and Timothy Beall (“Beall), on the other

  hand, entered into a Settlement Agreement (the “Settlement Agreement”) 1, in the above-captioned

  consolidated Class Action, which is subject to review under Rule 23 of the Federal Rules of Civil

  Procedure and which, together with the exhibits thereto, sets forth the terms and conditions of the

  proposed Settlement of the claims alleged in the Class Action on the merits and with prejudice.

         WHEREAS, pursuant to the Order (1) Preliminarily Certifying the Class for Settlement

  Purposes; (2) Granting Preliminary Approval of Settlement; and (3) Approving Class Notice, (ECF

  No. ___), entered _______ ___, 2020 (the “Preliminary Approval Order”), the Court scheduled a

  hearing on __________ 2020 (the “Fairness Hearing”) for the following purposes:

  1
   Unless otherwise stated, all capitalized terms used herein have the meanings defined in the
  Settlement Agreement.


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                 (A)     to finally determine whether the Class satisfies the applicable prerequisites

  for certification under Fed. R. Civ. P. 23(a) and 23(b)(3);

                 (B)     to finally determine whether the Settlement should be approved by the Court

  as fair, reasonable and adequate and in the best interests of the Class;

                 (C)     to determine whether a Final Order should be entered pursuant to the

  Settlement Agreement, dismissing the Class Action with prejudice as against the Defendants and

  effectuating the releases described below;

                 (D)     to determine whether the proposed Plan of Allocation of the Settlement

  Fund set forth in the Notice is fair and reasonable, and should be approved by the Court;

                 (E)     to consider any application by Class Counsel and Additional Plaintiff’s

  Counsel for an Attorneys’ Fees and Expenses Award, and for a Service Award to the

  Representative Plaintiff for efforts devoted to this Class Action and for reimbursement of his

  expenses;

                 (F)     to hear and determine any objections to the Settlement or to any request by

  Class Counsel and Additional Plaintiff’s Counsel for an Attorneys’ Fees and Expenses Award, and

  Service Award; and

                 (G)     to rule on such other matters as the Court may deem appropriate.

         WHEREAS, the Court ordered that the Class Notice be mailed by first-class mail, postage

  prepaid, on or before __________ (the “Notice Date”), to all Class Members who can be identified

  with reasonable effort by the Class Counsel and Claims Administrator.

         WHEREAS, the Class Notice advised Class Members of the date, time, place, and purpose

  of the Fairness Hearing. The Class Notice further advised that any objection to the Settlement was

  required to be filed with the Court and served on counsel on or before ___________ 2020.




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         WHEREAS, the Class Notice advised Class Members of the deadline (the “Exclusion

  Deadline”) and procedures for requesting exclusion from the Settlement Class.

         WHEREAS, the Court finds that the provisions of the Preliminary Approval Order as to

  notice were complied with.

         WHEREAS, on ________, Plaintiff moved for final approval of the Settlement (“Final

  Approval”), as directed in the Preliminary Approval Order. The Fairness Hearing was duly held

  before this Court on ___________, 2020 at which time all interested persons were afforded the

  opportunity to be heard.

         WHEREAS, this Court has duly considered Plaintiff’s motion, the affidavits, declarations,

  and memoranda of law submitted in support thereof, the Settlement Agreement, and all of the

  submissions and arguments presented with respect to the proposed Settlement.

         NOW, THEREFORE, after due deliberation, IT IS ORDERED, ADJUDGED AND

  DECREED that:

         1.      This Final Order (“Final Order”) incorporates by reference the definitions in the

  Settlement Agreement and all capitalized terms used in this Final Order that are not otherwise

  defined herein shall have the same meanings as set forth therein.

         2.      This Court has jurisdiction over the subject matter of the Class Action and over all

  parties to the Class Action, including all members of the Class.

         3.      The Court hereby re-affirms its determinations in the Preliminary Approval Order

  and finally certifies, for the purposes of the Settlement only, pursuant to Rules 23(a) and (b)(3) of

  the Federal Rules of Civil Procedure, the following Class:

         All persons or entities that currently hold claims based on the GrowCo securities
         and purchased or otherwise acquired the securities through Offerings as listed
         below, during the period of October 2014 through December 2017 (the “Class
         Period”) and suffered Alleged Losses. For avoidance of any doubt, persons or



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          entities who purchased or otherwise acquired the securities during the Class Period
          and who have assigned the securities to VitaNova Partners, LLC are not excluded
          as Class Members by virtue of such assignment.

   Name                          Type          Approximate           Date Range
                                               Amount Raised
   GrowCo Partners 1, LLC        Equity             $3,349,151         December 2014-January 2015
   $4 Million Note               Debt               $4,000,000          March 2015-September 2015
   GCP Super Units LLC           Equity             $5,297,157               July 2015-October 2017
   $1.5 Million Note             Debt                 $100,000                           April 2016
   $6 Million Note               Debt               $6,000,000                March 2016-July 2016
   $7 Million Note               Debt               $2,977,000           January 2016- January 2017
   $2 Million Note               Debt               $1,080,000        February 2017-September 2017
   $2 Million Note               Debt                 $440,000                            June 2017

          4.     Excluded from the Class are: (1) the Defendants; (2) the officers and directors of

  Two Rivers and GrowCo during the Class Period as set forth in Exhibit E to the Settlement

  Agreement for securities purchased at the time or after they were officers and directors; (3) any

  Judge or judicial officer who may hear any aspect of this Class Action and his or her law clerks;

  and (4) except as provided in clause (2) of this paragraph above, all persons or entities released in

  the Settlement. Also excluded from the Settlement Class are the persons and/or entities who

  request exclusion from the Settlement Class within the time period set by the Court in the

  Preliminary Approval Order.

          5.     The following persons or entities have validly requested exclusion from the

  Settlement Class:

          6.     Pursuant to Rule 23 of the Federal Rules of Civil Procedure, and for the purposes

  of the Settlement only, the Court hereby re-affirms its determinations in the Preliminary Approval

  Order that: (a) Plaintiff John Paulson is certified as Representative Plaintiff for the Class; and (b)

  the following attorneys and law firms as Class Counsel: Paul Scarlato and Alan Rosca of Goldman

  Scarlato & Penny, P.C.; Barton Goplerud and Brian Marty of Schindler, Anderson, Goplerud &




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  Weese, P.C.; and the following attorney and law firm as “Additional Plaintiff’s Counsel”: Steve

  Miller of Steve A. Miller, P.C.

         7.      The Class Notice provided for and given to the Class: (i) was in compliance with

  the Preliminary Approval Order; (ii) constituted the best notice practicable under the

  circumstances; (iii) constituted notice that was reasonably calculated to apprise Class Members of

  the effect of the Settlement, of the proposed Plan of Allocation, of Class Counsel’s request(s) for

  an Attorneys’ Fees and Expenses Award, and a Service Award to the Plaintiff, of Class Members’

  right to object to the Settlement, the Plan of Allocation, and/or Class Counsel’s request(s) for an

  Attorneys’ Fees and Expenses Award and a Service Award, of their right to exclude themselves

  from the Class, and of their right to appear at the Fairness Hearing; (iv) constituted due, adequate,

  and sufficient notice to all persons entitled to receive notice of the proposed Settlement; and (v)

  satisfied the notice requirements of Rule 23 of the Federal Rules of Civil Procedure, the United

  States Constitution (including the Due Process Clause), and all other applicable law and rules.

         8.      The Court is unaware of any objections to the Settlement submitted pursuant to

  Rule 23(e)(5) of the Federal Rules of Civil Procedure.

         9.      In light of the benefits to the Class, the complexity, expense and possible duration

  of further litigation of the Action, the risks of establishing liability and damages, and the costs of

  continued litigation, the Court hereby fully and finally approves the Settlement as set forth in the

  Settlement Agreement in all respects, and finds that the Settlement is, in all respects fair,

  reasonable and adequate, and in the best interests of Representative Plaintiff and Class Members.

  This Court further finds that the Settlement set forth in the Settlement Agreement is the result of

  arm’s-length negotiations between experienced counsel representing the interests of the Parties.




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  The Settlement shall be consummated in accordance with the terms and provisions of the

  Settlement Agreement.

         10.     Defendant Beall’s Unopposed Motion to Set Aside Default filed May 22, 2020

  [ECF No. 94] is granted. The Clerk’s default entered against Defendant Beall on May 5, 2020

  [ECF No. 90] is HEREBY vacated.

         11.     The Class Action is hereby dismissed in its entirety, with prejudice, and without

  costs to any party, except as otherwise provided in the Settlement Agreement.

         12.     Upon the Effective Date, Plaintiff and each and every other Class Member, on

  behalf of themselves and each of their respective heirs, executors, trustees, administrators,

  predecessors, successors, and assigns, shall be deemed to have fully, finally, and forever waived,

  released, discharged, and dismissed each and every one of the Released Claims as set forth in

  paragraph 1, subpart “cc” of the Settlement Agreement, against each and every one of the

  Releasees, as defined in paragraph 1, subpart “dd” of the Settlement Agreement, and shall forever

  be BARRED, ENJOINED AND RESTRAINED from commencing, instituting, prosecuting or

  maintaining any and all such Released Claims against any and all of the Releasees. The term

  Released Claims does not include any claims for payment of the Class Members’ securities,

  including claims in the event of a GrowCo liquidation.

         13.     Each Member of the Class is bound by this Order, including, without limitation, the

  releases of claims as set forth above.

         14.     This Order and the Settlement Agreement, whether or not consummated, and any

  discussions, negotiations, proceedings or agreements relating to the Settlement Agreement, the

  Settlement, and any matters arising in connection with settlement discussions or negotiations,

  proceedings, or agreements, shall not be offered or received against or to the prejudice of the




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  Parties, or their respective counsel, for any purpose other than in an action to enforce the terms

  hereof, and in particular:

                         (a)    do not constitute, and shall not be offered or received against or to

                 the prejudice of Defendants as evidence of, or construed as, or deemed to be

                 evidence of any presumption, concession, or admission by them with respect to the

                 truth of any allegation by Plaintiff and the Class, or the validity of any claim that

                 has been or could have been asserted in the Class Action or in any litigation,

                 including but not limited to the Released Claims, or of any liability, damages,

                 negligence, fault or wrongdoing of Defendants;

                         (b)     do not constitute, and shall not be offered or received against or to

                 the prejudice of Defendants as evidence of a presumption, concession, or admission

                 of any fault, misrepresentation, or omission with respect to any statement or written

                 document approved or made by them, or against or to the prejudice of Plaintiff or

                 any other Class Member as evidence of any infirmity in the claims of Plaintiff or

                 other Class Members;

                         (c)    do not constitute, and shall not be offered or received against or to

                 the prejudice of Defendants, Plaintiff, any other member of the Class, or their

                 respective counsel, as evidence of a presumption, concession, or admission with

                 respect to any liability, damages, negligence, fault, infirmity or wrongdoing, or in

                 any way referred to for any other reason against or to the prejudice of any of the

                 Defendants, Plaintiff, other Members of the Class, or their respective counsel, in

                 any other civil, criminal or administrative action or proceeding, other than such

                 proceedings as may be necessary to effectuate the provisions of the Settlement;




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                         (d)     do not constitute, and shall not be construed against Defendants,

                 Plaintiff, or any other Class Member, as an admission or concession that the

                 consideration to be given hereunder represents the amount which could be or would

                 have been recovered after trial; and

                         (e)     do not constitute, and shall not be construed as or received in

                 evidence as an admission, concession, or presumption against Plaintiff or any other

                 Class Member that any of their claims are without merit or infirm or that damages

                 recoverable in the Class Action would not have exceeded the Settlement Amount.

         15.     The administration of the Settlement, and the decision of all disputed questions of

  law and fact with respect to the validity of any claim or right of any Class Member to participate

  in the distribution of the Net Settlement Fund, shall remain under the authority of this Court.

         16.     In the event that the Settlement does not become effective in accordance with the

  terms of the Settlement Agreement, then this Order shall be rendered null and void to the extent

  provided by and in accordance with the Settlement Agreement and shall be vacated; and in such

  event, all orders entered and releases delivered in connection herewith shall be null and void to the

  extent provided by and in accordance with the Settlement Agreement.

         17.     Without further order of the Court, the Parties may agree to reasonable extensions

  of time to carry out any of the provisions of the Settlement Agreement as circumstances warrant.

         18.     The Parties are hereby directed to consummate the Settlement Agreement and to

  perform its terms.

         19.     A separate order shall be entered regarding Class Counsel’s application for an

  Attorneys’ Fees and Expenses Award and Service Award as allowed by the Court. Such order shall

  in no way disturb or affect this Order and shall be considered separate from this Order.




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         20.     Without affecting the finality of this Order in any way, this Court hereby retains

  continuing jurisdiction over: (i) implementation of the Settlement Agreement and Settlement; (ii)

  the allowance, disallowance or adjustment of any Class Member’s claim on equitable grounds and

  any award or distribution of the Net Cash Settlement Amount; (iii) disposition of the Net Cash

  Settlement Amount; (iv) hearing and determining applications for Attorneys’ Fees and Expenses

  Award; (v) all Parties for the purpose of construing, enforcing and administering the Settlement

  Agreement, Settlement and this Order; and (vi) other matters related or ancillary to the foregoing.

  There is no just reason for delay in the entry of this Order and immediate entry by the Clerk of the

  Court is expressly directed.

                  SO ORDERED this ____ day of ___________, 2020



                                        __________________________
                                        Philip A. Brimmer
                                        Chief United States District Judge




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                       List of Two Rivers and GrowCo Officers and Directors
                                      During the Class Period

         1.     Two Rivers represents that its officers and directors during the Class Period were:

                a. Gus Blass III
                b. Christopher Bragg
                c. Gregg Campbell
                d. Dennis Channer
                e. James Cochran
                f. Wayne Harding
                g. Michael Harnish
                h. John McKowen
                i. Samuel Morris
                j. John Stroh II
                k. Rockey Joe Wells
                l. Bradley Walker
                m. T. Keith Wiggins

         2.     John R. McKowen represents that GrowCo, Inc.’s officers and directors during the

  Class Period were:

                a. Timothy Beall (Mr. Beall contends he was not an officer and director of
                    GrowCo., but Mr. Beall is already excluded from the Class because he is a
                    Defendant in the Action)
                b. Kirsty Cameron
                c. Wayne Harding
                d. Chad Kirby
                e. Jan McCaffrey
                f. John R. McKowen
                g. Joseph McKowen
                h. Laura McKowen
                i. I. Wistar Morris
                j. Jeff Ploen
                k. Aaron Van Wingerden
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                        EXHIBIT 2
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                                                   Washington, D.C. 20549



[X]      QUARTERLY REPORT PURSUANT TO SECTION 13 OR 15(d) OF THE SECURITIES EXCHANGE ACT OF 1934

                                      For the quarterly period ended September 30, 2019

[ ]      TRANSITION REPORT PURSUANT TO SECTION 13 OR 15(d) OF THE SECURITIES EXCHANGE ACT OF 1934

                                         For the transition period from _____ to _____

                                                             000-51139
                                                        (Commission file number)



                                        (Exact name of registrant as specified in its charter)

                           Colorado                                                           XX-XXXXXXX
                    (State of Incorporation)                                       (I.R.S. Employer Identification No.)

                                       3025 S. Parker Road, Suite 140, Aurora, CO 80014
                                        (Address of principal executive offices) (Zip Code)

                                                          (303) 222-1000
                                       (Registrant’s telephone number, including area code)

                                                        Not applicable
                         (Former name, former address and former fiscal year, if changed since last report)

Indicate by check mark whether the registrant (1) has filed all reports required to be filed by Section 13 or 15(d) of the Securities
Exchange Act of 1934 during the preceding 12 months (or for such shorter period that the registrant was required to file such
reports), and (2) has been subject to such filing requirements for the past 90 days. Yes [X] No [ ]

Indicate by check mark whether the registrant has submitted electronically every Interactive Data File required to be submitted
pursuant to Rule 405 of Regulation S-T during the preceding 12 months (or for such shorter period that the registrant was required
to submit such files). Yes [X] No [ ]

Indicate by check mark whether the registrant is a large accelerated filer, an accelerated filer, a non-accelerated filer, a smaller
reporting company, or an emerging growth company. See the definitions of “large accelerated filer,” “accelerated filer,” “smaller
reporting company,” and “emerging growth company” in Rule 12b-2 of the Exchange Act.

                          Large accelerated filer [ ]                           Accelerated filer [ ]
                          Non-accelerated filer [ ]                             Smaller reporting company [X]
                                                                                Emerging growth company [X]

If an emerging growth company, indicate by the check mark if the registrant has elected not to use the extended transition period for
complying with any new or revised financial accounting standards provided pursuant to Section 13(a) of the Exchange Act. [ ]

Indicate by check mark whether the registrant is a shell company (as defined in Rule 12b-2 of the Exchange Act). Yes [ ] No [X]

Indicate the number of shares outstanding of each of the issuer’s classes of common stock, as of the latest practicable
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date:87,145,235 shares as of November 22, 2019.
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                                            PART 1 - FINANCIAL INFORMATION

                                            ITEM 1. FINANCIAL STATEMENTS

                         TWO RIVERS WATER & FARMING COMPANY AND SUBSIDIARIES
                                     Condensed Consolidated Balance Sheets
                                   (In thousands, except for number of shares)
                                                   (Unaudited)

                                                                               September 30, 2019             December 31, 2018
                                                                                  (Unaudited)                (Derived from Audit)
ASSETS:
  Current Assets:
    Cash and cash equivalents                                              $                    401      $                       6
    Accounts receivable, related party                                                           17                              0
    Deposits and other current assets                                                            63                             58
  Total Current Assets                                                                          481                             64
  Long Term Assets
    Property, equipment and software, net                                                         5                             20
    Land                                                                                      3,252                          3,299
    Water assets                                                                             24,891                         24,891
    Supply rights                                                                               480                              -
    Investment in GCP1                                                                        2,192                          2,289
    Goodwill                                                                                 14,100                              -
    Other long term assets                                                                       98                             96
  Total Long Term Assets                                                                     45,018                         30,595
TOTAL ASSETS:                                                              $                 45,499      $                  30,695

LIABILITIES & STOCKHOLDERS’ EQUITY:
  Current Liabilities:
    Accounts payable                                                       $                  1,305      $                   1,243
    Accrued liabilities                                                                       5,963                          5,780
    Current portion of notes payable, net of discount                                         9,329                          8,099
    Preferred dividend payable                                                                4,988                          4,970
  Total Current Liabilities                                                                  21,585                         20,092
    Notes payable, net of current portion                                                       868                          1,173
  Total Liabilities                                                                          22,453                         21,265
  Commitments & Contingencies (Notes 4,7,9,10)
  Stockholders’ Equity:
    Common stock, $0.001 par value, 200,000,000 shares authorized,
    83,195,939 shares issued and outstanding at September 30, 2019 and
    45,574,458 shares issued and outstanding at December 31, 2018                                   84                          46
    Preferred shares, $0.001 par value, 5,000,000 shares authorized,
    64,935 shares issued and outstanding at September 30, 2019 and
    December 31, 2018.                                                                          252                            252
    Additional paid-in capital                                                               95,942                         81,186
    Accumulated (deficit)                                                                   (95,596)                       (94,454)
  Total Two Rivers Water & Farming Company Stockholders’ Equity                                 682                        (12,970)
    Noncontrolling interest in subsidiaries                                                  22,364                         22,364
  Total Stockholders’ Equity                                                                 23,046                          9,394
TOTAL LIABILITIES & STOCKHOLDERS’ EQUITY                                   $                 45,499      $                  30,659

               The accompanying notes to consolidated financial statements are an integral part of these statements

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                         TWO RIVERS WATER & FARMING COMPANY AND SUBSIDIARIES
                                 Condensed Consolidated Statements of Operations
                                    (In thousands, except for number of shares)
                                                    (Unaudited)

                                                            Three Months Ended                       Nine Months Ended
                                                                September 30                            September 30
                                                           2019              2018                  2019              2018
Revenue:
  Sales                                               $               3     $           -    $             3     $            -
  Distribution Rights                                               100                 -                100                  -
  Land leasing                                                        -                 -                 34                  -
  Other                                                               5                 5                  8                  -
Total Revenue                                                       108                 5                145                 22
  Direct cost of revenue                                              -                 -                  -                  -
Gross Margin                                                        108                 5                145                 22
Operating Expenses
  General and administrative                                         312              661               1,149            1,838
  Dam demolition expense                                            (825)           1,800                (825)           1,800
  Depreciation and amortization                                       16               17                  48               75
     Total operating expenses                                       (497)           2,478                 372            3,713
Profit (Loss) from Operations                                        605           (2,473)               (227)          (3,691)
Other Income (Expense)
  Interest expense                                                  (390)            (217)               (918)           (736)
  Gain (loss) on disposal of assets and intangibles                    -               37                  85             114
  Loss on debt settlement                                              -                -                  33               -
  Other income                                                         1                4                   1              15
  Gain on de-consolidation of GrowCo                                   -                -                   -          12,773
  Loss on investment in GrowCo Partners 1, LLC                       (26)               -                 (98)           (617)
     Total other income (expense)                                   (415)            (176)               (897)         11,549
Net Profit (Loss) from Continuing Operations
Before Taxes                                                        190            (2,649)             (1,124)          7,858
  Income tax (provision) benefit                                      -                 -                   -               -
Net Profit (Loss) from Continuing Operations
After Taxes                                                         190            (2,649)             (1,124)          7,858
Net (Loss) from Deconsolidation and
Discontinued Operations                                                -                 -                  -               (810)
Net Profit (Loss) before Preferred Dividends and
Non-Controlling Interest                                            190            (2,649)             (1,124)           7,048
  Preferred distributions                                            (6)               (6)                (18)          (1,002)
  Net loss attributable to non-controlling interest                   -                 -                   -                -
Net Profit (Loss) Attributable to Common
Shareholders                                                        184            (2,655)             (1,142)          6,046
Profit (Loss) Per Common Share - Basic:                             0.00            (0.08)              (0.02)           0.18
Profit (Loss) Per Common Share – Basic and
Dilutive:                                                           0.00            (0.08)              (0.02)              0.16
Weighted Average Shares Outstanding:
  Basic                                                        71,006              34,256             57,057           33,529
  Dilutive                                                     85,867              34,256             57,057           37,149

               The accompanying notes to consolidated financial statements are an integral part of these statements

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                          TWO RIVERS WATER & FARMING COMPANY AND SUBSIDIARIES
                                  Condensed Consolidated Statements of Cash Flows
                                                  (In thousands)
                                                   (Unaudited)

                                                                                             2019                     2018
Cash Flows from Operating Activities:
  Net loss, before NCI                                                                $             (1,142)   $              6,046
  Net loss from discontinued operations                                                                  -                     810
  Adjustments to reconcile net income (loss) to net cash used in operating
  activities:
     Depreciation and amortization                                                                     48                     75
     Accretion of debt discount                                                                       313                    178
     Loss (Gain) from debt extinguishment                                                             (33)                     -
     Loss of modification of convertible debt                                                          (8)                     -
     Stock issued for services                                                                        144                      -
     Stock option and warrant exercise                                                                290                  1,220
     Gain on deconsolidation                                                                            -                (12,773)
     Loss of investment in GrowCo                                                                      98                    617
     Loss (Gain) from disposal of fixed assets                                                        (85)                  (114)
  Net change in operating assets and liabilities
     Decrease (Increase) in accounts receivable, related party                                         (4)                       2
     Decrease in deposits, prepaid expenses and other assets                                           (2)                     (47)
     Increase (decrease) in accounts payable                                                           77                       93
     Increase in distribution payable to preferred shareholders                                        18                    1,002
     Increase in accrued liabilities and other                                                       (503)                   2,067
Net Cash Used in Operating Activities                                                                (789)                    (824)
Cash Flows from Investing Activities:
  Purchase of property and equipment                                                                  (33)                      -
  Sale of property and equipment                                                                       47                      72
  Investment in water assets                                                                            -                    (102)
  Acquisition                                                                                           9                       -
Net Cash Used in Investing Activities                                                                  23                     (30)
Cash Flows from Financing Activities:
  Borrowings on debt – related party                                                                   20                        -
  Proceeds from debt                                                                                1,235                    1,426
  Payment on notes payable                                                                            (94)                    (532)
Net Cash Provided by Financing Activities                                                           1,161                      894
Net Increase in Cash & Cash Equivalents                                                               395                       40
Beginning Cash & Cash Equivalents                                                                       6                       14
Ending Cash & Cash Equivalents                                                                        401                       54

Supplemental Disclosure of Cash Flow Information
  Cash paid for interest                                                              $                 -     $               196
  Shares issued in exchange for debt                                                  $               357     $                 -
  Conversion of debt, preferred shares into Two Rivers common stock                   $               287     $               100
  Land exchanged for debt                                                             $                58     $                 -
  Equipment exchanged for debt                                                        $                14     $                 -
  Debt discount from beneficial conversion feature                                    $               516     $                 -
  Cashless exercise of warrants                                                       $                 1     $                 1

               The accompanying notes to consolidated financial statements are an integral part of these statements

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                             TWO RIVERS WATER & FARMING COMPANY AND SUBSIDIARIES
                              Condensed Consolidated Statements of Changes in Stockholders’ Equity
                                                        (In thousands)
                                                          (Unaudited)

                                                Voting         Water Redev.    Additional                   Non-
                                            Common Stock         Preferred      Paid-in     Accumulated Controlling    Stockholders’
                                           Shares   Amount   Shares Amount      Capital       (Deficit)    Interest       Equity
Balances December 31, 2017                 32,750 $     34       65 $      252 $ 77,267     $    (97,168) $ 31,752     $     12,137

Net Income attributed to Two Rivers
common shareholders                             -        -        -         -          -          6,046            -          6,046
Prior period adjustment preferred shares        -        -        -         -       (100)             -            -           (100)
Stock issued in exchange for debt
settlement                                    874        2        -         -         98              -           -             100
Shares issued for TR Capital conversions       15        -        -         -          -              -           -               -
Stock-based compensation                        -        -        -         -      1,190              -           -           1,190
Shares issued for services                  1,091        0        -         -         (1)             -           -              (1)
RSU issuance                                  118        0        -         -         (0)             -           -               -
Warrant issuance                                -        -        -         -         30              -           -              30
Non-controlling interest                        -        -        -         -          -              -        (383)           (383)
GrowCo deconsolidation                          -        -        -         -          -              -      (8,858)         (8,858)
Balances, September 30, 2018               34,848 $     36       65 $     252 $   78,484 $      (91,122) $   22,511 $        10,161

Balances December 31, 2018                 45,575 $     46       65 $     252 $   81,186    $   (94,454) $   22,364    $      9,394

Net Income attributed to Two Rivers
common shareholders                             -        -        -         -           -        (1,142)           -         (1,142)
Stock issued in exchange for debt
settlement                                  4,220        4        -         -        283              -            -            287
Beneficial conversion feature on
convertible debt                                -        -        -         -        516              -           -             516
Stock-based compensation                        -        -        -         -        230              -           -             230
Shares issued for services                    755        1        -         -        143              -           -             144
Warrant exercise                            1,324        2        -         -         (2)             -           -               -
Warrant issuance                                -        -        -         -         60              -           -              60
Refundable shares issued for debt           1,322        1        -         -        356              -           -             357
Shares issued for acquisition              30,000       30        -         -     13,170              -           -          13,200
Balances September 30, 2019                83,196 $     84       65 $     252 $   95,942 $      (95,596) $   22,364    $     23,046

                The accompanying notes to consolidated financial statements are an integral part of these statements

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NOTE 1 – ORGANIZATION AND BUSINESS

Unless the context requires otherwise, references in this document to “Two Rivers,” or the “Company” is to Two Rivers Water &
Farming Company and its subsidiaries.

Corporate Evolution

Prior to 2009, the Company was named Navidec Financial Services, Inc. (“Navidec”) and had been engaged in mortgage lending
and other enterprises unrelated to its current lines of business. Navidec was incorporated in the state of Colorado on December 20,
2002. On July 28, 2009, Navidec formed a wholly-owned Colorado corporation for the purpose of acquiring farm and water assets
in the Colorado Huerfano/Cucharas watershed. On November 19, 2009, with shareholder approval, Navidec changed its name to
Two Rivers Water Company. On December 11, 2012, with shareholder approval, the Company changed its name to Two Rivers
Water & Farming Company.

On January 29, 2014, the board of directors approved a plan to reorganize our subsidiaries in a more integrated manner based on
functional operations. We formed a new company, TR Capital Partners, LLC or TR Capital, which issued all of its common units to
Two Rivers Water & Farming Capital. TR Capital then initiated the transactions described below under “Placement of Preferred
Units”. Following the completion of those transactions in September 2014, TR Capital and our other direct and indirect subsidiaries
(excluding HCIC Holdings, LLC and Huerfano-Cucharas Irrigation Company) entered into a series of related transactions as the
result of which assets and operations of such other subsidiaries transferred to TR Capital. As a result of those transactions, TR
Capital owns all of the operations formerly conducted by those subsidiaries.

Overview

In 2009, we began acquiring and developing irrigated farmland and associated water rights and infrastructure. As of September 30,
2019, we own approximately 7,076 gross acres. Gross acres owned showed a net increase of 811 acres from 6,265 gross acres at
December 31, 2018 due the addition of acreage owned by Huerfano Cucharas Irrigation Company that was previously not reported.

We are focused on water assets we have acquired and will acquire in the future. Since 2009, we have acquired strategic water assets
and land in the Huerfano and Cucharas river basins in southeastern Colorado, thus the name Two Rivers. Our water asset area spans
over 1,900 square miles and drops in elevation from over 14,000 feet down to the confluence of the Arkansas River, just east of
Pueblo Colorado at 4,500 feet. We operate in a natural, gravity fed water alluvial. This basin is the last undeveloped basin along the
front range of Colorado. We plan to develop this basin to properly manage the water contained therein and serve the community
while providing returns to our investors.

Since October 2016, we have refocused on monetizing our assets through asset sales and reinvestment. We plan to sell assets that
we have determined will not yield significant future returns to our shareholders and invest strategically in the assets that we believe
will. We plan to take net proceeds, if any, from these sales and continue to invest in our water and water infrastructure.

In May 2014, we formed GrowCo, Inc., a wholly owned subsidiary of Two Rivers through the issuance of 20,000,000 shares of
common stock. On August 1, 2014, we announced that we were placing 10,000,000 GrowCo shares in a trust to be distributed to
Two Rivers’ common shareholders. As of June 30, 2018, the Company owned 10,000,000 GrowCo shares out of reported shares
outstanding of 34,343,000, or 29.12%. The reported outstanding shares were provided to the Company by GrowCo’s management.

The Company requested from GrowCo management financial information to complete the Company’s June 30, 2018 financials. On
July 17, 2018 the Company was notified by GrowCo’s management that GrowCo would not provide the requested financial
information. This event triggered the Company’s management to re-examine the consolidation and VIE (variable interest entity)
rules under US GAAP. Management concluded that as of April 1, 2018 the consolidation of GrowCo and GrowCo’s related entities
was no longer required under US GAAP.

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Water Redevelopment Company

We formed Water Redevelopment Company (“Water Redev”) in February 2017 for the purpose of separating our water assets from
the rest of our business and to facilitate raising additional capital to invest in our water assets. Water Redevelopment Company is a
subsidiary of Two Rivers and focuses on development and redevelopment of infrastructure for water management and delivery.
Water Redevelopment’s primary area of focus is in the Huerfano-Cucharas river basin in southeastern Colorado. Although no final
decision has been reached, we are considering various alternatives and proposals for financing and restructuring Water Redev
including a spin-off to shareholders, direct funding and partial or full rights sales.

Vaxa Entities

On July 31, 2019, Two Rivers completed its acquisition of a 100% interest in Vaxa Global, LLC and its two wholly-owned
subsidiaries, Ekstrak Labs, LLC and Gramz Holdings, LLC (together the “Vaxa Entities”), from Easby Land & Cattle Company,
LLC, in exchange for 30,000,000 Two Rivers’ common shares plus an additional 20,000,000 Two Rivers’ common shares subject
to an earn-out performance by the Vaxa Entities over a 12 month period. The number of earn-out shares will equal the lesser of:

    ●    The quotient of 10 times the consolidated earnings before income taxes, depreciation and amortization, or EBITDA, of
         Vaxa for the twelve months ending June 30, 2020, divided by $1.00; and

    ●    20,000,000.

It is expected that the earn-out shares, if any, would be issued by August 2020.

We intend to expand Vaxa’s operations to grow hemp on land that we own, using water that we supply. This will, in turn, provide
additional hemp products to Ekstrak and Gramz™.

In September 2019, Vaxa entered into an agreement to purchase over $700,000 in extraction and processing equipment, and all
seeds, clone and biological assets, as well as the 2019 hemp crop from Butte Valley farm, from Montverde Partners, LLC
(“Montverde”), in exchange for 3,000,000 shares of our common stock which were contributed by Easby Land & Cattle, LLC.
Monteverde is a joint venture partner of Vaxa in the Butte Valley hemp farming operation near Walsenburg, Colorado. The
transaction closed in October 2019.

         Vaxa Global, LLC

Vaxa Global, LLC farms and distributes Canadian originated patented-processed hemp for biomass sale and CBD extraction within
the United States to states that are approved to extract CBD. Vaxa hemp is 100% organic, non-GMO, solvent free, THC free and
100% food-grade edible. Vaxa originated from one of the first industrial hemp distributors/farmers/manufactures in Canada into the
US.

         Ekstrak Labs, LLC

Ekstrak Labs, LLC is an emerging company in isolate extraction. Eskstrak plans to build state-of-the-art facilities with machinery
that is proven to deliver optimal extraction results. Eskstrak is developing joint venture partnerships for brand diversification into
various products and creating product lines for affiliated brands through white label wholesale products.

         Gramz Holdings, LLC

Gramz Holdings, LLC is a supplier of Nature’s Whole Spectrum™, natural whole plant compounds in consumer products designed
to maintain the composition of the plant’s natural source and state. Gramz™ was founded to respect the potential medicinal and
therapeutic value of hemp’s whole plant composition. Gramzs™ products include Gramz Whole Plant Matrix™ Sublingual Drops
and Gramz Herbal Topical, with R&D in progress for additional products for both humans and pets.

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NOTE 2 - SUMMARY OF SIGNIFICANT ACCOUNTING POLICIES

Principles of Consolidation

The accompanying condensed consolidated financial statements include the accounts of Two Rivers, Huerfano-Cucharas Irrigation
Company, TR Capital and its subsidiaries: Two Rivers Farms, and Two Rivers Water. All significant inter-company balances and
transactions have been eliminated in consolidation.

Under guidance in ASC 810-10-05-8 “Consolidation of VIEs” (Variable Interest Entities) the Company’s management has
determined that GrowCo and its related entities, GCP1, GCP Super Units, GCP2, should no longer be consolidated for financial
statement purposes. The Company now reports its ownership position under the equity method of accounting. Prior to June 30,
2018, GrowCo and its related entities were consolidated.

Basis of Presentation

The accompanying unaudited condensed consolidated financial statements have been prepared in accordance with generally
accepted accounting principles in the United States of America (“U.S. GAAP”) for interim financial information and with the
instructions to Form 10-Q and Item 210 of Regulation S-X. Accordingly, they do not include all the information and footnotes
required by U.S. GAAP for complete financial statements, although the Company believes that the disclosures made are adequate
to make the information not misleading. In the opinion of management, all adjustments (consisting of only normal recurring
accruals) considered necessary for a fair presentation for the periods presented have been included as required by Regulation S-X,
Rule 10-01. Operating results for the three and nine months ended September 30, 2019 are not necessarily indicative of the results
that may be expected for the year ended December 31, 2019. It is suggested that these condensed consolidated financial statements
be read in conjunction with the Company’s consolidated financial statements and footnotes thereto included in the Company’s
Annual Report on Form 10-K for the year ended December 31, 2018, as filed with the Securities and Exchange Commission on
April 15, 2019.

Deconsolidation of GrowCo, Inc.

Even though the Company no longer consolidates GrowCo and GrowCo’s related entities into the Company’s financials,
Management has determined that the Company is a guarantor of GrowCo’s $4M Secured Notes. The Company did not sign these
notes as a guarantor but has provided collateral owned by the Company with a 2018 appraised value of $2,359,000. Since Two
Rivers’ Management desires to present a conservative representation of its financial information it has determined to set the
probability of collection against its collateral at 100% of the recent appraised value. The Company has recorded a contingent
liability of $2,359,000 and offset this amount as an increase in the Company’s investment in GCP1 (ASC 460-10-55-23c).

Additionally, US GAAP (ASC 810-10-40) provides guidance on “Derecognition” of a previously consolidated entity or entities.
Under this guidance, Two Rivers shall account for the deconsolidation of a subsidiary or derecognition of a group of assets
specified in ASC 810-10-40-3A by recognizing a gain or loss in net income attributable to the parent, measured as the difference
between:

        a. The aggregate of all of the following:

                 1. The fair value of any consideration received. In Two Rivers’ case, no consideration was received.

                 2. The fair value of any retained noncontrolling investment in the former subsidiary or group of assets at the date
                 the subsidiary is deconsolidated, or the group of assets is derecognized. In Two Rivers case, there were no
                 retained noncontrolling investments in GrowCo or its related entities.

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                   3. The carrying amount of any noncontrolling interest in the former subsidiary (including any accumulated other
                   comprehensive income attributable to the noncontrolling interest) at the date the subsidiary is deconsolidated. In
                   Two Rivers case, the total amount of the noncontrolling interest to derecognized is as follows as of April 1, 2018:

                                                   Entity                                                           April 1, 2018
GrowCo                                                                                                                     (1,230,000)
GrowCo Partners 1, LLC                                                                                                      3,621,000
GCP Super Units, LLC                                                                                                        5,016,000
TR Cap 20150630 Distribution, LLC                                                                                             497,000
TR Cap 20150930 Distribution, LLC                                                                                             460,000
TR Cap 20151231 Distribution, LLC                                                                                             495,000
Total                                                                                                          $            8,859,000

         b. The carrying amount of the former subsidiary’s assets and liabilities or the carrying amount of the group of assets.

With the above guidance, during the year ended December 31, 2018 the Company determined that the effect of the deconsolidation
of GrowCo produced a gain of $12,773,000 which is a non cash adjustment. This amount consists of elimination of the
noncontrolling interest in GrowCo of $8,859,000 and $3,914,000 from the removal of GrowCo’s assets and liabilities. The
$3,914,000 represented the amount of GrowCo liabilities over GrowCo’s assets.

Investment in GrowCo Partners 1, LLC (GCP1)

Due to the deconsolidation of GrowCo and its related entities, which include GCP1, the Company’s investment in GCP1 is now
accounted for under the equity method.

Non-controlling Interest

Below is the detail of non-controlling interest shown on the condensed consolidated balance sheets.

                                   Entity                                       September 30, 2019                 Dec 31, 2018
TR Capital                                                                    $           20,342,000       $              20,342,000
HCIC                                                                                       1,379,000                        1,379,000
F-1                                                                                           29,000                           29,000
F-2                                                                                          162,000                          162,000
DFP                                                                                          452,000                          452,000
Total                                                                         $           22,364,000       $              22,364,000

Reclassification

Certain amounts previously reported have been reclassified to conform to current presentation. Certain labels of
accounts/classifications have been changed.

Use of Estimates

The preparation of financial statements in conformity with generally accepted accounting principles in the United States requires
management to make estimates and assumptions. These estimates and assumptions affect the reported amounts of assets and
liabilities, disclosure of contingent assets and liabilities at the date of the condensed consolidated financial statements and the
reported amounts of revenues and expenses during the reported period. Actual results could differ materially from those estimates.

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Cash and Cash Equivalents

For purposes of reporting cash flows, Two Rivers considers cash and cash equivalents to include highly liquid investments with
original maturities of 90 days or less. Those are readily convertible into cash and not subject to significant risk from fluctuations in
interest rates. The recorded amounts for cash equivalents approximate fair value due to the short-term nature of these financial
instruments.

Concentration of Credit Risk

Financial instruments that potentially subject Two Rivers to significant concentrations of credit risk include cash equivalents,
marketable investments, advances and accounts receivable. The Company maintains its cash balances in the form of bank demand
deposits, money market accounts that management believes to be of high credit quality. Accounts receivable are typically
uncollateralized and are derived from transactions with and from customers primarily located in the United States.

Fair Value of Measurements and Disclosures

         Fair Value of Assets and Liabilities Acquired

Fair value is the price that would be received from the sale of an asset or paid to transfer a liability (i.e., an exit price) in the
principal or most advantageous market in an orderly transaction between market participants. In determining fair value, the
accounting standards established a three-level hierarchy that distinguishes between (i) market data obtained or developed from
independent sources (i.e., observable data inputs) and (ii) a reporting entity’s own data and assumptions that market participants
would use in pricing an asset or liability (i.e., unobservable data inputs). Financial assets and financial liabilities measured and
reported at fair value are classified in one of the following categories, in order of priority of observability and objectivity of pricing
inputs:

         ●    Level 1 – Fair value based on quoted prices in active markets for identical assets or liabilities.

         ●    Level 2 – Fair value based on significant directly observable data (other than Level 1 quoted prices) or significant
              indirectly observable data through corroboration with observable market data. Inputs would normally be (i) quoted
              prices in active markets for similar assets or liabilities, (ii) quoted prices in inactive markets for identical or similar
              assets or liabilities or (iii) information derived from or corroborated by observable market data.

         ●    Level 3 – Fair value based on prices or valuation techniques that require significant unobservable data inputs. Inputs
              would normally be a reporting entity’s own data and judgments about assumptions that market participants would use
              in pricing the asset or liability.

The fair value measurement level for an asset or liability is based on the lowest level of any input that is significant to the fair value
measurement. Valuation techniques should maximize the use of observable inputs and minimize the use of unobservable inputs.

         Recurring Fair Value Measurements

The carrying value of the Company’s financial assets and financial liabilities is their cost, which may differ from fair value. The
carrying value of cash held as demand deposits, money market and certificates of deposit, marketable investments, accounts
receivable, short-term borrowings, accounts payable and accrued liabilities approximated their fair value. Marketable investments
are valued at Level 1 due to readily available market quotes. The fair value of the Company’s long-term debt, including the current
portion approximated its carrying value. Fair value for long-term debt was estimated based on quoted market prices of the identical
debt instruments or values of comparable borrowings.

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Property and Equipment

Property and equipment are stated at cost less accumulated depreciation. Depreciation is computed principally on the straight-line
method over the estimated useful life of each type of asset, which ranges from three to twenty-seven and a half years. Maintenance
and repairs are charged to expense as incurred; improvements and betterments are capitalized. Upon retirement or disposition, the
related costs and accumulated depreciation are removed from the accounts, and any resulting gains or losses are credited or charged
to income.

Below is a summary of premises and equipment:

                       Asset Type                              Life in Years      September 30, 2019          December 31, 2018
Office equipment, furniture                                        5–7           $             12,000       $             12,000
Computers                                                            3                         46,000                     46,000
Vehicles                                                             5                          9,000                     25,000
Farm equipment                                                    7 – 10                      147,000                    147,000
Buildings                                                          27.5                        10,000                     10,000
Website                                                              3                          7,000                       7,000
Subtotal                                                                                      231,000                    247,000
  Less: Accumulated depreciation                                                             (226,000)                  (227,000)
Net book value                                                                   $              5,000       $             20,000

Land

Land acquired for farming is recorded at cost. Some of the land acquired has not been farmed for many years, if not decades.
Therefore, additional expenditures are required to make the land ready for efficient farming. Expenditures for leveling the land are
added to the cost of the land. Irrigation is not capitalized in the cost of Land (Property and Equipment above). Land is not
depreciated. However, once per year, management will assess the value of land held, and in their opinion, if the land has become
impaired, Management will establish an allowance against the land.

The Company’s land located in El Paso County, Colorado, is being partially developed into 35 to 40 acre lots to be sold. For the
year ended December 31, 2018 the Company recognized a gain of $238,000 from approximately $360,000 in land sales. For the
nine months ended September 30, 2019, we sold two lots totaling 78 acres for a gross sales price of $116,000, recognized a gain of
approximately $68,000. This transaction provided cash of approximately $47,000, paid in full the first mortgage of the El Paso land
note for approximately $58,000, and direct expenses of sale of approximately $11,000. In the three months ended September 30,
2019, there were no land sales.

Water Rights and Infrastructure

Subsequent to purchase of water rights and water infrastructure, management periodically evaluates the carrying value of its assets,
and if the carrying value is in excess of fair market value, the Company will establish an impairment allowance. No amortization or
depreciation is taken on the water rights. See the discussion below concerning Impairments – Water rights and infrastructure.

Intangibles

Two Rivers recognizes the estimated fair value of water rights acquired by the Company’s purchase of stock in HCIC and Orlando.
These intangible assets will not be amortized because they have an indefinite remaining useful life based on many factors and
considerations, including, the historical upward valuation of water rights within Colorado.

In conjunction with the acquisition of Vaxa, the Company recognized goodwill of approximately $14,100,000 based on the
issuance of 30,000,000 shares at the closing share price ($0.44) on the date of acquisition (July 31, 2019) plus net liabilities
acquired (See NOTE 8).

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Impairments

     Property and Equipment

Once per year we review all property, equipment and software owned by the Company and compare the net book value of such
assets with the fair market value of each piece of equipment having a net book value greater than $5,000. If it is determined that the
net book value is greater than the fair market value, an impairment will be recorded. If impairment is necessary, a loss on the value
of the affected asset will be recorded, and the impairment will not be reversed in future periods.

     Land

Once per year we review each parcel of land owned by the Company together with improvements to each parcel and compare the
carrying cost with the fair market value. If it appears that our carrying value may be greater than the fair market value, an
independent appraisal will be ordered. If the appraised value is less than our carrying value, an impairment will be recorded. If
impairment is necessary, a loss on the value of our land will be recorded, and the impairment will not be reversed in future periods.

     Water Rights and Infrastructure

Once per year we assess the value of the water rights held by the Company, comparing our estimated values with recent sales of
comparable water rights along with depreciation of the infrastructures. In the event that such assessment indicates that the carrying
value is greater than the fair market value of the water rights or the depreciable replacement cost of our infrastructure, an
impairment will be recorded. If impairment is necessary, a loss on value of our water rights will be recorded, and the impairment
will not be reversed in future periods.

Prior to the year ended December 31, 2017, the Company recognized a $30,000 impairment on the Company’s land and water
shares.

For the year ended December 31, 2017, the Company examined the depreciable replacement cost of its water infrastructure. This
analysis caused the recognition of $6,900,000 impairment to the water infrastructure.

In 2018, the Company obtained two independent appraisals covering its water assets. The appraisals were in excess of the
Company’s carrying value of it water rights and infrastructure.

For the year ended December 31, 2018 and the nine months ended September 30, 2019, the Company did not recognize any
impairments.

Revenue Recognition

Effective January 1, 2018, the Company adopted ASC 606 — Revenue from Contracts with Customers. Under ASC 606, the
Company recognizes revenue from the commercial sales of products, land, licensing agreements and farming contracts by applying
the following steps: (1) identify the contract with a customer; (2) identify the performance obligations in the contract; (3) determine
the transaction price; (4) allocate the transaction price to each performance obligation in the contract; and (5) recognize revenue
when each performance obligation is satisfied. For the comparative periods, revenue has not been adjusted and continues to be
reported under ASC 605 — Revenue Recognition. Under ASC 605, revenue is recognized when the following criteria are met: (1)
persuasive evidence of an arrangement exists; (2) the performance of service has been rendered to a customer or delivery has
occurred; (3) the amount of fee to be paid by a customer is fixed and determinable; and (4) the collectability of the fee is reasonably
assured.

There was no impact on the Company’s financial statements as a result of adopting Topic 606 for the three and nine months ended
September 30, 2019 and 2018.

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     Farming

For the three and nine months ended September 30, 2019 the Company had approximately $0 in net crop share revenues. For the
three and nine months ended September 30, 2018, the Company recognized approximately $0 in net crop share revenues. During
2018, the Company entered into a crop share arrangement for a percentage of a hemp crop produced on 4 acres of farm land at
Butte Valley in Huerfano County, Colorado. A net payment of $18,000 for the Company’s share was received in the three months
ended December 31, 2018

Vaxa generates revenue from hemp farming operations, distribution agreements and CBD consumer product sales. For the nine
months ended September 30, 2019, Vaxa generated approximately $103,000 in revenue. Prior to the acquisition, Vaxa entered into a
farm lease with the Company to run a pilot hemp farming operation in Butte Valley on property that the Company owned.

     Member Assessments

Once per year the HCIC board estimates HCIC’s expenses, less anticipated water revenues, and establishes an annual assessment
per ownership share. One-half of the member assessment is recorded in the second quarter of the calendar year and the other one-
half of the member assessment is recorded in the third quarter of the calendar year. Assessments paid by Two Rivers Water
Company to HCIC are eliminated in consolidation of the financial statements.

HCIC does not reserve against any unpaid assessments. Assessments due, but unpaid, are secured by the member’s ownership of
HCIC. The value of this ownership is significantly greater than the annual assessments.

Stock Based Compensation

Beginning January 1, 2006, the Company adopted the provisions of ASC 718 and accounts for stock-based compensation in
accordance with ASC 718. Under the fair value recognition provisions of this standard, stock-based compensation cost is measured
at the grant date based on the fair value of the award and is recognized as expense on a straight-line basis over the requisite service
period, which generally is the vesting period. The Company elected the modified-prospective method, under which prior periods
are not revised for comparative purposes. The valuation provisions of ASC 718 apply to new grants and to grants that were
outstanding as of the effective date and are subsequently modified.

All options granted prior to the adoption of ASC 718 and outstanding during the periods presented were fully vested at the date of
adoption.

Dam Demolition Expense

During the year ended December 31, 2018 a court date has been set for a hearing of the State of Colorado’s legal action to compel
the Company to demolish Cucharas #5 reservoir. A contingent liability, with an offsetting expense of $1,800,000 has been
recognized. In July 2019, the Company reached a settlement with the State of Colorado, whereby the Company will pay
approximately $1,000,000 plus interest to the State of Colorado in exchange for a full settlement of the above legal action. The
Company recognized a reduction of this contingent liability from $1,800,000 to approximately $1,000,000, along with additional
non-cash gains of approximately $25,000 from the negotiations and resolution of previously recorded accounts payable, on Two
Rivers’ in these financial statements. In the three months ending September 30, 2019, the Company made payments of
approximately $82,000 to the State of Colorado in compliance with the payment terms of the settlement agreement. The balance of
the accrued expense for the settlement was approximately $893,000 on September 30, 2019.

Debt and Equity

The Company follows beneficial conversion feature guidance in ASC 470-20, which applies to convertible stock as well as
convertible debt. A beneficial conversion feature is defined as a nondetachable conversion feature that is in the money at the
commitment date. The beneficial conversion feature guidance requires recognition of the conversion option’s in-the-money portion,
the intrinsic value of the option, in equity, with an offsetting reduction to the carrying amount of the instrument. The resulting
discount is amortized as interest over the life of the instrument, if a stated maturity date exists, or to the earliest conversion date, if
there is no stated maturity date. If the earliest conversion date is immediately upon issuance, the expense must be recognized at
inception. When there is a subsequent change to the conversion ratio based on a future occurrence, the new conversion price may
trigger the recognition of an additional beneficial conversion feature on occurrence.

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On May 21, 2019, the Company entered into a convertible promissory note with an investor of the Company in the amount of
$262,500. The note bears 10% interest and is payable in full on May 21, 2020. The Company has recorded a beneficial conversion
feature of $258,000, which is recorded as a discount on the note payable and being amortized over the life of the note. As of
September 30, 2019 the balance of the beneficial conversion feature is approximately $168,000.

On May 21, 2019, the Company entered into a convertible promissory note with an investor of the Company in the amount of
$262,500. The note bears 10% interest and is payable in full on May 21, 2020. The Company has recorded a beneficial conversion
feature of approximately $258,000, which is recorded as a discount on the note payable and being amortized over the life of the
note. As of September 30, 2019, the balance of the beneficial conversion feature is approximately $168,000.

On September 19, 2019 the Company entered into a convertible promissory note with an investor of the Company in the amount of
$575,000. The note bears 12% interest and is payable in full on March 19, 2020. The note is convertible after 180 days so no
beneficial conversion feature was recognized. The Company recognized a total original issue discount amount of approximately
$413,000 on the note consisting of a fixed amount of $58,000 and $356,000 for shares issued. Approximately 83% of the shares
issued by the Company ($297,000 of the note discount) are returnable to the Company if the note is repaid on or before the
maturity date.

Preferred Dividend Payable

Preferred dividend payable represents dividends payable to holders of preferred units of TR Capital, approximately $4,937,000 as
of September 30, 2019 and preferred dividends owed to holders of the Water Redevelopment Company preferred shares of
approximately $51,000.

Beginning on July 1, 2018, the Company terminated the accrual of the preferred dividends payable to TR Capital preferred
members due to a binding letter of intent executed with an outside strategic partner. Additionally, TR Capital has not declared
dividends due the Company’s financial condition.

Income Taxes

The Company accounts for income taxes under the asset and liability method, which requires the recognition of deferred tax assets
and liabilities for the expected future tax consequences of events that have been included in the financial statements. Under this
method, the Company has determined the deferred tax assets and liabilities on the basis of the differences between the financial
statement and tax basis of assets and liabilities by using enacted tax rates in effect for the year in which the differences are expected
to reverse. The effect of a change in tax rates on deferred tax assets and liabilities is recognized in income in the period that
includes the enactment date.

The Company recognizes deferred tax assets to the extent that it believes that these assets are more likely than not to be realized. In
making such a determination, the Company considers all available positive and negative evidence, including future reversals of
existing taxable temporary differences, projected future taxable income, tax-planning strategies, and results of recent operations. If
the Company determines that it would be able to realize our deferred tax assets in the future in excess of their net recorded amount,
it would make an adjustment to the deferred tax asset valuation allowance, which would reduce the provision for income taxes. The
Company records uncertain tax positions in accordance with ASC 740 on the basis of a two-step process in which (1) it determines
whether it is more likely than not that the tax positions will be sustained on the basis of the technical merits of the position and (2)
for those tax positions that meet the more-likely-than-not recognition threshold, it recognizes the largest amount of tax benefit that
is more than 50 percent likely to be realized upon ultimate settlement with the related tax authority.

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The Company recognizes interest and penalties related to unrecognized tax benefits on the income tax expense line in the
accompanying consolidated statement of operations. As of September 30, 2019, no accrued interest or penalties are included on the
related tax liability line in the balance sheet.

Net (Loss) per Share

Basic net income per share is computed by dividing net income (loss) attributed to Two Rivers available to common shareholders
for the period by the weighted average number of common shares outstanding for the period. Diluted net income (loss) per share is
computed by dividing the net income for the period by the weighted average number of common and potential common shares
outstanding during the period.

The dilutive effect of the outstanding 3,058,500 options, and 17,537,896 warrants at December 31, 2018, have an exercise price in
excess of the Company’s closing price of $0.17/share as of December 28, 2018; therefore these shares have not been included in the
determination of diluted earnings per share since, under ASC 260 they would be anti-dilutive. As of September 30, 2019, the total
number of warrants outstanding were 5,948,730, including 4,225,778 issued to Black Mountain which have an exercise price of
$0.07878/share.

The common shares used in the computation of basic and diluted net income (loss) per share are reconciled as follows:

                                                                                      Nine Months Ended September 30,
                                                                                         2019                2018
         Weighted average number of shares outstanding – basic                            71,006,000          57,057,000
         Dilutive effect of convertible debt                                               8,912,000                   -
         Dilutive effect of warrant exercise                                               5,949,000                   -
         Weighted average number of shares outstanding – diluted                          85,867,000          57,057,000

Recently Issued Accounting Pronouncements

In March 2019 - the Financial Accounting Standards Board (“FASB”) Update 2019-01—Leases (Topic 842): Codification
Improvements. The transition and effective date provisions for this Update apply to Issue 1 and Issue 2 in the Update. They do not
apply to Issue 3 in the Update because the amendments for that Issue are to the original transition requirements in Topic 842. The
amendments in this Update amend Topic 842. That Topic has different effective dates for public business entities and entities other
than public business entities. The effective date of those amendments is for fiscal years beginning after December 15, 2019, and
interim periods within those fiscal years for any of the following:

         1) A public business entity
         2) A not-for-profit entity that has issued, or is a conduit bond obligor for, securities that are traded, listed, or quoted on an
         exchange or an over-the-counter market
         3) An employee benefit plan that files financial statements with the U.S. Securities and Exchange Commission (SEC).

For all other entities, the effective date is for fiscal years beginning after December 15, 2019, and interim periods within fiscal
years beginning after December 15, 2020. Early application is permitted. An entity should apply the amendments as of the date that
it first applied Topic 842, using the same transition methodology in accordance with paragraph 842-10-65-1(c). Management has
determined to not adopt this application early. Further, it will have a minimal impact on the Company’s financial statements.

In August 2018, FASB issued ASU 2018-13, Fair Value Measurement (Topic 820), “Disclosure Framework – Changes to the
Disclosure Requirements for Fair Value Measurement”. The amendments in this Update modify certain disclosure requirements of
fair value measurements and are effective for all entities for fiscal years, and interim periods within those fiscal years, beginning
after December 15, 2019. Early adoption is permitted. The Company is currently unable to determine the impact on its financial
statements of the adoption of this new accounting pronouncement.

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In March 2018, the FASB issued ASU No. 2018-05, Income Taxes (Topic 740) – “Amendments to SEC Paragraphs Pursuant to
SEC Staff Accounting Bulletin No. 118”. The amendment provides guidance on accounting for the impact of the Tax Cuts and Jobs
Act (the “Tax Act”) and allows entities to complete the accounting under ASC 740 within a one-year measurement period from the
Tax Act enactment date. This standard is effective upon issuance. The Tax Act has several significant changes that impact all
taxpayers, including a transition tax, which is a one-time tax charge on accumulated, undistributed foreign earnings. The
calculation of accumulated foreign earnings requires an analysis of each foreign entity’s financial results going back to 1986. The
Company does not expect the adoption of this ASU to have a material impact on its consolidated financial statements.

In February 2018, the FASB issued ASU No. 2018-02, “Reclassification of Certain Tax Effects from Accumulated Other
Comprehensive Income”. The guidance permits entities to reclassify tax effects stranded in Accumulated Other Comprehensive
Income as a result of tax reform to retained earnings. This new guidance is effective for annual and interim periods in fiscal years
beginning after December 15, 2018. Early adoption is permitted in annual and interim periods and can be applied retrospectively or
in the period of adoption. The Company is currently in the process of evaluating the impact of adoption on its consolidated
financial statements.

In July 2017, the FASB issued Accounting Standards Update (“ASU”) “Income Statement – Reporting Comprehensive Income
(Topic 220)”. This ASU deals with the reclassification of certain tax effects from Accumulated Other Comprehensive Income. The
Company does not believe that there will be any significant financial impact due to prior taxable losses and our net operating loss
carry forward.

In July 2017, FASB issued ASU “Earnings Per Share (Topic 260); Distinguishing Liabilities from Equity (Topic 480); Derivatives
and Hedging (Topic 815)”: (Part I) Accounting for Certain Financial Instruments with Down Round Features, (Part II) Replacement
of the Indefinite Deferral for Mandatorily Redeemable Financial Instruments of Certain Nonpublic Entities and Certain
Mandatorily Redeemable Noncontrolling Interests with a Scope Exception. Management believes that Topics 260 and 480 pertains
to the Company and the impact will be immaterial.

In May 2017, the FASB issued ASU 2017-09, “Compensation-Stock Compensation (Topic 718): Scope of Modification
Accounting”, which clarifies when a change to the terms or conditions of a share-based payment award must be accounted for as a
modification. The new guidance requires modification accounting if the fair value, vesting condition or the classification of the
award is not the same immediately before and after a change to the terms and conditions of the award. The new guidance is
effective for all entities for annual periods, and interim periods within those annual periods, beginning after December 15, 2017,
with early adoption permitted. The Company does not expect the adoption of this ASU to have a material impact on its
consolidated financial statements.

In January 2017, the FASB issued ASU No. 2017-1, Business Combinations (Topic 805): Clarifying the Definition of a Business.
The amendments in this update clarify the definition of a business with the objective of adding guidance to assist entities with
evaluating whether transactions should be accounted for as acquisitions (or disposals) of assets or businesses. The definition of a
business affects many areas of accounting including acquisitions, disposals, goodwill, and consolidation. The amendments of this
ASU are effective for public business entities for annual periods beginning after December 15, 2018, and interim periods within
annual periods beginning after December 15, 2019. The amendments in this Update are to be applied prospectively on or after the
effective date. Currently, the Company believes that this ASU has no impact on its financial statements and reporting; however, in
the future it may have an impact on its financial statements with the adoption of this new accounting pronouncement.

In February 2016, the FASB issued ASU 2016-02, “Leases” Topic 842, which amends the guidance in former ASC Topic 840,
Leases. The new standard increases transparency and comparability most significantly by requiring the recognition by lessees of
right-of-use (“ROU”) assets and lease liabilities on the balance sheet for all leases longer than 12 months. Under the standard,
disclosures are required to meet the objective of enabling users of financial statements to assess the amount, timing, and uncertainty
of cash flows arising from leases. For lessees, leases will be classified as finance or operating, with classification affecting the
pattern and classification of expense recognition in the income statement. The Company adopted the new lease guidance effective
January 1, 2019. The Company only has one lease in effect; its office lease located in Aurora Colorado. The lease rate is less than
$3,000/month and expires on March 31, 2020. The Company is more likely than not to renew this lease and is not obligated to
renew the lease. The office lease is insignificant to the financial presentation of the Company; therefore, it is not shown on the
Company’s financial statements. The Company has adopted the modified retrospective approach therefore the Company has no
plans of restating prior periods and that there is no asset or liability currently.

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Management does not believe that any other recently issued, but not effective, accounting standards if currently adopted would
have a material effect on the accompanying consolidated financial statements.

NOTE 3 – INVESTMENTS AND LONG-LIVED ASSETS

Land

Upon purchasing land, the value is recorded at the purchase price or fair value, whichever is more appropriate. Costs incurred to
prepare the land for the intended purpose are also capitalized in the recorded cost of the land. No amortization or depreciation is
taken on land. However, the land is reviewed by management at least once per year to ascertain if a further analysis is necessary for
any potential impairments.

Water Rights and Infrastructure

The Company has acquired both direct flow water rights and water storage rights. It has obtained water rights through the purchase
of shares in a mutual ditch company, which it accomplished through its purchase of shares in HCIC, or through the purchase of an
entity holding water rights, which it effected through its purchase of a membership interest of Orlando. The Company may also
acquire water rights through outright purchase. In all cases, such rights are recognized under decrees of the Colorado water court
and administered under the jurisdiction of the Office of the State Engineer.

Upon purchasing water rights, the value is recorded at our purchase price. If a majority interest is acquired in a company holding
water assets (potentially with other assets including water delivery infrastructure, right of ways, and land), the Company determines
the fair value of the assets. To assist with the valuation, the Company may consider reports from a third-party valuation firm. If the
value of the water rights is greater than what the Company paid then a bargain purchase gain is recognized. If the value of the water
assets are less than what the Company paid then goodwill is recognized.

Subsequent to purchase, management periodically evaluates the carrying value of its assets, and if the carrying value is in excess of
fair market value, the Company will establish an impairment allowance. Currently, there are no impairments on the Company’s
land and water shares. No amortization or depreciation is taken on the water rights.

Gain on Disposal of Assets

During the nine months ended September 30, 2019 and 2018, we sold sub-divided, unimproved lots of land located in El Paso
County Colorado and recognized a gain of approximately $68,000 and $80,000, respectively. For the nine months ended September
30, 2019, we recognized approximately $85,000 gain from sale and disposal of equipment.

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NOTE 4 – NOTES PAYABLE

Below is a summary of the Company’s consolidated long-term debt:

                                            September 30, 2019                 December 31, 2018
                                Principal        Accrued                       Principal   Interest
            Note                Balance          Interest      Discount        Balance       rate               Security
                                                                                                          Shares in the Mutual
HCIC seller carry back         $ 6,323,000      $ 1,050,000   $           -   $ 6,323,000         6%        Ditch Company
                                                                                                          Certain Orlando and
CWCB                               622,000           11,000               -       690,000       2.5%        Farmland assets
GrowCo note                        390,000           29,000               -       390,000         6%              None
                                                                                                           Added to lien on
Bridge loan Harding                  7,000            1,000               -        15,000        12%          Ellicott land
                                                                                                            Second lien on
El Paso Land notes                 271,000           76,000               -       271,000        12%          Ellicott land
Easby Credit Line (Vaxa),
related party                      486,000            8,000               -              -            -        Unsecured
Promissory Note (Vaxa)             250,000                -               -              -            -     Biomass material
Investors Fiduciary, related
party                              786,000          133,000              -        551,000        20%        Shares of HCIC
Auctus Convertible Note            262,500            9,000        168,000              -        10%          Unsecured
Morningview Convertible
Note                               262,500            9,000        168,000               -       10%            Unsecured
Labry’s Convertible Note           575,000            2,000        388,000               -       12%            Unsecured
                                                                                                          Lien on water supply
WRC convertible notes              300,000          101,000               -       500,000        12%            agreement
Butte Valley Land notes            400,000          101,000               -       200,000        18%        Butte Valley Land
                                                                                                          2,400 acres of land in
McFinney Agri-Finance                       -             -               -        60,000       6.8%        Ellicott Colorado
                                                                                                              Third lien on
Powderhorn/Silverback note              -           -                    -        203,000        12%          Ellicott land
Equipment loans                         -           -                    -         57,000       5-8%           Equipment
Morningview Financial note              -           -                    -         75,000        18%            Unsecured
Total                          10,935,000 $ 1,530,000         $   (724,000)     9,335,000
Less: note discounts             (724,000)                                        (63,000)
Less: Current portion net of
discount                       (9,343,000)                                      (8,045,000)
Long term portion            $    868,000                                     $ 1,227,000

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NOTE 5 – SHORT-TERM CONVERTIBLE NOTE PAYABLE

On September 24, 2019, we entered into an agreement (“Agreement”) with an accredited investor (“Note Holder”) to provide a net
of $457,500 in short term working capital. Two Rivers intends to use these funds for the payment of certain debts, payments on
accounts and working capital.

The face value of the convertible debt is $575,000 with a purchase price of $517,500, a 6-month term and an interest rate of 10%
per annum. The debt is convertible at a per common stock price at the lower of 70% multiplied by the 10-day trailing market price
of Two Rivers’ common shares (representing a discount rate of 30%) or $0.30/share. The Convertible note is subject to other terms
and conditions.

Two Rivers issued 1,101,532 shares of its common stock (the “Returnable Shares”) to the Note Holder, as well as an additional
220,306 shares of Common Stock (the “Commitment Shares”), subject to the terms and conditions of the Agreement and the Note,
pursuant to the exemption from registration contained in Section 4(a)(2) of the Securities Act of 1933. If Two Rivers pays the
convertible debt prior to 180 days from the date of the convertible note, the Returnable Shares shall be returned by the Note Holder
to Two Rivers. If Two Rivers fails to pay the convertible note by that date, the Note Holder may retain the Returnable Shares.

In August 2019, Investors Fiduciary, LLC loaned $75,000 to the Company under the existing credit line to bring the balance to
approximately $786,000 as of September 30, 2019. The credit line contains a conversion feature at a rate of $0.14 per share.
Investors Fiduciary is controlled by Greg Harrington, CEO of the Company and Gerald Anderton, Sr., Chairman of the Board of
the Company is an investor.

On May 24, 2019, we entered into separate securities purchase agreements with two investors pursuant to which we received
$480,000 in cash, which we intend to use for the payment of outstanding indebtedness and accounts payable and for working
capital. Pursuant to the securities purchase agreements, we issued convertible promissory notes, having a total principal amount of
$525,000. Each of the notes has a one-year term and bears interest at the rate of 10% per annum. We sold the notes for an aggregate
purchase price of $525,000, less $45,000 for payment for legal fees and original issue discount. Each of the notes is convertible into
common stock at a price equal to 60% of the trailing market price of common stock (representing a discount of 40%). The
minimum conversion price for each note is $0.20 per share unless and until such time, if any, as we do not make a principal and
interest payment when due with respect to the note.

NOTE 6 – INFORMATION ON BUSINESS SEGMENTS

We organize our business segments based on the nature of the products and services offered. Currently, we focus on the Farms and
Water business with Two Rivers Water & Farming Company as the Parent company. Therefore, we report our segments by these
lines of businesses: Farms and Water. Water contains our Water Business (HCIC and Orlando). Our Parent category is not a
separate reportable operating segment. Segment allocations may differ from those on the face of the income statement. In 2017, the
prior farming operations were discontinued; however, we continue to report with a Farming Business since we are expanding our
farming business in 2019.

In the following tables of financial data, the total of the operating results of these business segments is reconciled, as appropriate, to
the corresponding consolidated amount. There are some corporate expenses that were not allocated to the business segments, and
these expenses are contained in the “Total Operating Expenses” under Parent.

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Operating results for each of the segments of the Company are as follows (in thousands):

                                      Nine Months Ended September 30, 2019            Nine Months Ended September 30, 2018
                                      Parent    Vaxa      Water      Total           Parent   Greenhouse   Water       Total
Revenue                             $      34 $    103 $        8 $     145        $      10 $         - $     12 $        22
  Less: Direct Cost of Revenue               -       -          -          -                -          -         -           -
Gross Margin                               34      103          8       145               10           -       12          22
Expenses
  Total Operating Expenses              (611)        (14)        253       (372)       (886)            -       (997)     (1,883)
  Total Other Income (Expense)          (484)          7        (420)      (897)     11,928             -     (2,209)      9,719
Net Income (Loss) from
Operations Before Income Taxes         (1,061)        96        (159)    (1,124)     11,052             -     (3,194)      7,858
Income Taxes (Expense) Credit               -          -           -          -           -             -          -           -
Net Income (Loss) from
Operations                             (1,061)        96        (159)    (1,124)     11,052             -     (3,194)      7,858
  Net Income (Loss) from
  Discontinued Operations                  -        -              -        -        -              (810)       -      (810)
  Preferred dividends                      -        -            (18)     (18)    (986)                -      (16)   (1,002)
  Non-controlling interest                 -        -              -        -        -                 -        -         -
Net Income (Loss)                   $ (1,061) $    96       $ (177) $ (1,142) $ 10,066 $               - $ (3,210) $ 6,046
Segmented Assets                    $ 24,856 $ 24,856       $ 20,131 $ 45,500 $ 10,746 $               - $ 20,175 $ 30,921

NOTE 7 – EQUITY TRANSACTIONS

The Company has authorized 200,000,000 shares of common stock with a par value of $0.001. The total issued common stock as of
September 30, 2019, was 83,195,969 common shares.

During the nine months ended September 30, 2019, Two Rivers issued the following common stock:

    ●   1,179,817 shares issued to Morningview as a $75,000 principal paydown plus interest, which represents the debt being
        fully paid at June 30, 2019 and which did not produce a loss because the conversion was made under the terms of the
        convertible debt agreement;
    ●   3,040,350 shares issued to Powderhorn/Silverback as a $127,665 principal paydown plus interest, which represents the
        debt being fully paid at June 30, 2019 and which did not produce a loss because the conversion was made under the terms
        of the convertible debt agreement;
    ●   555,560 shares issued to an investor relations firm. The shares issued were valued at $0.1283/share with a corresponding
        expense of approximately $71,000;
    ●   545,455 shares issued to Silverback for a cashless exercise of warrants;
    ●   255,231 shares issued to Black Mountain for a cashless exercise of warrants;
    ●   14,840 shares issued for a conversion from TR Capital;
    ●   523,395 shares issued to Black Mountain for a cashless exercise of warrants;
    ●   30,000,000 shares issued to Easby Land & Cattle Company, LLC. The shares were valued at $0.44/share or approximately
        $13,200,000;
    ●   185,000 shares issued to a chief financial officer firm. The shares issued were valued at $0.27/share with a corresponding
        expense of approximately $50,000;
    ●   139,985 shares issued for a conversion from TR Capital; and
    ●   1,321,838 shares issued to Labrys Fund, LP (see Note 5).

During the nine months ended September 30, 2018, Two Rivers issued 374,250 common stock to Black Mountain for a $100,000
principal reduction in its Note Payable.

During the nine months ended September 30, 2019, Two Rivers recognized $289,000 in stock based compensation to its employees
and directors.

During the nine months ended September 30, 2018, Two Rivers recognized $373,000 in stock based compensation to its employees
and directors.

During the nine months ended September 30, 2019, the Company recorded a total of $516,000 in beneficial conversion features
related to Convertible Promissory Notes.
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On May 21, 2019, the Company entered into a convertible promissory note with an investor of the Company in the amount of
$262,500. The note bears 10% interest and is payable in full on May 21, 2020. The Company has recorded a beneficial conversion
feature of approximately $258,000, which is recorded as a discount on the note payable and being amortized over the life of the
note. As of September 30, 2019, the balance of the beneficial conversion feature is approximately $168,000.

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NOTE 8 – ACQUISITION OF VAXA GLOBAL

On July 31, 2019, the Company closed on the purchase of all the membership interests in Vaxa Global, LLC (“Vaxa”) and its two
wholly-owned subsidiaries from the sole member Easby Land & Cattle, LLC (“Easby”). Greg Harrington, the managing member of
Easby became the CEO of the Company and a member of the Board of Directors in September 2019. Vaxa is in the business of
hemp farming, extraction and manufactured consumer CBD products. The closing occurred pursuant to a Share Exchange
Agreement between the Company and Easby on February 22, 2019, as amended.

Pursuant to the Share Exchange Agreement, the Company issued a total of 30,000,000 shares of common stock to Easby at the
closing for the Vaxa membership interests. There was no cash consideration paid for the acquisition. The Purchase Price for the
acquisition, $13,200,000 was calculated using the closing price Two Rivers common stock on the date of closing, $0.44/share,
multiplied by 30,000,000 shares.

In addition to the shares issued at closing, the Company may be required to issue additional shares of common stock pursuant to an
earn-out covenant in the share exchange agreement. The number of earn-out shares will equal the lesser of:

             i.)      the quotient of 10 times the consolidated earnings before income taxes, depreciation and amortization, or
                      EBITDA, of Vaxa for the twelve months ending June 30, 2020, divided by $1.00; and

             ii.)     20,000,000.

It is expected that the earn-out shares, if any, would be issued by August 2020. There was no valuation applied to the earnout on the
acquisition date due to the historical performance of Vaxa and the Company’s expectation of the likelihood of material earnings
during the window. The earnout valuation will be reviewed quarterly until its expiration in June 2020.

The acquisition date estimated fair value of the consideration transferred totaled $13,200,000, which consisted of the following:

         Cash paid                                       $              0
         Common Stock Issued                                   13,200,000
         Total Purchase Price                            $     13,200,000

         Net Assets Acquired                             $        511,000
         Net Liabilities & Retained Earnings                   (1,411,000)
         Goodwill                                              14,100,000
         Total Purchase Price                            $     13,200,000

The primary asset of Vaxa at the time of acquisition was an exclusive distribution agreement with a Canadian grower and supplier
of cannabidiol-rich hemp biomass. The agreement was from its inception in December 2017 runs for a five-year term. The
agreement calls for fixed payments of $700,000 for the exclusive supply rights at competitive fixed prices. Vaxa had recognized the
value of the agreement as intangible asset and is amortizing the value over the 5 year period. The balance, net of amortization, on
the time of acquisition was approximately $480,000.

During the preliminary purchase price allocation period, which may be up to one year from the business combination date, the
Company may record adjustments to the assets acquired and liabilities assumed, with the corresponding offset to goodwill. After
the preliminary purchase price allocation period, the Company may record adjustments to assets acquired or liabilities assumed
subsequent to the purchase price allocation period in its operating results in the period in which the adjustments were determined.

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Pro forma results

The following table sets forth the audited pro forma results of the Company as if the acquisition was effective on the first day of
each period presented. These combined results are not necessarily indicative of the results that may have been achieved had the
companies always been combined.

                                                                                 Six Months          Twelve Months
                                                                                   Ending                Ending
                                                                                Jun 30, 2019          Dec 31, 2018
                                                                                 (unaudited)           (unaudited)
         Revenue                                                            $            70,000    $          66,000
         Net Income (Loss)                                                  $        (1,608,000)   $       1,820,000
         Basic Net Income (Loss) per share                                  $             (0.02)   $             0.03
         Diluted Net Income (Loss) per share                                $             (0.02)   $             0.03
         Weighted average shares – basic                                                 79,967               65,139
         Weighted average shares – diluted                                               79,967               67,408

NOTE 9 – GOING CONCERN

The consolidated financial statements have been prepared assuming the Company will continue as a going concern. The Company
has not generated significant revenues and has a net loss of $1,142,000 during the nine months ended September 30, 2019. Cash
consumed from our operations during the nine months ended September 30, 2019 was $789,000. At September 30, 2019, the
Company had a working capital deficit of $21,104,000 and an accumulated deficit of approximately $95,596,000. The HCIC seller
carry back debt are in technical default.

These factors raise substantial doubt about the Company’s ability to continue as a going concern. The accompanying consolidated
financial statements do not include any adjustments relating to the recoverability or classification of assets or the amounts and
classification of liabilities that may result should the Company be unable to continue as a going concern. The following paragraphs
describe management’s plans to mitigate.

We are in the process of working with the Vaxa Entities and its funders to continue to fund Two Rivers operations. There is no
assurances that this additional funding will occur.

Additionally, we continue to reduce our general and administrative expenses and cash required for our operations.

Management Plans

We believe that the actions discussed above are probable of occurring and mitigating the substantial doubt raised by our historical
operating results. We believe the actions will satisfy our estimated liquidity needs 12 months from the issuance of these financial
statements. However, we cannot predict, with certainty, the outcome of our actions to generate liquidity, including the availability
of additional financing, or whether such actions would generate the expected liquidity as currently planned. There is, however, no
assurance that the Company will be able to raise any additional capital through any type of offering on terms acceptable to the
Company, as existing cash on hand will be insufficient to finance operations over the next twelve months.

NOTE 10 - COMMITMENTS AND CONTINGENCIES

GrowCo $4M Notes Guaranty

During the period ended December 31, 2015, GrowCo issued $4,000,000 in secured promissory notes to 17 individual investors.
The notes have a security interest in the land, water and improvements on the 40 acres where GrowCo Partners 1 has its greenhouse
and associated warehouse. The notes pay 22.5% in annual interest, with interest paid monthly, and are due April 1, 2020. GrowCo
cannot prepay the notes; however, noteholders have the right to call the notes at the first anniversary, or thereafter, of each note with
a 60-day notice to the Company. Due to the past due interest owed to the secured $4M Note holders, these notes are in technical
default.

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On January 19, 2018, Blue & Green, LLC (“Blue Green”) filed a complaint against GrowCo claiming a default on payments by
GrowCo to Blue Green under the terms of the $4 million GrowCo $2,115,000 promissory note held by Blue Green. The complaint
requested immediate payment of the note, back due interest in excess of $300,000, and attorney fees.

Even though the Company no longer consolidates GrowCo and GrowCo’s related entities into the Company’s financials (see above
Note 2 – Principals of Consolidation), under ASC 460-10-05, Management has determined that the Company is a guarantor of the
$4M Secured Notes. The Company did not sign these notes as a guarantor but has provided collateral owned by the Company with
a recent appraised value of $2,359,000. Since Two Rivers’ Management desires to present a conservative representation of its
financial information it has determined to set the probability of collection against its collateral at 100% of the recent appraised
value. The Company has recorded a contingent liability of $2,359,000 and offset this amount as an increase in the Company’s
investment in GCP1 (ASC 460-10-55-23c).

Operating Leases

In January 2016, the Company entered into a new lease with the Colorado Center in Denver Colorado for the corporate
headquarters. The space is 1,775 square feet and monthly payments of $3,900, with minor escalations and common area
maintenance charges. The lease terminated on June 30, 2018. On March 1, 2017, the Company entered into a sub-lease agreement
with its related party McGrow for its office facilities. McGrow did not fulfill its sub-lease agreement. In 2018, Two Rivers paid
Colorado Center $24,000 as a penalty for early lease termination.

In February 2017, we entered into a new lease with Parker Road Campus, LLC in Aurora, Colorado, for our corporate
headquarters. This space is 1,554 square feet and monthly payments of $2,201 which began on April 1, 2017. The lease terminates
on March 31, 2020. The amounts due at the base rate are as follows:

                                                Period                                                       Amount Due
                                      July 1 – December 31, 2019                                      $                   16,000
                                                 2020                                                 $                    7,000
                                                 2021                                                                          -

Defined Contribution Plan

Two Rivers does not have a defined contribution plan.

Employment Agreements

Since January 1, 2011, the Company has entered into a series of employment agreements with Wayne Harding in various capacities
including Chief Financial Officer initially and later as Chief Executive Officer and Chairman. The initial term of the contract was
one year, which renews automatically for successive one-year terms unless and until either party delivers notice of termination
within 30 days of the expiration of the then current term. The original employment agreement was modified in 2017. On September
10, 2019, Harding resigned his positions as Chief Executive Officer and Member of the Board of Directors effective September 30,
2019. On September 10, 2019, Harding and the Company entered into a Management Services Agreement effective October 1,
2019 with a four month renewable term.

The Board determines annual incentive compensation at the Board’s sole discretion. If there is a change of control, Mr. Harding is
entitled to an accelerated option vesting.

Prior Board of Directors Litigation

On August 8, 2017, a summons was issued in the Arapahoe County District Court on behalf of former board members Dennis
Channer, Rockey Wells and John Stroh demanding the Company pay $139,000 in attorneys’ fees owed to Ryley Carlock &
Applewhite (“RCA”) for services rendered to the former board members at their behest while members of the board. The Company
has agreed to pay $139,000 to RCA on behalf of Channer, Wells and Stroh. The $139,000 is included in our accounts payable on
the balance sheet.

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DFP Litigation

On October 18, 2017, at the Company filed a lawsuit against former employees of the its DFP farming operation for alleged theft.
We are in the process of gathering evidence of the theft and setting a court hearing date. A former employee of DFP has filed a
counter claim against the Company, which amount is immaterial. Management believes that claims against former employees are in
excess of any counter claims. The counter claim on the lawsuit was settled in November 2019 and the Company will pursue an
insurance claim for the theft losses.

NOTE 11 – RELATED PARTY

During the nine months ended September 30, 2019 Mr. Harding loaned the Company an additional $2,500. During the same period,
the Company made repayments of approximately $11,000 leaving an outstanding balance of approximately $7,000 at September
30, 2019.

In August 2019, the Company received $75,000 in Bridge loans from Gerald Anderton which were added to the balance of the
Credit Agreement with Investors Fiduciary, LLC. Mr. Anderton is an investor in Investors Fiduciary and currently serves on Two
Rivers’ Board and as Chairman of the Board. Greg Harrington, Chief Executive Officer of the Company is the controlling
shareholder of Investors Fiduciary.

NOTE 12 – SUBSEQUENT EVENTS

Pursuant to ASC 855, management has evaluated all events and transactions that occurred from September 30, 2019 through the
date of issuance of these financial statements. During this period, we had the following significant subsequent events:

    ●   On November 7, 2019, Two Rivers entered into an agreement (“Agreement”) with the Note Holder, an accredited investor,
        to provide a net of $315,000 in short term working capital. Two Rivers intends to use these funds for the payment of
        certain debts, payments on accounts and working capital.

        The face value of the convertible debt is $394,500 with a purchase price of $354,600, a 6-month term and an interest rate
        of 12% per annum. The debt is convertible at a price equal to the lower of (1) 70% multiplied by the lowest closing bid
        price or trading price (whichever is lower) of Two Rivers’ common shares during the 10 trading days immediately
        preceding the conversion date (representing a discount rate of 30%) and (2) $0.30 per share. The convertible note is
        subject to other terms and conditions.

        Two Rivers issued 1,083,791 shares of its common stock (the “Returnable Shares”) to the Note Holder, as well as an
        additional 200,000 shares of Common Stock (the “Commitment Shares”), subject to the terms and conditions of the
        Agreement and the Note, pursuant to the exemption from registration contained in Section 4(a)(2) of the Securities Act of
        1933. If Two Rivers pays the convertible debt prior to 180 days from the date of the convertible note, the Returnable
        Shares shall be returned by the Note Holder to Two Rivers. If Two Rivers fails to pay the convertible note by that date, the
        Note Holder may retain the Returnable Shares.

    ●   On October 18, 2019, Black Mountain completed the cashless exercise of 2,665,505 shares of Common Stock.

    ●   In September 2019, Vaxa entered into an agreement to purchase over $700,000 in extraction and processing equipment,
        and all seeds, clone and biological assets, as well as the 2019 hemp crop from Butte Valley farm, from Montverde
        Partners, LLC (“Montverde”), in exchange for 3,000,000 shares of our common stock which were contributed by Easby
        Land & Cattle, LLC. Monteverde is a joint venture partner of Vaxa in the Butte Valley hemp farming operation near
        Walsenburg, Colorado. The transaction closed in October 2019.

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ITEM 2. MANAGEMENT’S DISCUSSION AND ANALYSIS AND PLAN OF OPERATION

Unless the context requires otherwise, references in this Form 10-Q to “we,” “our,” “us” and similar terms refer to Two Rivers
Water & Farming Company and its subsidiaries.

Note about Forward-Looking Statements

This Form 10-Q contains forward-looking statements, such as statements relating to our financial condition, results of operations,
plans, objectives, future performance and business operations. These statements relate to expectations concerning matters that are
not historical facts. These forward-looking statements reflect our current views and expectations based largely upon the
information currently available to us and are subject to inherent risks and uncertainties. Although we believe our expectations are
based on reasonable assumptions, they are not guarantees of future performance and there are a number of important factors that
could cause actual results to differ materially from those expressed or implied by such forward-looking statements, including the
risks described in Item 1A. Risk Factors in our Annual Report on Form 10-K for the year ended December 31, 2018. By making
these forward-looking statements, we do not undertake to update them in any manner except as may be required by our disclosure
obligations in filings we make with the Securities and Exchange Commission under the Federal securities laws. Our actual results
may differ materially from our forward-looking statements.

Overview

Our core business is the development of our water assets.

Current Rights Holdings

In Colorado it is important to have both surface and storage rights, of which we have both. To date, we have acquired, managed and
used our water assets principally for use in irrigation, to increase the value and yield of our farmland.

We own the following surface water rights:

                                                                                    Appropriation Consumptive              Decreed
                  Structure                        Elevation        Priority No.         Date         Use                  Amount
Butte Valley Ditch                                  5,909 ft             1            5/15/1862     360 A.F.                1.2 cfs
Butte Valley Ditch                                                        9           5/15/1865                             1.8 cfs
Butte Valley Ditch                                                       86           5/15/1886                             3.0 cfs
Butte Valley Ditch                                                      111           5/15/1886                             3.0 cfs
Robert Rice Ditch                                    5,725 ft           19            3/01/1867     131 A.F.                3.0 cfs
Orlando Canal No. 3                                  5,911 ft                        10/19/1903
Huerfano Valley Ditch                                4,894 ft           120            2/2/1888    2,891 A.F.              42.0 cfs
Huerfano Valley Ditch                                                   342            5/1/1905                            18.0 cfs

“Consumptive use” is the term for the portion of a water diversion right that is actually consumed by its beneficial use. Where the
beneficial use is agricultural irrigation, consumptive use represents the amount of water consumed by the irrigated crop or
evaporated on the farm. After deducting consumptive use from the amount of water diverted and applied to irrigation, the
remainder is described as “return flow” to the system. Such return flows are generally subject to appropriation downstream. Only
the consumptive use portion of a given water right is subject to transfer (that is, a change in the point of diversion, place of use, or
purpose of use). Therefore, water rights are often assigned monetary value based on the consumptive use portion. Although
consumptive use varies by crop, rainfall, temperature and other factors, in southeastern Colorado, crops generally consume about
two acre-feet of applied water for each acre planted, depending on the crops planted. In order to provide that amount of
consumptive use water, an irrigator must generally apply three acre-feet of water (allowing for predictable return flow equal to
about one-third of the applied water). We measure our water rights both in terms of the amount of the diversion or storage right, as
the case may be, but also in terms of the historic consumptive use.

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The following table presents our holdings of storage water rights:

                                                                               Average
                                                                               Annual               Decreed     Estimate of Current
                                                        Priority Appropriation Yield                Amount       Effective Storage
                                              Elevation   No.         Date      (A.F.)               (A.F.)            (A.F.)
Huerfano Valley Reservoir                      4,702 ft    6        2/2/1888    1,424                 2,017            1,000
Cucharas Valley Reservoir                      5,570 ft   66       3/14/1906    3,055                31,956        Current no-fill
Cucharas Valley Reservoir                      5,705 ft  66c2      3/14/1906                         34,404         restriction1
Orlando Reservoir #2                           5,911 ft   349     12/14/1905    1,800                 3,110            1,500

Purchase of Vaxa Entities

On July 31, 2019, we completed our acquisition of Vaxa Global, LLC (“Vaxa”) from Easby Land & Cattle Company, LLC pursuant
to a share exchange agreement dated February 21, 2019 (the “Purchase Agreement”). Under the terms of the Purchase Agreement,
we acquired 100% of the membership interest in Vaxa in exchange for 30,000,000 shares of our common stock and an earn-out
arrangement for up to 20,000,000 additional shares of our common stock. The number of earn-out shares will equal the lesser of:

    ●    The quotient of 10 times the consolidated earnings before income taxes, depreciation and amortization, or EBITDA, of
         Vaxa for the twelve months ending June 30, 2020, divided by $1.00; and
    ●    20,000,000.

It is expected that the earn-out shares, if any, would be issued by August 2020.

Vaxa owns a 100% membership interest in each of Ekstrak Labs LLC and Gramz Holdings, LLC.

    ●    Vaxa grows hemp plants for cannabidiol, or CBD, extraction;
    ●    Ekstrak extracts CBD hemp; and
    ●    GramzTM produces and sells CBD extract in the form of both isolate and full-spectrum oil, compounds, such as Gramz
         Herbal Topical and Gramz Whole Plant Matrix Sublingual Drops, which have been developed to capitalize on the
         medicinal and therapeutic benefits of hemp.

We intend to expand Vaxa’s operations to grow hemp on land that we own, using water that we supply. This will, in turn, provide
additional hemp products to Ekstrak and Gramz™.

1 See State of Colorado litigation.
2 This is a conditional right while the engineering and construction of structures are completed to perfect a water right, in this case
to physically store the water. The conditional right establishes a seniority date but allows time for completion of the project.
Conditional rights are reviewed every six years by the water court to confirm that progress is being made on the effort to perfect the
right. When a conditional water right is perfected, which can be done incrementally in the case of storage, the water right becomes
absolute. In addition, the Cucharas Valley Reservoir has Conditional rights to 34,404 A.F. of additional storage.

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Results of Operations

For the Three Months Ended September 30, 2019, compared to the Three Months Ended September 30, 2018

During the three months ended September 30, 2019, we recorded revenues of approximately $108,000, compared to approximately
$5,000 in the three-month period ended September 30, 2018. The increase of $103,000 was due to Vaxa acquisition.

Operating expenses during the three months ended September 30, 2019 and 2018 were approximately $328,000 and $678,000,
respectively, excluding the dam demolition expense. The decrease of $350,000 was primarily due to the Company reducing its
general and administrative expenses.

Other income and expenses for the three months ended September 30, 2019 and 2018 were approximately $415,000 and $176,000,
respectively. The net increase of $239,000 in expenses was primarily the result of increased interest expense and a lack of gain on
asset sales.

During the three months ended September 30, 2019 and 2018, we recognized a profit from continuing operations of $190,000 and a
loss from continuing operations of $2,649,000, respectively.

During the three months ended September 30, 2019 and 2018, we recognized preferred distributions of approximately $6,000 and
$6,000 for the accrued dividends on the preferred stock of Water Redevelopment.

As the result of the foregoing, the net profit attributed to our common shareholders for the three months ended September 30, 2019
was $184,000, compared to a net loss of $2,655 for the three months ended September 30, 2018.

In December 2018, a contingent liability was established regarding the State of Colorado’s legal action to compel the Company to
demolish Cucharas #5 reservoir. In that period, the Company recognized an expense of $1,800,000. In July 2019, the Company
reached a settlement with the State of Colorado, whereby the Company will pay approximately $1,000,000 plus interest to the State
of Colorado in exchange for a full settlement of the above legal action. In the three months ending September 30, 2019, the
Company recognized a gain of $825,000 from the reduction of this contingent liability from $1,800,000 to approximately
$1,000,000, along with additional non-cash gains of approximately $25,000 from the negotiations and resolution of previously
recorded accounts payable, on Two Rivers’ in these financial statements.

For the Nine Months Ended September 30, 2019, compared to the Nine Months Ended September 30, 2018

During the nine months ended September 30, 2019, we recorded revenues of approximately $145,000, compared to approximately
$22,000 in the nine-month period ended September 30, 2018. The increase of $123,000 was due to the Vaxa acquisition.

Operating expenses during the nine months ended September 30, 2019 and 2018 were approximately $1,197,000 and $1,913,000,
respectively. The decrease of $716,000 was primarily due to the Company reducing its general and administrative expenses.

Other income and expenses for the nine months ended September 30, 2019 and 2018 were approximately $897,000 in expenses and
$11,549,000 in income, respectively. The net increase of $12,446,000 is mostly due to the recognition of the GrowCo
deconsolidation.

During the nine months ended September 30, 2019 and 2018, we recognized a loss from continuing operations of $1,124,000 and a
profit from continuing operations of $7,858,000, respectively.

During the nine months ended September 30, 2019 and 2018, we recognized preferred distributions of approximately $18,000 and
$1,002,000. The reduction is due to the Company ceasing to record an accrual for the TR Capital’s preferred distribution as of July
2018.

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As the result of the foregoing, the net loss attributed to our common shareholders, after recognizing preferred distributions and
income attributed to non-controlling interest, for the nine months ended September 30, 2019 was $1,142,000 loss, compared to a
profit of $6,046,000 for the nine months ended September 30, 2018.

Liquidity and Capital Resources

Resources

We have expanded our operations relying on various funding mechanisms, including debt, convertible debt and equity capital.
Since inception, we have raised and invested over $96 million to acquire, improve, integrate farm/water assets, launch related
businesses, and support operations.

We believe with the anticipated influx of additional capital from strategic partners we will have sufficient capital to meet our
anticipated cash needs for at least the next twelve months. In January and February 2019, the Company engaged in discussions with
the Vaxa Group that would, among other things, strengthen and expand our business operations and enable the Company to raise
additional capital. This acquisition of Vaxa closed on July 31, 2019. It is anticipated that this acquisition has, and will, facilitate the
Company’s receipt of working capital and provide strategic, vertically integrated hemp-focused businesses.

Our future working capital requirements will depend on many factors, including the expansion of farming and water projects. To
the extent our cash, cash equivalents and cash flows from operating activities are insufficient to fund our future activities, we may
need to raise additional funds through public or private equity or debt financing. We also may need to raise additional funds in the
event we determine in the future to effect one or more acquisitions of businesses, technologies and products. If additional funding is
required, we may not be able to effect an equity or debt financing on terms acceptable to us or at all.

We historically have funded our operations primarily from the following sources:

    ●    proceeds of private placements of equity, equity-related and debt securities of Two Rivers Water & Farming Company and
         subsidiaries;
    ●    cash flow generated from operations; and
    ●    loans and lines of credit.

At the present time we have no available line or letters of credit.

Cash flow from operations has not historically been sufficient to sustain our operations without the above additional sources of
capital. As of September 30, 2019, we had cash and cash equivalents of approximately $401,000. Cash flow used in our operating
activities totaled approximately $789,000 for the nine months ended September 30, 2019 compared to operating activities using
approximately $824,000 for the nine months ended September 30, 2018.

As of September 30, 2019, we had approximately $481,000 in current assets and approximately $21,585,000 in current liabilities.
A large portion of the current liabilities ($7,373,000) is from the HCIC seller carryback notes, some of which were due June 30,
2016. As of September 30, 2019, we continue to be in default on the HCIC note payments. As a result, the entire amount of the
notes has been classified as current.

Cash provided by investing activities was approximately $23,000 for the nine months ended September 30, 2019 compared to cash
used in investing activities of approximately $30,000 for the nine months ended September 30, 2018.

Cash provided by financing activities was approximately $1,161,000 for the nine months ended September 30, 2019 compared to
cash provided of approximately $894,000 for the nine months ended September 30, 2018.

Due to our financial condition, we have had to resort to borrowing under short-term convertible notes, which have high financing
costs associated with them. On September 24, 2019, we executed a convertible promissory note in the principal amount of
$575,000 had a purchase price of $517,500, a 6-month term, and an interest rate of 10% per annum. Net proceeds were
approximately $457,500. The debt is convertible at a per common stock price at the lower of 70% multiplied by the 10-day trailing
market price of Two Rivers’ common shares (representing a discount rate of 30%) or $0.30/share. We issued 1,101,532 shares of
our common stock (the “Returnable Shares”) to the note holder, as well as an additional 220,306 shares of Common Stock (the
“Commitment Shares”), subject to the terms and conditions of the securities purchase agreement and the note, pursuant to the
exemption from registration contained in Section 4(a)(2) of the Securities Act of 1933. If Two Rivers pays the convertible debt
prior to 180 days from the date of the convertible note, the Returnable Shares shall be returned by the note holder to Two Rivers. If
Two Rivers fails to pay the convertible note by that date, the note holder may retain the Returnable Shares.
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On November 7, 2019, we entered into a similar convertible note arrangement to provide a net of $315,000 in short term working
capital. The face value of the convertible debt is $394,500 with a purchase price of $354,600, a 6-month term and an interest rate of
12% per annum. The debt is convertible at a price equal to the lower of (1) 70% multiplied by the lowest closing bid price or
trading price (whichever is lower) of Two Rivers’ common shares during the 10 trading days immediately preceding the conversion
date (representing a discount rate of 30%) and (2) $0.30 per share. We issued 1,083,791 shares of our common stock (the
“Returnable Shares”) to the note holder, as well as an additional 200,000 shares of Common Stock (the “Commitment Shares”),
subject to the terms and conditions of the securities purchase agreement and the note, pursuant to the exemption from registration
contained in Section 4(a)(2) of the Securities Act of 1933. If Two Rivers pays the convertible debt prior to 180 days from the date
of the convertible note, the Returnable Shares shall be returned by the Note Holder to Two Rivers. If Two Rivers fails to pay the
convertible note by that date, the Note Holder may retain the Returnable Shares.

We intend to use these funds for the payment of certain debts, payments on accounts and working capital.

Going Concern

The consolidated financial statements have been prepared assuming the Company will continue as a going concern. The Company
has not generated significant revenues and has a net loss of $1,142,000 during the nine months ended September 30, 2019. Cash
consumed from our operations during the nine months ended September 30, 2019 was $789,000. At September 30, 2019, the
Company had a working capital deficit of $21,104,000 and an accumulated deficit of approximately $95,596,000. The HCIC seller
carry back debt are in technical default.

These factors raise substantial doubt about the Company’s ability to continue as a going concern. The accompanying consolidated
financial statements do not include any adjustments relating to the recoverability or classification of assets or the amounts and
classification of liabilities that may result should the Company be unable to continue as a going concern. The following paragraphs
describe management’s plans to mitigate.

We are in the process of working with the Vaxa Entities and its funders to continue to fund Two Rivers operations. There is no
assurances that this additional funding will occur.

Additionally, we continue to reduce our general and administrative expenses and cash required for our operations.

Management Plans

We believe that the actions discussed above are probable of occurring and mitigating the substantial doubt raised by our historical
operating results. We believe the actions will satisfy our estimated liquidity needs 12 months from the issuance of these financial
statements. However, we cannot predict, with certainty, the outcome of our actions to generate liquidity, including the availability
of additional financing, or whether such actions would generate the expected liquidity as currently planned. There is, however, no
assurance that the Company will be able to raise any additional capital through any type of offering on terms acceptable to the
Company, as existing cash on hand will be insufficient to finance operations over the next twelve months.

Critical Accounting Policies

We have identified the policies below as critical to our business operations and the understanding of our results from operations.
The impact and any associated risks related to these policies on our business operations is discussed throughout “Management’s
Discussion and Analysis of Financial Conditions and Results of Operations” where such policies affect our reported and expected
financial results. For a detailed discussion of the application of these and other accounting policies, see Note 2 of the notes to
condensed consolidated financial statements included elsewhere in this Form 10-Q. Our preparation of such condensed
consolidated financial statements and this Form 10-Q requires management to make estimates and assumptions that affect the
reported amount of assets and liabilities, disclosure of contingent assets and liabilities at the date of our financial statements, and
the reported amounts of revenue and expenses during the reporting period. There can be no assurance that actual results will not
differ from those estimates.

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Revenue Recognition

We follow specific and detailed guidelines in measuring revenue; however, certain judgments may affect the application of our
revenue policy. Revenue results are difficult to predict, and any shortfall in revenue or delay in recognizing revenue could cause our
operating results to vary significantly from quarter to quarter and could result in future operating losses.

Goodwill and Intangible Assets

We have acquired water shares in Huerfano-Cucharas Irrigation Company, which is considered an intangible asset and shown on
our balance sheet as part of “Water assets”. Currently, these shares are recorded at purchase price less our pro rata share of the
negative net worth in HCIC Holdings, LLC. Management evaluates the carrying value, and if necessary, will establish an
impairment of value to reflect current fair market value.

In conjunction with the acquisition of Vaxa, the Company recognized goodwill of approximately $14,100,000 based on the
issuance of 30,000,000 shares at the closing share price ($0.44) on the date of acquisition (July 31, 2019) plus net liabilities
acquired (See NOTE 8).

Impairment Policy

At least once every year, management examines all of our assets for proper valuation and to determine if an impairment is
necessary. In terms of real estate owned, this impairment examination also includes the accumulated depreciation. Management
examines market valuations and if an additional impairment is necessary for lower of cost or market, then an impairment charge is
recorded.

ITEM 3. QUANTITATIVE AND QUALITATIVE DISCLOSURES ABOUT MARKET RISK

We are exposed to the impact of interest rate changes and change in the market values of our real estate properties and water assets.
Because we had no market risk sensitive instruments outstanding as of September 30, 2019, it was determined that there was no
material market risk exposure to our consolidated financial position, results of operations, or cash flows as of such date. We do not
enter into derivatives or other financial instruments for trading or speculative purposes.

ITEM 4. CONTROLS AND PROCEDURES

Management’s Evaluation of Disclosures Controls and Procedures

Our management, comprised of our chief executive officer (CEO) and chief financial officer (CFO), (presently the same person
fills both officer roles), evaluated the effectiveness of our disclosure controls and procedures as of September 30, 2019. The term
“disclosure controls and procedures,” as defined in Rules 13a-15(e) and 15d-15(e) under the Exchange Act, means controls and
other procedures of a company that are designed to ensure that information required to be disclosed by a company in the reports
that it files or submits under the Exchange Act is recorded, processed, summarized and reported within the time periods specified in
the SEC’s rules and forms. Based on that evaluation, and taking the matters described below into account, the Company’s
CEO/CFO has concluded that our disclosure controls and procedures over financial reporting were not effective during reporting
period ended September 30, 2019.

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Management’s Report on Internal Control Over Financial Reporting

Our management is responsible for establishing and maintaining adequate internal control over our financial reporting. “Internal
control over financial reporting” is defined in Rule 13a-15(f) or 15d-15(f) under the Exchange Act as a process designed by, or
under the supervision of, a company’s principal executive and principal financial officers and effected by a company’s board of
directors, management and other personnel to provide reasonable assurance regarding the reliability of financial reporting and the
preparation of financial statements in accordance with U.S. generally accepted accounting principles and includes those policies
and procedures that:

    ●    pertain to the maintenance of records that, in reasonable detail, accurately and fairly reflect the transactions and
         dispositions of the assets of a company;

    ●    provide reasonable assurance that transactions are recorded as necessary to permit preparation of financial statements in
         accordance with U.S. generally accepted accounting principles and that receipts and expenditures of a company are being
         made only in accordance with authorizations of management and directors of a company; and

    ●    provide reasonable assurance regarding prevention or timely detection of unauthorized acquisition, use, or disposition of a
         company’s assets that could have a material effect on the financial statements.

A material weakness is a control deficiency, or combination of control deficiencies, such that there is a reasonable possibility that a
material misstatement of the annual or interim financial statements will not be prevented or detected on a timely basis.

Our internal control system was designed to provide reasonable assurance to our management and board of directors regarding the
preparation and fair presentation of published financial statements. All internal control systems, no matter how well designed, have
inherent limitations, which may not prevent or detect misstatements. Therefore, even those systems determined to be effective can
provide only reasonable assurance with respect to financial statement preparation and presentation. Projections of any evaluation of
effectiveness to future periods are subject to the risk that controls may become inadequate because of changes in conditions, or that
the degree of compliance with the policies or procedures may deteriorate.

Based upon our evaluation of internal controls, the Company’s management determined that the Company’s controls over financial
reporting were not adequate to ensure complex accounting calculations were performed correctly. As such, the Company’s
CEO/CFO has concluded that the Company’s disclosure controls and procedures contain a material weakness as of the end of the
period covered by this Report. Because of the material weaknesses identified, a reasonable possibility exists that a material
misstatement in our consolidated financial statements will not be prevented or detected on a timely basis. While our internal
controls are established and followed, it is clear by the identified weaknesses that they were not operating as they should be.
Management believes that this was the case due to our limited staff along with time constraints and staff turnover. However, our
CEO/CFO, who is also our Principal Accounting Officer, believes that the financial statements included in this quarterly report on
Form 10-Q present, in all material respects, our financial position, results of operations and cash flows for the periods presented, in
conformity with U.S. GAAP.

Plan for Remediation of Material Weaknesses

The remediation effort outlined below is intended to address the identified material weaknesses in internal control over financial
reporting.

Once significant additional capital is raised, we plan to hire a qualified Chief Financial Officer. A short-term task of the new CFO
will be to do a formal assessment of our internal controls.

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                                               PART II. OTHER INFORMATION

ITEM 1. LEGAL PROCEEDINGS

State of Colorado litigation

Two Rivers, the State of Colorado (Office of the State Engineer and the local Division Engineer), and neighboring water rights
holders have been involved in litigation concerning water rights and claims by the State concerning an existing dam in Huerfano
County, Colorado, and a demand by the State to breach the dam structure. (Two Rivers Water and Farming Co. vs. Welton Land and
Water Co., (Pueblo Water Court)). As part of the litigation, Two Rivers has sought to have certain water rights demands by the
neighboring water rights holders deemed wasteful. In the quarter ending March 31, 2016, Two Rivers entered into a stipulation
agreement with the State, settling the State’s claims, whereby Two Rivers agreed to take the existing dam structure down to the
sediment level. Two Rivers was able to empty all the water in the Dam, but it was not be able to meet the requirements of the
stipulation agreement by March 31, in part due to lack of capital. On April 3, 2018, Two Rivers was notified that the State had filed
a motion for the issuance of a contempt of court citation based upon its failure to comply with the consent decree by March 31,
2018.

The State of Colorado also sued Mr. Harding (current CEO and acting CFO), the prior CFO, and the former directors of Two
Rivers, former director and CEO John McKowen who had executed the agreement with the State for contempt for their failure to
compel Two Rivers to carry out its obligations under the 2016 agreement. The five independent directors of Two Rivers resigned in
November 2018. The case against Two Rivers and all the individuals had been scheduled for trial starting October 28, 2019. The
Company has accrued $1,800,000 as a liability to cover the cost of deconstruction and penalties and fines.

In July 2019, the Company reached a settlement with the State of Colorado, whereby the Company will pay approximately
$922,000 plus interest to the State of Colorado in exchange for a full settlement of the above legal action. The Company anticipates
recognizing a reduction of this contingent liability from $1,800,000 to approximately $922,000, along with additional non-cash
gains of approximately $50,000 from the negotiations and resolution of previously recorded accounts payable, on Two Rivers’
financial reports dated September 30, 2019.

Lawsuit against former employees

On October 18, 2017, at the Company filed a lawsuit against former employees of its DFP farming operation for alleged theft. We
are in the process of gathering evidence of the theft and setting a court hearing date. A former employee of DFP has filed a counter
claim against the Company, which amount is immaterial. Management believes that claims against former employees are in excess
of any counter claims. The counter claim on the lawsuit was settled in November 2019 and the Company will pursue an insurance
claim for the theft losses.

Blue & Green litigation

On January 19, 2018 Blue & Green, LLC (“Blue Green”) filed a complaint against GrowCo, Inc. claiming a default on payments
by GrowCo to Blue Green under the terms of the GrowCo $2,115,000 promissory note held by Blue Green. The complaint is
requesting immediate payment of the note, back due interest in excess of $300,000, and attorney fees. The Blue Green note is also
secured by certain water and land property owned by Two Rivers. As a result of Blue Green’s action, the Company has recorded a
contingent liability of $2,359,000, which represents a current appraisal of the assets pledged by the Company. The Company
understands that GrowCo is currently in a bankruptcy proceeding.

ITEM 1A. RISK FACTORS

The risks described in Item 1A. Risk Factors, in our Annual Report on Form 10-K for the year ended December 31, 2018, could
materially and adversely affect our business, financial condition and results of operations. Those risk factors do not identify all
risks that we face, and operations could also be affected by factors that are not presently known to us or that we currently consider
to be immaterial to our operations.

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ITEM 2. UNREGISTERED SALES OF EQUITY SECURITIES AND USE OF PROCEEDS

During the quarter ended September 30, 2019 we issued and sold the unregistered securities set forth in the table below.

                                   Persons or Class of
             Date                       Persons                          Securities                        Consideration
         July 12, 2019             TR Capital Preferred        14,840 shares of Common Stock           TR Capital Conversion
                                                                 523,395 shares of Common          Cashless exercise of warrant for
         July 17, 2019           Black Mountain Equities                    Stock                        previous financing
                                  Easby Land & Cattle           30,000,000 shares of Common          100% of Vaxa Global, LLC
         July 31, 2019               Company, LLC                           Stock                      valued at $13,200,000
                                                                 139,985 shares of Common
        August 9, 2019             TR Capital Preferred                     Stock                      TR Capital Conversion
                                                                 185,000 shares of Common           Professional services valued at
        August 14, 2019              Andrew Norstrud                        Stock                              $49,950
                                                                1,321,838 shares of Common            Financing costs valued at
    September 23, 2019               Labrys Fund, LP                        Stock                             $355,000

We relied upon the exemption from registration contained in Section 4(a)(2) under the Securities Act, as the securities were sold
only to investors, sophisticated as to the business of the Company, without the use of general solicitation or advertising. No
underwriters or placement agents were used and no commissions were paid in the above stock transactions. A restrictive legend
was placed on the certificates evidencing the securities issued in the above transactions.

ITEM 3. DEFAULTS UPON SENIOR SECURITIES

None.

ITEM 4. MINE SAFETY DISCLOSURES

Not applicable.

ITEM 5. OTHER INFORMATION

None.

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ITEM 6. EXHIBITS

 Regulation
S-K Number                                                        Document
    2.1       Share Exchange Agreement dated February 22, 2019, between Two Rivers Water & Farming Company and Easby
              Land & Cattle Company, LLC (1)
   10.1       Convertible Promissory Note dated September 19, 2019 to Labrys Fund, LP (2)
   10.2       Securities Purchase Agreement dated September 19, 2019 between Two Rivers Water & Farming Company and
              Labrys Fund, LP (2)
   31.1       Rule 13a-14(a) Certification of Greg Harrington
   32.1       Certification of Greg Harrington Pursuant to 18 U.S.C. Section 1350, as Adopted Pursuant to Section 906 of the
              Sarbanes-Oxley Act of 2002
    101       Financial statements from the Quarterly Report on Form 10-Q of Two Rivers Water & Farming Company for the
              quarterly period ended September 30, 2019, formatted in XBRL: (i) the Balance Sheets; (ii) the Statements of
              Operations; (iii) the Statements of Cash Flows; and (iv) the Notes to Financial Statements (5)

  (1) Filed as an exhibit to the Current Report on Form 8-K filed February 26, 2019.
  (2) Filed as an exhibit to the Current Report on Form 8-K filed September 26, 2019.
  (3) In accordance with Rule 406T of Regulation S-T, the information in these exhibits shall not be deemed to be “filed” for
      purposes of Section 18 of the Securities Exchange Act of 1934, as amended, or otherwise subject to liability under that
      section, and shall not be incorporated by reference into any registration statement or other document filed under the
      Securities Act of 1933, as amended, except as expressly set forth by specific reference in such filing.

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                                                         SIGNATURES

         Pursuant to the requirements of the Securities Exchange Act of 1934, the registrant caused this report to be signed on its
behalf by the undersigned, thereunto duly authorized.

                                                                 TWO RIVERS WATER & FARMING COMPANY

Dated: November 25, 2019                                         By: /s/ Greg Harrington
                                                                     Greg Harrington, Chief Executive Officer and
                                                                     Chief Financial Officer

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                         EXHIBIT 3
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                                                          Washington, D.C. 20549



                                                            CURRENT REPORT

                                   Pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934

                                          Date of report (date of earliest event reported): July 1, 2020



                                              (Exact name of registrant as specified in its charter)

                                                       Commission File No.: 000-51139

                                Colorado                                                                   XX-XXXXXXX
                              (State or other                                                           (I.R.S. Employer
                      jurisdiction of incorporation)                                                   Identification No.)

                 129 E B Street, Pueblo Colorado                                                            81003
               (Address of principal executive offices)                                                   (Zip Code)

                                      Registrant’s telephone number, including area code: (303) 222-1000

                                          3025 S. Parker Road, Suite 140, Aurora, Colorado 80014
                                         (Former name or former address, if changed since last report)

Check the appropriate box below if the Form 8-K filing is intended to simultaneously satisfy the filing obligation of the registrant under
any of the following provisions:

[ ] Written communications pursuant to Rule 425 under the Securities Act (17 CFR 230.425)

[ ] Soliciting material pursuant to Rule 14a-12 under the Exchange Act (17 CFR 240.14a-12)

[ ] Pre-commencement communications pursuant to Rule 14d-2(b) under the Exchange Act (17 CFR 240.14d-2(b))

[ ] Pre-commencement communications pursuant to Rule 13e-4(c) under the Exchange Act (17 CFR 240.13e-4(c))

Securities registered pursuant to Section 12(b) of the Act: None

Title of each class                     Trading Symbol(s)                     Name of each exchange on which registered


Indicate by check mark whether the registrant is an emerging growth company as defined in Rule 405 of the Securities Act of 1933 or
Rule 12b-2 of the Securities Exchange Act of 1934.

                                                                                                                   Emerging growth company [X]

If an emerging growth company, indicate by check mark if the registrant has elected not to use the extended transition period for
complying with any new or revised financial accounting standards provided pursuant to Section 13(a) of the Exchange Act. [ ]
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Item 5.02      Departure of Directors or Certain Officers; Election of Directors; Appointment of Certain Officers; Compensatory
               Arrangements of Certain Officers.

Appointment of interim Chief Financial Officer

Effective July 1, 2020, Ms. Heather Kearns, age 42, was appointed to serve as the interim Chief Financial Officer of the registrant. Since
2018, Ms. Kearns has worked with Two Rivers Water & Farming Company assisting with preparation of filings.

Ms. Heather Kearns has over 20 years of experience in accounting and financial reporting with private and public companies of various
sizes. She is a Certified Public Accountant in the state of Colorado, and has almost 10 years as a firm owner, offering accounting and
consulting services. Ms. Kearns’s background includes managing and oversight for financial statements and disclosures, filing S-1
registration and other SEC filings, preparation of financial reports including 10-Q’s, 10-K’s, and 8-K’s, and coordinating annual audits and
quarterly reviews. She will provide oversight of the finance and accounting team, coordinate with Compliance, and work with the
Company’s tax consultants to prepare all tax documentation and returns. Ms. Kearns provides the assistance to strengthen the Company’s
processes and procedures, and also contributes to the development of a Company’s strategy and long-term planning. Ms. Kearns is a
graduate of Auburn University in Auburn, Alabama, with a Bachelor of Science in Business Administration, and a Master of Business
Administration from Auburn University in Montgomery, Alabama.

Ms. Kearns’ contract with Two Rivers Water & Farming Company commenced on July 1, 2020 and is through September 30, 2020, with
option of renewal. Compensation consists of a combination of filing, flat rate and success fees.

Item 7.01      Regulation FD Disclosure.

Management provided an update to its stockholders on July 15, 2020. A copy of the update is included as Exhibit 20.1. This Form 8-K and
the information included as exhibits shall not be deemed to be “filed” for purposes of Section 18 of the Securities Exchange Act of 1934,
as amended (“Exchange Act”), nor shall it be incorporated by reference into a filing under the Securities Act of 1933, as amended
(“Securities Act”), or the Exchange Act, except as expressly set forth by specific reference in such a filing. The furnishing of the
information in this report is not intended to, and does not, constitute a determination or admission by the Company that the information in
this report is material or complete, or that investors should consider this information before making an investment decision with respect to
any security of the Registrant or any of its affiliates.

Item 9.01      Financial Statements and Exhibits.

Exhibit
 No.                                                                 Description
 20.1   Letter to stockholders dated July 15, 2020

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                                                              SIGNATURE

Pursuant to the requirements of the Securities Exchange Act of 1934, the registrant has duly caused this report to be filed on its behalf by
the undersigned hereunto duly authorized.

                                                                     Tඐඈ Rංඏൾඋඌ Wൺඍൾඋ ๟ Fൺඋආංඇ඀ Cඈආඉൺඇඒ

Dated: July 17, 2020

                                                                     By: /s/ Greg Harringon
                                                                         Greg Harrington, CEO/CFO

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                                                     EXHIBIT INDEX

Exhibit
 No.                                                      Description
 20.1   Letter to stockholders dated July 15, 2020

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                                                                                                                               Exhibit 20.1




                                               Two Rivers Water & Farming Company
                                                        Letter to Shareholders
                                                                 from
                                             Chief Executive Officer, Mr. Greg Harrington

Dear Two Rivers Shareholders,

As we start into the Q3 2020, I wanted to reach out to our shareholders and keep you apprised of the recent happenings within Two Rivers
and our subsidiaries. I’ll touch on the state of the Company in regard to how we are navigating through these challenging times during the
pandemic, farm and water infrastructure updates, and legal, accounting and operational matters at hand.

First, I want to welcome our new interim Chief Financial Officer, Ms. Heather Kearns, who officially joined our team July 1, 2020. As a
CPA, Ms. Kearns has a strong financial knowledge of public company accounting and has been assisting Two Rivers in their accounting
filings since 2018. We are very excited to have her on board and confident that she can assist in simplifying our accounting processes and
bring us up to date with our required filings. You can learn more about her background by referring to her bio inserted at the bottom of this
letter.

Ms. Kearns’s history of assisting the previous accounting team of Two Rivers during audits and filings, coupled with her strong financial
knowledge of public company accounting, makes her the perfect fit for this position.

WaterVault Transaction

The acquisition of Huerfano-Cucharas Irrigation Company (“HCIC”) which owns water rights of Cucharas Valley No. 05 Dam and
Reservoir from our Company by WaterVault America Inc (“WaterVault”), announced in April, is in the final stages of procuring the
financing for the dam. WaterVault is a service-disabled veteran owned, unaffiliated, Colorado Public Benefits Corporation dedicated to
creating sustainable economic development in rural communities. We will offer additional pertinent updates as they unfold.

COVID-19 Update

As the COVID-19 pandemic continues to evolve, I wanted to share with you how Two Rivers is managing through the pandemic. We
continue to adjust to the “new normal” environment that is consistently evolving during this time and our overall situation is both positive
and steady. Among the steps that our team has made to stabilize our business are:

             o    Reducing our overhead significantly; each active team member has taken on multiple roles to ensure we maintain a low
                  monthly overhead & our main office relocated to Pueblo, giving us a cost-effective office with easy access to our
                  properties.




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             o   Reaching out to vendors and taking advantage of opportunities for payment deferral and incremental benefits offered.
             o   Closely monitoring payables and actively working with our vendors on payment arrangements that are mutually
                 beneficial.
             o   Conducting scenario planning/analysis to drive management decisions and maintain the health of the business.
             o   Maintaining a strong focus on preserving cash and prudent fiscal management.
             o   Uncovering areas of opportunity for our company to generate revenue through sales of non-agricultural / tilled land.
             o   Taking advantage of the extended filing periods offered by the SEC. Due to the nature of the pandemic, including a
                 significant impact of our accounting department included in our companywide furlough, we anticipate our of 10K
                 (2019) and 10Q’s (Q1/Q2 2020) to be filed by during September this year.

Farming Operations

With regards to our farming operations, several months ago we engaged a farm management team with over 30 years of hands on
agricultural farming experience in various crop rotations, weather patterns, as well as cattle operations. In a short period of time, with
minimal resources we have repaired multiple ditch structures, one of which has been damaged due to neglect for years, resulting in a more
stabilized water resource for surrounding farmland.

We have also course corrected errors from the former farm & ditch management of the Butte Valley Farms, involving remedying years of
accumulated damage as a result of improper tillage rotation of soil and unacceptable level of neglect towards our water management,
including ditch cleaning. Additionally, we have filed charges for pursuing the disappearance of farm equipment missing in the excess of
$1,000,000. This is an ongoing issue and we will disclose additional updates as it becomes available.

As you can see, these are all issues that require capital to replace, and is an inherited challenge that could have been avoided. We are
happy to report that we now have a solid team onsite that continue to do an incredible job prepping the land and attending to the water
infrastructure.

Dionisio Farms

There have been some questions as to our level of farming surrounding the Dionisio Farms operations. In 2012 we acquired Dionisio
Farms & Product, Inc. (“DFP) and in late 2016, based on three years of operational losses, we decided to sell DFP assets. You can
reference our 2017 year end 10K filings for more information on that transaction.

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Company Operations, Legal Matters & Legacy Issues

During our internal audit that I previously spoke of in November, we uncovered a number of legal, accounting and operational issues that
were not properly disclosed to us prior to the Vaxa merger and my acceptance of the interim CEO/CFO position.

My hope was that prior to the Vaxa merger, and agreeing to the CEO position, former Leadership/Management, which I’ll refer to as
‘Leadership’, would openly and comprehensively divulge unresolved legal and financial dealings, and would behave in a cooperative
manner, disclosing any and all access to information that would allow me to make future decisions regarding our company for the benefit
of the shareholders. Regrettably it appears that there was a gap between the information disclosed to us prior to our merger, and the reality
at hand.

Amongst those critical issues included a judgement/garnishment of nearly $225,000 in October 2019 with regards to a legal matter
involving Welton Land & Water Co., of which former Leadership was aware but neglected to properly inform our current team. This
financially blindsided us during one of the most critical points of our company during my time here.

In November I also referred to the share issuance obligation on a series of Promissory Notes starting in May 2017 with Black Mountain
Equities where the warrants issued resulted in a severed ratcheting of the number of shares on the warrants. The ratcheting was triggered
by a previous transaction and resulted in the warrants which were originally issued for 586,000 shares at $1.00 per share to balloon over
5.0 million shares at $0.0785 per share. This is another example of a serious matter where multiple modifications to the Note were agreed
to by former Leadership, and improperly disclosed to us, creating weakness in our stock price likely as a result of the downward pressure
imposed by the Black Mountain warrants and the convertible loans issued by Two Rivers prior to me joining the Executive Team, as
opposed to any change in the underlying fundamentals of the Company during that period of time.

Former Leadership further exercised bad judgement when signing a financing agreement that was what I would refer to as ‘too good to be
true’ deal between Water Redevelopment, a subsidiary of Two Rivers, and America 2030 & Bentley Rothchild, led by Val Sklarov, a
known recidivist securities offender. Leadership had the Company reserve shares, yet America 2030 et al has never funded any money it
contractually agreed to, and yet through a loophole provision in the agreement, they sought to take possession of the shares. We
successfully blocked the transfer to date, but were contractually obligated to arbitration in St. Kitts, resulting in a number of hurdles for
our counsel, including their inability to find out the ruling until after America 2030 was awarded $137,000 in fees, on top of what we
estimate to be collectively around $150,000 in legal and administrative fees from our Company’s side. It is my belief that proper due
diligence from our former Leadership could have avoided this tragic and completely preventable compromising situation.

Accounting and legal delays have also occurred due to the lack of access to information. Any professional in the public market space
should agree that a reliable document storage system is pertinent to maintaining up to date records that are remotely accessible and easy to
navigate. Instead, former Leadership created a series of different platforms for document storage, including paper files, servers, and
multiple cloud-based storage systems, with no consistent organization. This created unpredictable delays in hitting definitive deadlines,
especially during this pandemic and work-from-home set-ups.

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This may not seem like much of an issue, but I assure you it has been more than just some ‘messy or missing files’, whereas every hour
spent searching for simple documents equaled valuable resources of time and money spent that could have been avoided. We have since
initiated a streamlined documentation process and started consolidating these platforms into a centralized location. Although it seems at
times, we are on a scavenger hunt to find reference materials, luckily our team is resilient and persistent.

Closing Remarks

Given my professional background, I can assure you that these issues are resolvable, but not overnight. We have made vast strides in the
relatively short time our new team has taken over. Even in light of all these findings, our team remains diligent in our efforts to untangle
and resolve the legacy issues we inherited and restore market confidence in what I would like to refer to as a diamond in the rough. Our
assets speak for themselves, and we all know diamonds are formed under pressure but never forget they are not formed overnight.

We appreciate your ongoing participation and support in Two Rivers.

Sincerely Yours,




Greg Harrington
CEO

About Two Rivers

Two Rivers Water & Farming Company is a vertically integrated agricultural and water rights company with over a decade of experience
focused on building a portfolio of water rights and real estate in Colorado. Two Rivers is focused on expanding their agribusiness along
with development and rehabilitation of its water assets. www.2RiversWater.com

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         About Heather Kearns

         Ms. Heather Kearns has over 20 years of experience in accounting and financial reporting with private and public companies of various
         sizes. She is a Certified Public Accountant in the state of Colorado, and has almost 10 years as a firm owner, offering accounting and
         consulting services. Ms. Kearns’s background includes managing and oversight for financial statements and disclosures, filing S-1
         registration and other SEC filings, preparation of financial reports including 10-Q’s, 10-K’s, and 8-K’s, and coordinating annual audits
         and quarterly reviews. She will provide oversight of the finance and accounting team, coordinate with Compliance, and work with the
         Company’s tax consultants to prepare all tax documentation and returns. Ms. Kearns provides the assistance to strengthen the Company’s
         processes and procedures, and also contributes to the development of a Company’s strategy and long-term planning.

         Ms. Kearns is a graduate of Auburn University in Auburn, Alabama, with a Bachelor of Science in Business Administration, and a Master
         of Business Administration from Auburn University in Montgomery, Alabama.

         Forward-Looking Statements

         This news release contains “forward-looking statements.”. Statements that are not purely historical are forward-looking statements and
         include any statements regarding beliefs, plans, expectations or intentions regarding the future. Actual results could differ from those
         projected in any forward-looking statements due to numerous factors, including the inherent uncertainties associated with developing and
         acquiring land and water resources. There can be no assurance Two Rivers will be able to initiate and operate in accordance with its
         business plans. These forward-looking statements are made as of the date of this news release, and Two Rivers assumes any obligation to
         update the forward-looking statements or to update the reasons why actual results could differ from those projected in the forward-looking
         statements.

         Investor Relations:
         Two Rivers Water & Farming Company
         info@2riverswater.com

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                             GOLDMAN SCARLATO & PENNY, P.C.
                                161 Washington Street, Suite 1025
                                    Conshohocken, PA 19428
                                        (484) 342-0700


          GOLDMAN SCARLATO & PENNY, P.C. is a nationwide class action law firm. Our

   lawyers have dedicated their careers to vindicating the rights of ordinary people and businesses

   victimized by anticompetitive conduct, securities fraud, identity theft, deceptive consumer

   practices, or who have suffered harm as a result of defective medical devices and dangerous drugs.

   Goldman Scarlato & Penny, P.C. prosecutes securities fraud, antitrust, and consumer fraud class

   actions, investor arbitrations, sexual assault cases, as well as mass actions on behalf of those

   injured by defective medical devices and dangerous drugs throughout the United States. The

   Firm’s lawyers have recovered hundreds of millions of dollars on behalf of their clients and helped

   to institute meaningful changes in business practices that seek to ensure robust competition in

   commercial markets, honest and fair disclosures in financial markets, and truthful advertising in

   retail markets.

          The Firm has played prominent roles in several noteworthy and ground-breaking cases.

   Recently, the Firm has fought to protect those whose most sensitive and private data was

   compromised in In re Anthem, Inc. Data Breach Litigation ($115 million settlement on behalf of

   healthcare patients), In re Intuit Data Litigation. (member of steering committee; settled) and has

   served as sole lead counsel in Athens Orthopedic Clinic, P.A. (case pending), and United Shore

   Financial Services, LLC (settled). The Firm has fought to enforce the nation’s antitrust laws and

   ensure a level competitive playing field in cases such as In re Air Cargo Antitrust Litigation

   (settlements of over $1 billion), In re Vitamins Antitrust Litigation (settlements of over $1.7

   billion), In re Brand Name Prescription Drugs Antitrust Litigation (settlements of approximately
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   $700 million), and Logue v. West Penn Multi-Listing Service ($2.75 million settlement on behalf

   of consumers), and it successfully challenged businesses that misrepresented their products to

   consumers in Mirakay v. Dakota Growers Pasta Co. (settlement valued at over $23 million). In

   addition, the Firm has fought to protect investors and enforce the nation’s securities laws in cases

   such as In re Broadcom Securities Litigation (settlement of $150 million), and AOL Time Warner

   Securities Litigation, (settlement of over $2.5 billion for investors).

          MARK S. GOLDMAN. Since 1986, Mark Goldman has concentrated his practice in many

   different types of complex litigation, including cases involving violations of the federal securities

   and antitrust laws and state consumer protection statutes. Mr. Goldman served as co-lead counsel

   in a number of class actions brought against life insurance companies, challenging the manner in

   which premiums are charged during the first year of coverage. In the antitrust field, Mr. Goldman

   litigated several cases that led to recoveries exceeding $1 billion each, for the benefit of the

   consumers and small businesses he represented, including In re Air Cargo Antitrust Litigation,

   Case No. 06-MD-1775 (E.D.N.Y. 2016), In re Vitamins Antitrust Litigation, MDL No. 1285

   (D.D.C. 1999), In re NASDAQ Antitrust Litigation, Case No. 94-cv-3996 (S.D.N.Y. 1994), and In

   re Brand Name Prescription Drugs Antitrust Litigation, Case No. 94-c-897 (N.D. Ill. 1994). Mr.

   Goldman represents and has represented numerous victims of identity theft seeking to hold

   accountable companies that failed to protect the safety of private data maintained on their

   networks, including In re Community Health Systems, Inc. Customer Data Security Breach

   Litigation, 15-cv-222 (N.D. Ala. 2015), In re Anthem, Inc. Data Breach Litigation, Case No. 15-

   MD-02617-LHK (N.D. Cal. 2015), In re Intuit Data Litigation, 15-cv-1778 (N.D. Cal. 2015), and

   Collins et al v. Athens Orthopedic Clinic, P.A., (Athens-Clark Cty, Ga 2017). In the area of

   securities litigation, Mr. Goldman played a prominent role in class actions brought under the


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   antifraud provisions of the Securities Exchange Act of 1934, including In re Nuskin Enterprises,

   Inc. Securities Litigation, Master File No. 2:14-cv-00033 (D. Utah 2014), In Re: Spectrum

   Pharmaceuticals, Inc. Securities Litigation, Case No. 2:13-cv-00433 (D. Nev. 2013), and In re

   Omnivision Technologies, Inc. Litigation, Case No.: 5:11-cv-05235 (N.D. Cal. 2011). Mr.

   Goldman also prosecuted a number of insider trading cases brought against company insiders who,

   in violation of Section 16(b) of the Securities Exchange Act of 1934, engaged in short swing

   trading.

           Mr. Goldman earned his undergraduate degree from the Pennsylvania State University in

   1981 and his law degree from the University of Kansas School of Law in 1986. He is a member

   of the Pennsylvania bar.

           PAUL J. SCARLATO. Paul Scarlato has concentrated his practice on the litigation of complex

   class actions since 1989. He has litigated numerous cases under the securities, consumer, antitrust and

   common law involving companies in a broad range of industries, and has litigated many cases

   involving financial and accounting fraud.

           In securities fraud cases, Mr. Scarlato was one of three lead attorneys for the class in Kaufman

   v. Motorola, Inc., a securities fraud class action that settled just weeks before trial, and along with Mr.

   Weinstein of his predecessor firm, was lead counsel in Seidman v. American Mobile Systems, Inc.,

   (E.D. Pa.), a securities class action that resulted in a settlement for the plaintiff class again on the eve

   of trail. Mr. Scarlato served as co-lead counsel in In re: Corel Corporation Securities Litigation (E.D.

   Pa.). Mr. Scarlato was one of the lead lawyers in Leibovic v. United Shore Financial Services; Afzal

   v. BMW of North America, LLC, and Yao Yi Liu v. Wilmington Trust Company. He served on the

   plaintiffs’ Executive Committee in Vikram Bhatia, D.D.S. v. 3M Company, Case No. 16-cv-01304

   (D. Minn.)($32.5 million settlement), and is counsel in In re Platinum and Palladium Antitrust


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   Litigation, Case No. 14-cv-09391 (S.D.N.Y), In re Treasury Securities Auction Antitrust

   Litigation, Case No. 15-md-02673 (S.D.N.Y.), and In re Liquid Aluminum Sulfate Antitrust

   Litigation, Case No. 15-7827 (D.N.J.).

           Mr. Scarlato graduated from Moravian College in 1983 with a degree in accounting, and

   received his Juris Doctor degree from the Widener University School of Law in 1986. Mr. Scarlato

   served as law clerk to the Honorable Nelson Diaz, of the Court of Common Pleas of Philadelphia

   County, and thereafter as law clerk to the Honorable James T. McDermott, Justice of the Pennsylvania

   Supreme Court. After his clerkships, and prior to becoming a litigator, Mr. Scarlato was a member of

   the tax department of a major accounting firm where he provided a broad range of accounting services

   to large business clients in a variety of industries.

           Mr. Scarlato is a member of the bars of the Commonwealth of Pennsylvania and the State of

   New Jersey, and those of various federal district and circuit courts.

           BRIAN D. PENNY. Since joining the Firm in 2002, Mr. Penny has focused his practice

   on class action litigation principally in the areas of antitrust, consumer protection and securities

   fraud litigation. He was lead counsel in Mirakay v. Dakota Growers Pasta Co. (D.N.J. 2013)

   (alleging false and misleading advertising of pasta products and resulting in a settlement valued at

   over $23 million); Logue v. West Penn Multi-Listing Service (W.D. Pa. 2010) (alleging price-

   fixing among brokers and multi-listing service and resulting in $2.75 million settlement); Allan v.

   Realcomp II (E.D. Mich. 2010) (alleging price-fixing among brokers and multi-listing service and

   resulting in a $3.25 million settlement); Boland v. Columbia Multi-Listing Service (D.S.C. 2009)

   (alleging price-fixing among brokers and multi-listing service and resulting in a $1 million

   settlement); and Robertson v. Hilton-Head Multi-Listing Service (D.S.C. 2009) (alleging price-

   fixing among brokers and multi-listing service).


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          Mr. Penny served on the executive committees in In Re NHL Concussion Litigation (D.

   Minn. 2014) (alleging league failed to protect players from known risks of concussions), and In

   re: Community Health Systems, Inc., Customer Security Data Breach Litigation (N.D. Ala. 2015)

   (alleging damages caused by data breach of health care records). He is on the Third Party

   Discovery Committee in In re Disposable Contact Lenses Antitrust Litigation, 15-md-2626 (M.D.

   Fla.), and is actively engaged as class counsel in In re: Clobetasol Cases, 16-CB-27240 (E.D. Pa.

   2017) and In re Lidocaine-Prilocaine, 16-LD-27242 (E.D. Pa. 2017) where he leads the EPP

   discovery team in those cases, In re Broiler Chicken Antitrust Litigation, 1:16-cv-08637 (N.D. Ill.

   2016); and Bhatia v. 3M Company, 16-cv-1304 (D. Minn. 2016); In re Epipen Marketing, Sales

   Practices and Antitrust Litigation, 2:17-md-2785 (D. Kan. 2016).

          Mr. Penny has also prosecuted numerous securities fraud class actions over the course of

   his career. He was a key member of the plaintiffs’ teams that prosecuted In re Broadcom Securities

   Litigation, which resulted in a settlement of $150 million for the class, and AOL Time Warner

   Securities Litigation, which resulted in a settlement of over $2.5 billion for investors. Mr. Penny

   was also one of the lead attorneys representing the classes in a number of securities fraud actions

   arising out of stock option backdating, including, In re Monster Worldwide, Inc. Securities

   Litigation ($47.5 million settlement), In re Mercury Interactive Securities Litigation ($117.5

   million settlement), In re SafeNet, Inc. Securities Litigation ($25 million settlement), Ramsey v.

   MRV Communications et al. ($10 million settlement), and In re Semtech Securities Litigation ($20

   million settlement).

          Mr. Penny received his Bachelor of Arts degree from Davidson College, Davidson, North

   Carolina, in 1997 and earned his Juris Doctor degree from Pennsylvania State University in 2000.

   After graduating from law school, Mr. Penny served as law clerk to the Honorable John T.J. Kelly,


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   Jr., Senior Judge of the Superior Court of Pennsylvania. He has been named a Super Lawyer or

   Rising Star each year since 2010. In 2015, Mr. Penny was one of four finalists for the American

   Antitrust Institute’s Enforcement Award for Outstanding Antitrust Litigation Achievement by a

   Young Lawyer for his work on Allen, et al. v. Realcomp Ltd., et al.

          ALAN L. ROSCA. Mr. Rosca focuses his legal practice on complex financial and

   commercial matters, particularly in the areas of securities litigation, investment fraud, and

   international investment disputes. He often represents institutional and individual investors in

   disputes with financial industry members arising out of investment fraud or misconduct. He

   prosecutes claims on behalf of investors through class actions in state or federal courts, and FINRA

   arbitrations. He also practices in the areas of wage-and-hour and other labor-related disputes,

   whistleblower matters, and antitrust cases, with a focus on market manipulation.

          Alan has been a lecturer and adjunct professor of Securities Regulation at Cleveland-

   Marshall College of Law, Cleveland State University since 2012.

          Alan has served as co-lead counsel, or is currently involved in a leading role, in class

   actions on behalf of investors who lost money as a result of alleged investment fraud or Ponzi

   schemes, as well as in other class action matters arising out of wage-and-hour or business disputes,

   including Hanson v. Berthel Fisher & Company Financial Services, Inc., et al. (N.D. Iowa 2013)

   (a securities class action on behalf of investors in an allegedly fraudulent real estate investment

   program that raised approximately $26 million from investors, predicated upon the role played by

   the program’s underwriter); Carol Prock v. Thompson National Properties, LLC, et al. (C.D. Cal.

   2013) (a securities class action on behalf of investors in an allegedly fraudulent real estate

   investment program that raised approximately $17 million from the investing public, against the

   program’s sponsors and promoters); Yao-Yi Liu et al. v. Wilmington Trust Company (W.D.N.Y.


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   2014) (a class action lawsuit on behalf of investors of a $145 million fraudulent scheme, alleging

   that the defendant trustee and custodian bank breached its duties as an escrow agent and aided the

   perpetrators of the scheme); Spaude v. Mysyk (N.D. Ohio 2015) (a securities class action on behalf

   of investors in a $55 million allegedly fraudulent oil-and-gas investment scheme, against the

   alleged perpetrators of the scheme and the law firm that assisted the scheme); Jennifer Roth v. Life

   Time Fitness, Inc. (D. Minn. 2015) (a wage-and-hour class action on behalf of fitness instructors

   seeking unpaid wages for work that was required by defendants); Aleem v. Pearce & Durick (D.

   North Dakota 2015) (a securities class action on behalf of investors in a $65 million fraudulent

   investment scheme, alleging that the defendants violated their fiduciary duties to the investors and

   assisted in the scheme’s securities violations by serving as escrow agents for the investors’

   investments and offering materially false opinions to the investors regarding their investments in

   the scheme); Strong v. Safe Auto Insurance Group, Inc. et al. (S.D. Ohio 2016) (a wage-and-hour

   class action on behalf of employees of defendants seeking unpaid wages for work that was required

   by defendants); Hay v. United Development Funding IV et al. (N.D. Texas 2016) (a securities class

   action on behalf of investors in a $625 million allegedly Ponzi-like real estate investment scheme,

   against entities including the scheme, its principals and affiliated entities, as well as the alleged

   scheme’s underwriter and auditor); Fastrich v. Continental General Insurance Company (D. Neb.

   2016) (a class action on behalf of insurance agents affiliated with defendants, arising out of the

   alleged non-payment of certain fees and commissions owed to such agents); Elliot v. Bank of

   Oklahoma (D.N.J. 2016) (a class action on behalf of investors in a $198 million allegedly

   fraudulent investment scheme perpetrated through a series of municipal bond offerings, against

   the trustee bank for the bond offerings and the underwriters of some of the offerings); Ezeude v.

   PayPal Holdings, Inc. et al. (N.D. Cal. 2017) (a class action lawsuit arising out of a $207 million


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   allegedly fraudulent Internet investment scheme that victimized over 162,000 investors

   worldwide, alleging that defendants, who acted as payment processors for the scheme, facilitated

   and assisted the perpetration of the scheme).

           Alan received his Juris Doctor degree summa cum laude from Cleveland-Marshall College

   of Law in May 2008. While in law school he served as a Managing Editor of the Cleveland State

   Law Review, received the Dean's (full) scholarship for the entire Juris Doctor program, was on the

   Dean's List, and won the "Best Oralist" award in the Jessup Moot Court competition, Pacific

   Region. He passed the Ohio Bar exam in top 1%, with the highest grade in the state to the multi-

   state (federal law) section.

           He is licensed to practice law in the Ohio state and federal courts, and in other federal

   courts nationwide. He has been selected to the 2017 and 2018 Ohio Super Lawyers Rising Star

   list. He is a member of the Public Investors Arbitration Bar Association, the Cleveland

   Metropolitan Bar Association, where he served as the Chair of the Unlicensed Practice of Law

   Committee, and the Cleveland Diplomatic Corps. He also holds a Master of Business

   Administration degree from Baldwin-Wallace College, Ohio. He is a speaker on Ponzi schemes,

   investment fraud, cryptocurrencies, and attorney professionalism.




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                        Professional Biography of J. Barton Goplerud

       I am a shareholder with Shindler, Anderson, Goplerud & Weese, P.C. (“Shindler Anderson”). I

have practiced law since 1990.

       I personally have been involved in complex and class action litigation since 2003. Since 2003, my

class action experience has been nationwide, as well as Iowa focused. It has included a focus on wage and

hour violations under FLSA along with antitrust, securities violations, financial products, product defect,

consumer fraud and RICO cases.

       I have been involved in wage and hour class action litigation in the U.S. District Court for the

Southern District of Iowa where I was appointed Lead Counsel. In Jones et al. v. Casey’s General Stores,

Inc., Case No. 4:07-cv-00400 (S.D. IA.) and Wineland et al v. Casey’s General Stores, Inc. Case No.

4:08-cv-00020 (S.D. IA), my co-lead counsel and I obtained the largest wage and hour settlement in the

history of the state of Iowa. We represented 7,800 current and former assistant managers and 76,000 non-

management employees who worked for a large publicly traded regional convenience store company.

These employees were required to work overtime, but were neither paid for the overtime hours worked,

nor paid one-half times their regular hourly rate. My co-counsel and I were able to obtain $12.1 Million

for the members of the collective action, as well as injunctive relief. Additionally, I have been Lead

Counsel in several other cases, including but not limited to:

             - Etter v. Trinity Structural Towers, Inc.,
                 Dkt. No. 4:11-cv-00249

             - Davis et al v. TPI Iowa LLC, et al
                Dkt. No. 4:11-cv-00233
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             - Garcia et al v. Loffredo Gardens, Inc. et al
                Dkt. No. 4:11-cv-00118

             - Jefferson et al v. Per Mar Security Services et al
                 Dkt. No. 3:12-cv-00113

             -   Winterstein v. Ferrara Candy Company
                  Dkt. No. 4:13-cv-00468

             - Molyneux et al v. Securitas Security Services, USA Inc.
                Dkt. No. 4:10-cv-00588

       In addition, I have been Local Counsel, Co-Counsel or Co-Lead Counsel in other class action
matters in the Northern and Southern Districts of Iowa. For example, in Hanson v. Berthel Fisher and

Company Financial Services, Inc, Case No. No. 1:13-cv-00067 (N.D. IA.), I was appointed Co-Lead

Counsel against a securities broker-dealer who fraudulently established a real estate investment program

and Ponzi-like scheme. Mr. Goplerud and his co-counsel were able to obtain financial relief and injunctive

relief for the nationwide class of investors. Furthermore, I have been involved as Local Counsel, Co-

Counsel or Co-Lead Counsel in the many other matters, including but not limited to:

             - Chambers v. North American Company for Life and Health Insurance
                Dkt. No. 4:11-cv-00579

             - Kramer v. Aegon USA, LLC et al
                Dkt. No. 1:15-cv-00031

             - Kelly v. Phiten USA, Inc.
                Dkt. No. 4:11-cv-00067

             - Taylor v. Midland National Life Insurance Company (pending)
                Dkt. No. 4:16-cv-00140

             - Silva et al v. Aviva PLC et al (pending)
                 Dkt. No. 5:15-cv-02665

             - York et al. v. Wellmark, Inc.(pending)
                Dkt. No. 4:16-cv-00627

       Nationally, I have been involved in class action litigation as Counsel, Co-Counsel or Lead Counsel

in several matters. In Fastrich et al. v. Continental General Insurance Company et al., Case No 1:17-

cv-00615 (S.D. Ohio), I was appointed Co-Lead Counsel in a class action lawsuit involving a large
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insurance company that for decades had defrauded its agents out of a substantial amount of commissions.

I represented a class of insurance agents, spanning over fifteen years, and obtained financial relief for

these class members.

       In Aleem et al v. Pearce & Durick et al., Case No. 1:15-cv-00085 (D.N.D.), I was Co-Lead

Counsel representing a class of individuals who had been victims of a Ponzi scheme in the North Dakota

shale oil fields. Along with my co-counsel, I obtained substantial financial relief against a law firm that

represented the perpetrators of the fraud during the fraud. In obtaining the relief, I obtained the rare non-

opt-out class settlement under Fed. R. Civ. P. 23(b)(1)(B).

       I have also been involved in a number of other national matters as Counsel, Co-Counsel or Lead

Counsel, including but not limited to:

             - Roth v. Lifetime Fitness, Inc. et al.
                Dkt. No. 0:16-cv-02476 (D. Minnesota)

             - Michael et al. v. The Honest Company, Inc.
                Dkt. No. 2:15-cv-07059 (C.D. CA)

             - Grodzitsky et al. v. American Honda Motor Co., Inc.
                Dkt. No. 2:12-cv-01142 (C.D. CA)

             - In re National Collegiate Athletic Student-Athlete Concussion Injury Litigation
                 Dkt. No. 1:13-cv-09116 (N.D. IL)

             - In re Citimortgage Inc Home Affordable Modification Program HAMP Contract
               Litigation
                 Dkt. No. 2:11-ml-02274 (C.D. CA)

             - Carlin et al. v. Dairy America, Inc.
                Dkt. No. 1:09-cv-00430 (E.D. CA)

             - In re Pre-Filled Propane Tank Marketing and Sales Practices Litigation
                 Dkt. No. 4:09-md-02086 (W.D. Missouri Kansas City)

             - In re Certainteed Corporation Roofing Shingles Products Liability Litigation
                 Dkt. No. 2:07-md-01817 (E.D. PA)
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       Finally, I have been involved in class action litigation as Counsel, Co-Counsel, Lead Counselor,

or Special Counsel in the Commonwealth of Puerto Rico in the following matters:

            - Government of Puerto Rico v. AU Optronics Corporation et al.
               Dkt. No. SJ2018CV04695 (Commonwealth of Puerto Rico Court of First Instance) (As
               Special Counsel to the Commonwealth of Puerto Rico

            - Government of Puerto Rico v. LG Electronics, Inc. et al. (As Special Counsel to the
              Commonwealth of Puerto Rico)

            - Honorable Wanda Vazquez, Attorney General for the Government of Puerto Rico v. The
              Carpenter Company et al.
               Filed in the D. Puerto Rico San Juan (As Special Counsel to the Commonwealth of
               Puerto Rico)

            - Quiles Mejias et al v. Banco Popular de Puerto Rico et al
               Dkt. No. 3:13-cv-01880 (D. Puerto Rico San Juan)

            - Marrero-Rolon et al v. Autoridad de Energia Electrica et al
               Dkt. No. 3:15-cv-01167 (D. Puerto Rico San Juan)

            - Rosa-Rivera et al. v. Municipio de San Juan et al.
               Dkt. No. 3:16-cv-01465 (D. Puerto Rico San Juan)

            - Sanchez-Rosa et al. v. Municipio de San Juan et al.
                Dkt. No. 3:18-cv-01558 (D. Puerto Rico San Juan)
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                         EXHIBIT 6
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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF COLORADO


   JOHN PAULSON,                            )     Civil Action No. 19-cv-02639-PAB-NYW
   Individually and on Behalf of all Others )
   Similarly Situated,                      )
                                            )
                               Plaintiff    )
                                            )
          v.                                )
                                            )
   TWO RIVERS WATER AND                     )
   FARMING COMPANY, JOHN R.                 )
   MCKOWEN, WAYNE HARDING and )
   TIMOTHY BEALL,                           )
                                            )
   Defendants                               )
                                            )

         NOTICE OF PENDENCY OF CLASS ACTION, PROPOSED CLASS ACTION
           DETERMINATION, PROPOSED SETTLEMENT OF CLASS ACTION,
                    FAIRNESS HEARING AND RIGHT TO APPEAR

   TO:     ALL PERSONS OR ENTITIES THAT CURRENTLY HOLD CLAIMS BASED ON
           SECURITIES OF GROWCO, INC. (“GROWCO”), AND PURCHASED OR
           OTHERWISE ACQUIRED THE SECURITIES THROUGH THE OFFERINGS
           LISTED BELOW DURING THE TIME PERIOD BEGINNING OCTOBER 2014
           THROUGH DECEMBER 2017 AND SUFFERED ALLEGED LOSSES:


    Name                      Type        Approximate          Date Range
                                          Amount Raised
    GrowCo Partners 1, LLC    Equity              $3,349,151          December 2014-January 2015

    $4 Million Note           Debt                $4,000,000          March 2015-September 2015

    GCP Super Units LLC       Equity              $5,297,157                July 2015-October 2017

    $1.5 Million Note         Debt                 $100,000                             April 2016

    $6 Million Note           Debt                $6,000,000                 March 2016-July 2016

    $7 Million Note           Debt                $2,977,000           January 2016- January 2017

    $2 Million Note           Debt                $1,080,000        February 2017-September 2017

    $2 Million Note           Debt                 $440,000                             June 2017
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        PLEASE READ THIS NOTICE CAREFULLY AND IN ITS ENTIRETY. YOUR
        RIGHTS MAY BE AFFECTED BY THE LEGAL PROCEEDINGS IN THIS
        ACTION. IF THE COURT APPROVES THE PROPOSED SETTLEMENT, YOU
        WILL BE FOREVER BARRED FROM CONTESTING THE FAIRNESS,
        REASONABLENESS OR ADEQUACY OF THE PROPOSED SETTLEMENT OR
        PURSUING THE RELEASED CLAIMS AND UNKNOWN CLAIMS (AS DEFINED
        HEREIN).

   I.     THE PURPOSE OF THIS NOTICE

           The purpose of this Notice is to inform you of the existence of the above-captioned class
   action (the “Class Action” or “Action”) brought by Plaintiff John Paulson (“Plaintiff”) against
   Two Rivers Water and Farming Company (“Two Rivers”), John R. McKowen (“McKowen”),
   Wayne Harding (“Harding”) and Timothy Beall (“Beall”) (collectively, “Defendants”), and its
   proposed settlement (the “Settlement”).

           This Notice also informs you of the Court’s preliminary certification of a Class (as defined
   below in this Section) for purposes of the Settlement, and of your right to participate in a hearing
   (the “Fairness Hearing”) to be held on ____________ 2021 at ____ m. before the Honorable Philip
   Brimmer, Chief Judge of the U.S. District Court for the District of North Colorado, Courtroom
   A701, Alfred A. Arraj United States Courthouse, 901 19th Street, Denver, CO 80294-3589 to: (a)
   determine whether the Settlement should be finally approved by the Court as fair, reasonable and
   adequate and in the best interests of Plaintiff and the Class; (b) determine whether a Final Order
   should be entered dismissing the Class Action with prejudice against the Defendants and
   effectuating the releases described below; (c) consider any request by Plaintiff’s counsel for an
   award of attorneys’ fees and out-of-pocket expenses (“Attorneys’ Fees and Expenses Award”),
   and a service award to the Representative Plaintiff (“Service Award”); (d) hear and determine any
   objections to the Settlement or to the Attorneys’ Fees and Expenses Award or Service Award; and
   (e) rule on such other matters as the Court may deem appropriate.
           The Court has determined that the Class Action shall be preliminarily certified as a class
   action under Rule 23 of the Federal Rules of Civil Procedure, for settlement purposes only, on
   behalf of all persons or entities who currently hold claims based on the GrowCo Securities and
   who purchased or otherwise acquired the securities through the Offerings identified above during
   the time period beginning on October 2014 through December 2017 and suffered Alleged Losses.
   This Notice describes the rights you may have under the Settlement and what steps you may, but
   are not required to, take in relation to the Settlement. If the Court approves the Settlement, Plaintiff
   and the Defendants in the Class Action (the “Parties”) will ask the Court to enter a Final Order
   dismissing the Class Action with prejudice on the merits.
   THE FOLLOWING RECITATION DOES NOT CONSTITUTE FINDINGS OF THE
   COURT. IT IS BASED ON STATEMENTS OF THE PARTIES AND SHOULD NOT BE
   UNDERSTOOD AS AN EXPRESSION OF ANY OPINION OF THE COURT AS TO THE




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   MERITS OF ANY OF THE CLAIMS OR DEFENSES RAISED BY ANY OF THE
   PARTIES.
   II.    BACKGROUND OF THE ACTION

            The Class Action was initiated by named Plaintiff John Paulson on August 13, 2019, with
   the filing of a class action complaint against Defendants Two Rivers, McKowen, Harding, and
   Beall, arising out of Paulson’s purchase of securities in GrowCo, a Colorado corporation formed
   in 2014. GrowCo was in bankruptcy and was not named as a party to this Action. Plaintiff’s
   Amended Complaint alleged that Defendants acted as control persons; sold and promoted GrowCo
   securities to Plaintiff and the class while omitting information that was material to investors about
   Defendant McKowen’s background; and permitted Two Rivers’ use of the proceeds of the sales.
   It asserted claims against Defendants under the Colorado Securities Act, 11-51-101 et. seq., and
   Colorado common law arising out of the Defendants’ conduct in connection with those sales and
   use of the proceeds. Defendants deny Plaintiff’s allegations of wrongdoing and liability.

            On June 29, 2021, Two Rivers was dismissed as a party to the Action without prejudice
   for the reasons explained below. The proposed Settlement was agreed to by the parties on August
   7, 2020. On October 9, 2020, Plaintiff filed a motion requesting the Court’s preliminary approve
   of the Settlement. On January 5, 2021, while that motion was still pending, Defendant Two Rivers’
   third lawyer in the Action moved the Court to withdraw as Two Rivers’ counsel. On January 25,
   2021, the Court issued an order approving the motion to withdraw and requiring Two Rivers to
   obtain new counsel no later than February 15, 2021, as extended to March 16, 2021. Two Rivers
   failed to meet the Court’s deadlines. Since a corporation must appear in a lawsuit through counsel,
   Two Rivers’ failure to obtain new counsel, thus stalled the preliminary approval proceedings in
   their tracks.

           On April 6, 2021, Plaintiff moved to dismiss Two Rivers as a party to this litigation without
   prejudice to Plaintiff’s right to bring Two Rivers back into the Action in order to allow the
   Settlement approval process to move forward. Plaintiff argued that the dismissal would not change
   or affect the terms of the Settlement and that Two Rivers’ insurance carrier and the other
   defendants agreed to honor the Settlement terms even without Two Rivers as a party. On June 29,
   2021, the Court entered an Order granting Plaintiff’s motion and dismissing Two Rivers as a party.
   On July 7, 2021, the Court entered an Order permitting Plaintiff to file a revised motion for
   preliminary approval and a motion to withdraw on or before July 16, 2021.

   III.   SUMMARY OF SETTLEMENT TERMS

           Defendants’ insurer will pay $1.5 million in cash (the “Settlement Fund”) to resolve the
   claims of Plaintiff and the Class. The Settlement Class and each member of the Class is limited
   solely to the Settlement Fund for the satisfaction of all Released Claims against all Released Parties
   (as provided more fully in the Settlement Agreement).

          The Settlement Fund shall be applied as follows: (1) to pay counsel’s Attorneys’ Fees and
   Expenses Award, and the Service Award to the Representative Plaintiff to the extent allowed by
   the Court; (2) to pay the costs and expenses reasonably incurred in connection with providing
   Notice, locating Settlement Class Members, assisting with the filing of claims, administering and


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   distributing the Net Cash Settlement Amount to Authorized Claimants, processing claim forms,
   and paying escrow fees and costs, if any; (3) to pay any taxes and tax expense; and (4) to distribute
   the balance of the Settlement Fund (the “Net Cash Settlement Amount”) to Authorized Claimants
   as allowed by the Plan of Allocation, or order of the Court.

          Authorized Claimant means a Class Member whose claim for recovery of losses has been
   found to be timely and valid under the terms of the Settlement Agreement.

   IV.    PLAN OF ALLOCATION

          Under a proposed Plan of Allocation, the Claims Administrator will first calculate each
   Authorized Claimant’s Alleged Loss.

        The Alleged Loss shall mean the principal amount each Authorized Claimant paid for the
   GrowCo securities.

           The Claims Administrator will then calculate each Authorized Claimant’s recovery under
   the Settlement by multiplying the Net Cash Settlement Amount by a fraction, (a) the numerator of
   which is the Class Member’s Alleged Loss and (b) the denominator of which is the sum of each
   and every claiming Class Member’s Alleged Loss.

           The Plan is not a part of or a condition of approval of the Settlement. Under the Agreement,
   the Net Settlement Fund may be distributed in accordance with the proposed Plan or such other
   plan as the Court may approve.

   V.     REASONS FOR THE SETTLEMENT

           This Action was aggressively litigated from the onset. Plaintiff filed his initial complaint
   in Colorado state court setting out detailed facts as to Defendants’ alleged wrongdoing. The Action
   was later removed to this Court by Mr. McKowen. Thereafter, the Court held an initial scheduling
   conference during which it set a schedule for the Action. Mr. McKowen then moved the Court to
   stay the Class Action pending the outcome of GrowCo’s bankruptcy proceedings, which the Court
   denied. Separately, GrowCo initiated an adversary proceeding against Mr. Paulson in the
   bankruptcy court and filed a motion for a temporary restraining order (“TRO”) and preliminary
   injunction asking the bankruptcy court to stop the Class Action. Plaintiff successfully opposed the
   motion to stay in this Court and was required to appear in the bankruptcy court to oppose the
   adversary proceeding, and to appear at an evidentiary hearing on GrowCo’s request for a TRO and
   injunction, upon which Paulson prevailed.

          Plaintiff subsequently filed an amended complaint (the “Amended Complaint”) alleging
   additional facts and legal claims. Mr. McKowen moved to dismiss the Complaint and Plaintiff
   opposed that motion. Mr. McKowen’s motion to dismiss was fully briefed and pending before the
   Court when the Parties reached the proposed Settlement.

         The Parties engaged in discovery, which included Plaintiff serving requests for production
   of documents, interrogatories, and requests for admissions on each of the Defendants, and



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   document subpoenas on numerous third parties. Plaintiff reviewed and analyzed numerous
   documents produced by Defendants McKowen and Beall, and from other sources. Plaintiff also
   obtained a clerk’s default against Defendant Beall. Mr. Beall then moved to set aside the clerk’s
   default against him and moved to dismiss the Amended Complaint. On March 16, 2021, the Court
   approved Defendant Beall’s request to set aside the default and denied his motion to dismiss as
   moot.

           Plaintiff’s counsel has conducted a thorough investigation of the claims and allegations
   asserted in the Class Action before reaching an agreement in principle on a Settlement. In addition,
   the Settlement was the product of extensive arms-length negotiations conducted with the assistance
   of the Judge William Meyer of the Judicial Arbiter Group, Inc. serving as mediator. In evaluating
   the Settlement, Plaintiff and his counsel have considered: (a) the substantial benefits to the
   members of the Class from the Settlement; (b) the facts developed during Plaintiff’s investigation
   and discovery; (c) the attendant risks of continued litigation and the uncertainty of the outcome of
   the Class Action; (d) the probability of success on the merits; (e) the availability of sufficient assets
   to fund a Settlement; and (f) the conclusion of Plaintiff’s counsel that the terms and conditions of
   the Settlement are fair, reasonable, adequate and in the best interests of Plaintiff and the Class.
           Each of the Defendants has denied, and continues to deny, that he or it committed any
   violation of the securities laws or any other law, or engaged in any of the wrongful acts alleged in
   the Class Action, and expressly maintains that he or it is entering into the Settlement solely to
   eliminate the burden, expense, distraction and uncertainties inherent in further litigation.

           Plaintiff has stated, and continues to state, that he brought his claims in good faith, that he
   believes that his claims had substantial merit at all relevant times, and that he is agreeing to the
   terms of the Settlement only because he believes that the Settlement provides a substantial benefit
   to the Class and has concluded that the terms of the Settlement are fair, reasonable and adequate
   and in the best interests of the Class.

           The $1.5 million Settlement Fund provides a substantial and immediate benefit to the Class.
   Although Class Counsel believes it will likely be able to prove merit to the claims asserted in the
   case, there is a substantial risk that Class Members would not be able to recover anything at all if
   the case were not settled. Until July 6, 2021, GrowCo has been in bankruptcy and Two Rivers
   lacks substantial assets. Plaintiff would need to look to the personal assets of the individual
   Defendants for a recovery if the Settlement was not reached, making a substantial recovery directly
   from Two Rivers and/or its principals beyond any available insurance coverage questionable at
   best. To that end, Defendants have a single insurance policy that covers the claims asserted up to
   $2,000,000, which amount is reduced by the costs of defense. The $1,500,000 Settlement Fund
   represents substantially all of the remaining insurance coverage net of defense costs to date. In
   considering whether to settle, the Plaintiff considered the fact that if he persisted with the Action,
   the amount of insurance coverage available to satisfy a judgment would be substantially less than
   the Settlement Fund. In other words, as defense costs would continue to mount, each additional
   dollar spent on defending the Action would represent one less dollar available for a settlement.
   Finally, if the case were to continue to be litigated, the Class would still need to overcome various
   legal defenses in order to survive any dispositive motions or recover at trial.



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   VI.    RELEASES

          Under the terms of the Settlement, Plaintiff and the Class Members (“Releasors”) agree to
   the complete discharge, dismissal with prejudice, settlement and release of the Releasees.

           “Releasor” means each and every one of, and “Releasors” means all of (i) the
   Representative Plaintiff, (ii) all other Class Members, (iii) their respective past or present parents,
   predecessors, successors, current and former affiliates, divisions, business units, joint ventures,
   subsidiaries, assigns, any entities in which any Releasor has or had a controlling interest or that
   has or had a controlling interest in him, her, or it, and any other person or entity (including any
   governmental entity) claiming by or through, on behalf of, for the benefit of, derivatively for, or
   as representative of Representative Plaintiff or any other Class Member and (iv) their respective
   past and present officers, directors, employees, officials, members, partners, and attorneys.

           The “Releasees” include each and every one of (i) the Defendants and their attorneys in the
   Class Action; (ii) the following past and present officers, directors, managers, attorneys, and/or
   employees of Two Rivers and GrowCo for securities purchased at the time or after they were
   officers or directors: Gus Blass III, Christopher Bragg, Gregg Campbell, Dennis Channer, James
   Cochran, Wayne Harding, Michael Harnish, John McKowen, Samuel Morris, John Stroh II,
   Rockey Joe Wells, Bradley Walker and T. Keith Wiggins. GrowCo’s officer and directors during
   the Class Period were: Timothy Beall (however, Mr. Beall contends he was not an officer or
   director of GrowCo), Kirsty Cameron, Wayne Harding, Chad Kirby, Jan McCaffrey, John R.
   McKowen, Joseph McKowen, Laura McKowen, I. Wistar Morris, Jeff Ploen and Aaron
   VanWingerden; and (iii) non-Defendants GrowCo, GrowCo Partners 1, LLC, GrowCo Partners 2,
   LLC, GCP Super Units, LLC, McGrow LLC, and TR Capital Partners, LLC.

           “Released Claims” as defined in the Settlement Agreement means any and all Claims of or
   by the Releasors, as against the Releasees, and any and all Claims of or by the Defendants as
   against the Releasors, that were asserted, could have been asserted, or could in the future be
   asserted, arising from, based on, or relating to allegations in the Class Action. The term “Released
   Claims” does not include any claims for collection of any amounts due under the GrowCo
   securities pursuant to the terms of the securities, including claims in the event of a GrowCo
   liquidation, including in any GrowCo bankruptcy action.

            If the Settlement is finally approved, Plaintiff and each Class Member on behalf of
   themselves and their other Releasors, for good and sufficient consideration, and all Releasors shall
   be deemed to have, and by operation of law and of the Order Approving Settlement shall have,
   fully, finally, and forever released, relinquished, settled, and discharged:

                  a.      all Released Claims;

                  b.     all Claims, damages, and liabilities against each and every one of the
   Releasees to the extent that any such Claims, damages, or liability relate in any way to any or all
   acts, omissions, nondisclosures, facts, matters, transactions, occurrences, or oral or written
   statements or representations in connection with, or directly or indirectly relating to (i) the
   prosecution, defense, or Settlement of the Class Action, (ii) the Settlement Agreement, (iii) the
   Settlement terms and their implementation, (iv) the provision of Notice in connection with the

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   proposed Settlement, and/or (v) the resolution of any Claim Forms filed in connection with the
   Settlement; and

                  c.      all Claims against any of the Releasees for attorneys’ fees, costs, or
   disbursements incurred by Plaintiff’s counsel, the settlement of the Class Action, or the
   administration of the Settlement, except as otherwise specified in the Settlement Agreement.

           The Settlement Agreement further provides that:

               •      The Settling Parties agree and acknowledge that this Settlement Agreement is
                      intended to resolve and satisfy any and all claims that the Releasors have made or
                      could have made against any of the Releasees arising out of the issuance or sale of
                      GrowCo securities. The Parties agree and acknowledge that they shall seek as part
                      of the Final Order Approving Settlement an order prohibiting further lawsuits and
                      claims against the Defendants arising out of the issuance and sale of GrowCo
                      securities which the Parties intend to operate as a complete bar to any lawsuits or
                      claims against the Defendants arising out of the issuance or sale of GrowCo
                      securities (the “Complete Bar Order”). The Complete Bar Order will not bar claims
                      for collection of any amounts due under the GrowCo securities pursuant to the
                      terms of the securities, including claims in the event of a GrowCo liquidation
                      including in the GrowCo Bankruptcy Action.

               •      The Releasors and each of them agree and covenant not to sue or prosecute, institute
                      or cooperate in the institution, commencement, filing, or prosecution of any suit or
                      proceeding in any forum based upon or related to any Released Claims against any
                      Releasee.

   VII.    CLASS ACTION DETERMINATION
          The Court has ordered that the Class Action shall be preliminarily certified as a class action
   for purposes of the Settlement only, pursuant to Rule 23 of the Federal Rules of Civil Procedure,
   on behalf of the following Class:

           All persons or entities who currently hold claims based on Securities of GrowCo,
           and who purchased or otherwise acquired the securities through offerings listed
           below (the “Offerings”), during the time period beginning October 2014 through
           December 2017 (the “Class Period”), and suffered Alleged Losses. For the
           avoidance of doubt, persons or entities who purchased or otherwise acquired the
           securities during the Class Period and who have assigned the securities to VitaNova
           Partners, LLC are not excluded as Class Members by virtue of such assignment:
    Name                             Type         Approximate           Date Range
                                                  Amount Raised

    GrowCo Partners 1, LLC           Equity                $3,349,151           December 2014-January 2015
    $4 Million Note                  Debt                  $4,000,000           March 2015-September 2015




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    GCP Super Units LLC            Equity                 $5,297,157                 July 2015-October 2017

    $1.5 Million Note              Debt                     $100,000                             April 2016
    $6 Million Note                Debt                   $6,000,000                  March 2016-July 2016

    $7 Million Note                Debt                   $2,977,000             January 2016- January 2017

    $2 Million Note                Debt                   $1,080,000          February 2017-September 2017
    $2 Million Note                Debt                     $440,000                             June 2017


           Excluded from the Class are (1) the Defendants; (2) the officers and directors of Two
   Rivers and GrowCo during the Class Period as set forth in Exhibit E to the Settlement Agreement
   for securities purchased at the time or after they were officers or directors; (3) any judge or judicial
   officer who may hear any aspect of this Class Action and his or her law clerks; and (4) except as
   provided in clause (2) of this paragraph above, all persons or entities released in the Settlement.
   Also excluded from the Settlement Class are the persons and/or entities who validly request
   exclusion from the Settlement Class within the time period set forth herein.

          At the Fairness Hearing, the Court will consider, among other things, whether the Class
   should be certified permanently.

   VIII. THE FAIRNESS HEARING
           The Court has scheduled the Fairness Hearing to be held __________________ at the time
   identified in Section I above to determine: (a) whether the Court should finally approve the
   Settlement as fair, reasonable and adequate to the Class; (b) whether to enter an order dismissing
   the Class Action with prejudice and extinguishing and releasing the Released Claims; (c) whether
   the Class should be permanently certified pursuant to Rule 23 or the Federal Rules of Civil
   Procedure; (d) whether the Court should permanently certify Plaintiff as the Class Representative
   in the Class Action, and attorneys and law firms Paul Scarlato and Alan Rosca of Goldman Scarlato
   & Penny, P.C., and J. Barton Goplerud and Brian Marty of Shindler, Anderson, Goplerud &
   Weese, P.C. as Class Counsel, and Steve Miller of Steve A. Miller, P.C. as Additional Plaintiff’s
   Counsel in the Class Action; (e) if the Court approves the Settlement, whether the Court should
   grant Plaintiff’s application for an Attorneys’ Fees and Expenses Award; (f) whether to grant Class
   Counsel’s application for a Service Award for the Plaintiff and reimbursement of the Plaintiff’s
   expenses, and (g) to consider such other matters as may properly come before the Court.

           The Court may postpone, reschedule or adjourn the Fairness Hearing without further notice
   to the Class other than by filing a notice on the docket in the Class Action in advance of the Fairness
   Hearing, or by making an announcement at the Fairness Hearing or any adjournment thereof. The
   Court also has reserved the right to approve the Settlement at or after the Fairness Hearing with
   such modification(s) as may be consented to by the Parties and without further notice to the Class.

   IX.     YOUR RIGHT TO APPEAR AND OBJECT

           Any Member of the Class who objects to any aspect of the Settlement, certification of the
   Class, entry of the Final Order, and/or Plaintiff’s counsel’s application for payment of attorneys’


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   fees and expenses, and for a Service Award, or who otherwise wishes to be heard, may appear in
   person by his, her or its attorney at the Fairness Hearing and present evidence or argument that
   may be proper and relevant; provided, however, that, except for good cause shown, no person shall
   be heard or entitled to contest the approval of the terms and conditions of the Settlement, or, if
   approved, the order to be entered thereon, and no papers or briefs submitted by any member of the
   Class or any other person shall be received and considered by the Court, unless, not later than [14
   days before Fairness Hearing]. Any such objections, and comments must be in writing and filed
   with the Clerk of the Court and served on the counsel at the addresses listed below no later than
   fourteen (14) days before the Final Fairness Hearing. Such objections must include the following:
   (a) proof that such person or entity currently holds claims based on the GrowCo Securities and
   purchased or otherwise acquired the securities through any of the Offerings during the Class Period
   of October 2014 through December 2017 and suffered Alleged Losses; (b) written notice of the
   person’s intention to appear; (c) a detailed statement of the objections and the reasons for desiring
   to appear and to be heard; and (d) a detailed statement of all of the grounds for such objections, as
   well as all documents or writings which the person desires the Court to consider.

          The foregoing information concerning any objections should be filed not later than [14
   days before Fairness Hearing] with:

                                  Clerk of the Court
                                  United States District Court
                                  Alfred A. Arraj United States Courthouse, Room A105,
                                  901 19th Street, Denver, CO 80294-3589

          Copies of such objections must be served not later than [14 days before Fairness Hearing]
   on:

                                  Paul Scarlato
                                  Alan Rosca
                                  GOLDMAN SCARLATO & PENNY, P.C.
                                  161 WASHINGTON STREET, SUITE 1025
                                  CONSHOHOCKEN, PA 19428
                                  EMAIL: ROSCA@LAWGSP.COM
                                         SCARLATO@LAWGSP.COM

                                  J. Barton Goplerud
                                  Brian Marty
                                  SHINDLER, ANDERSON, GOPLERUD & WEESE, PC
                                  5015 Grand Ridge Drive, Suite 100
                                  West Des Moines, Iowa 50265
                                  Telephone: (515) 223-4567
                                  Facsimile: (515) 2223-8887
                                  E-Mail: jbgoplerud@sagwlaw.com
                                          marty@sagwlaw.com




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           Any person or entity who fails to object in the manner provided above shall be deemed to
   have waived such objection (including the right to appeal), and absent good cause found by the
   Court shall forever be barred from making any such objection in the Class Action or any other
   action or proceeding or otherwise contesting any aspect of the Settlement, but shall otherwise be
   bound by the Final Order to be entered and the releases to be given.

   X.     YOUR RIGHT TO EXCLUDE YOURSELF FROM THE CLASS

           Each Settlement Class Member will be bound by all determinations and judgments in this
   Action, whether favorable or unfavorable, unless such person or entity mails or delivers a written
   request for exclusion from the Settlement Class, addressed to Paulson v. Two Rivers Settlement,
   EXCLUSIONS, c/o Strategic Claims Services, 600 N. Jackson St., Ste. 205, P.O. Box 230, Media,
   PA 19063, Fax: (610) 565-7985. The request for exclusion must be received no later than
   _____________, 2021 (the “Exclusion Deadline”). You will not be able to exclude yourself from
   the Settlement Class after the Exclusion Deadline. Each Request for Exclusion must (a) state the
   name, address and telephone number of the person or entity requesting exclusion, and in the case
   of entities the name and telephone number of the appropriate contact person; (b) state that such
   person or entity “requests exclusion from the Settlement Class in Paulson v. Two Rivers
   Settlement, Civil Action No. 19-cv-02639”; (c) identify and state each and every purchase of
   GrowCo securities in the Offerings during the period from October 2014 through December 2017,
   as well as the type of security and the investment amount. A Request for Exclusion shall not be
   valid and effective unless it provides all the information called for in this paragraph and is received
   within the time stated above, or is otherwise accepted by the Court.

          If you do not want to be part of the Settlement Class, you must follow these instructions
   for exclusion even if you have pending, or later file, another lawsuit, arbitration, or other
   proceeding relating to any of the Released Claims against any of the Releasees.

         If you ask to be excluded from the Settlement Class, you will not be eligible to receive any
   payment out of the Net Cash Settlement Amount with respect to the Settlement Class.

           Defendants have the right to terminate the Settlement if valid requests for exclusion are
   received from persons and entities entitled to be members of the Settlement Class in an amount
   that exceeds an amount agreed to by Plaintiff and Defendants.

   XI.    FINAL ORDER OF THE COURT

           If the Settlement is approved by the Court following the Fairness Hearing as fair,
   reasonable and adequate, the Parties will jointly request that the Court enter a Final Order which
   will, among other things: (a) certify the Class Action as a class action pursuant to Rule 23(b)(3) of
   the Federal Rules of Civil Procedure on behalf of the Class; (b) determine that the requirements of
   the Federal Rules of Civil Procedure and due process have been satisfied in connection with the
   Notice provided to the Class; (c) certify Plaintiff as Class Representative and Class Counsel and
   Additional Plaintiff’s Counsel in the Class Action; (d) approve the Settlement as fair, reasonable
   and adequate to the Class; (e) vacate the Clerk’s default against Defendant Beall; and (f) dismiss
   the Class Action with prejudice on the merits, as against any and all Defendants, without costs



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   except as herein provided, (g) release Defendants and other Releasees from the Released Claims,
   and (h) enter a “Complete Bar Order” prohibiting further lawsuits and claims against the
   Defendants arising out of the issuance and sale of GrowCo securities.

   XII.   THE APPLICATION FOR ATTORNEYS’ FEES AND EXPENSES

           Plaintiff intends to petition the Court at the Final Fairness Hearing for an award of
   attorneys’ fees in an amount not to exceed 331/3% of the Settlement Fund, and for reimbursement
   of costs and expenses advanced by Plaintiff’s counsel not to exceed $10,000, and for a Service
   Award to the Representative Plaintiff in the amount of $5,000, and for reimbursement of his
   expenses not to exceed $100. Final resolution by the Court of the fee application shall not be a
   precondition to the dismissal of the Class Action in connection with any final approval of the
   Settlement, and the fee application may be considered separately from the terms of the proposed
   Settlement of the Class Action.

   XIII. SCOPE OF THIS NOTICE

           This Notice is not all-inclusive. The references in this Notice to the pleadings in the Class
   Action, the Settlement Agreement and all other papers or proceedings herein are only summaries
   and do not purport to be comprehensive. For the full details of the Class Action, the claims that
   have been asserted in the Class Action and the terms and conditions of the Settlement, including a
   complete copy of the Settlement Agreement and related Orders and proposed forms of Orders, you
   are referred to the Court file for the Class Action.

   XIV. GENERAL INQUIRIES

           General inquiries about the Settlement should be directed to the attention of Class Counsel
   as follows:

                                  Paul Scarlato
                                  Alan Rosca
                                  GOLDMAN SCARLATO & PENNY, P.C.
                                  161 WASHINGTON STREET, SUITE 1025
                                  CONSHOHOCKEN, PA 19428
                                  EMAIL: ROSCA@LAWGSP.COM
                                         SCARLATO@LAWGSP.COM

                                  J. Barton Goplerud
                                  Brian Marty
                                  SHINDLER, ANDERSON, GOPLERUD & WEESE, PC
                                  5015 Grand Ridge Drive, Suite 100
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                                          marty@sagwlaw.com


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   PLEASE DO NOT CALL OR WRITE THE COURT WITH GENERAL INQUIRIES.




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